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                                                                                   BNDLMR,CLOSED
                                U.S. District Court
                         Southern District of Florida (Miami)
                CRIMINAL DOCKET FOR CASE #: 1:24−mj−04544−LMR−1

     Case title: USA v. Alexander                             Date Filed: 12/11/2024

                                                              Date Terminated: 12/23/2024

     Assigned to: Magistrate Judge Lisette
     M. Reid

     Defendant (1)
     Tal Alexander                           represented by Howard Milton Srebnick
     50978−511                                              Black Srebnick, P.A.
     YOB 1986; English                                      201 S Biscayne Blvd, Ste 1300
     TERMINATED: 12/23/2024                                 Miami, FL 33131
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                                                            Fax: 305−358−2006
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                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                          Deanna Paul
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                                                          Joel M. Denaro
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                                                          Miami, FL 33131
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                                                          Designation: Temporary

                                                          Milton L. Williams
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                                                          250 Vesey Street, 27th Floor
                                                          New York, NY 10281
                                                          (212) 335−2030

                                                                                                   1
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                                                      Email: mwilliams@wmhlaw.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

     Pending Counts                                   Disposition
     None

     Highest Offense Level (Opening)
     None

     Terminated Counts                                Disposition
     None

     Highest Offense Level (Terminated)
     None

     Complaints                                       Disposition
     18:U.S.C.§1594(c) CONSPIRACY TO
     COMMIT SEX TRAFFICKING;
     18:U.S.C.§1591(a)and(b)(1),and(2)
     SEX TRAFFICKING OF VICTIM−1
     BY FORCE, FRAUD, OR
     COERCION;
     18:U.S.C.§1591(a)and(b)(1)and(2) SEX
     TRAFFICKING OF VICTIM−2 BY
     FORCE, FRAUD, OR COERCION



     Plaintiff
     USA                                    represented by Noticing AUSA CR TP/SR
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                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained

                                                           Lauren Alexandra Astigarraga
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                                                           305−961−9000
                                                           Email: lauren.astigarraga@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

      Date Filed      #   Docket Text

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     12/11/2024    1   Magistrate Judge Removal of Arrest Warrant and Superseding Indictment from
                       SOUTHERN DISTRICT OF NEW YORK Case number in the other District
                       24−CRIM−676 as to Tal Alexander (1). (at) (Entered: 12/11/2024)
     12/11/2024    2   ORAL MOTION to Unseal Case by Tal Alexander. (kan) (Entered: 12/12/2024)
     12/11/2024    3   ORAL MOTION for Pretrial Detention hearing by Tal Alexander. (kan) (Entered:
                       12/12/2024)
     12/11/2024    4   ORDER granting 2 Motion to Unseal Case as to Tal Alexander (1). Signed by
                       Magistrate Judge Lisette M. Reid on 12/11/2024. See attached document for full
                       details. (kan) (Entered: 12/12/2024)
     12/11/2024    5   NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Joel M. Denaro
                       appearing for Tal Alexander (kan) (Entered: 12/12/2024)
     12/11/2024    6   ORAL DEFENDANT'S MOTION to have PTD hearing on Friday by Tal Alexander.
                       (kan) (Entered: 12/12/2024)
     12/11/2024    7   Minute Order for proceedings held before Magistrate Judge Lisette M. Reid: Initial
                       Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Tal Alexander held on
                       12/11/2024. Granting 3 Motion for Pretrial Detention hearing as to Tal Alexander (1);
                       Bond recommendation/set: Tal Alexander (1) PTD requested by the Government: risk
                       of flight and danger to the community. Date of Arrest or Surrender: 12/11/2024.
                       Granting 6 Motion to have PTD hearing on Friday as to Tal Alexander. (Detention
                       Hearing and Removal Hearing set for 12/13/2024 01:00 PM in Miami Division before
                       MIA Duty Magistrate Judge.) (Digital 13:27:10)

                       It is ORDERED AND ADJUDGED that pursuant to the Due Process Protections Act,
                       the Court confirms the United States obligation to disclose to the defendant all
                       exculpatory evidence− that is, evidence that favors the defendant or casts doubt on the
                       United States case, as required by Brady v. Maryland, 373 U.S. 83 (1963) and its
                       progeny, and ORDERS the United States to do so. The government has a duty to
                       disclose any evidence that goes to negating the defendants guilt, the credibility of a
                       witness, or that would reduce a potential sentence. The defendant is entitled to this
                       information without a request. Failure to disclose exculpatory evidence in a timely
                       manner may result in consequences, including, but not limited to, exclusion of
                       evidence, adverse jury instructions, dismissal of charges, contempt proceedings,
                       disciplinary action, or sanctions by the Court. Signed by Magistrate Judge Lisette M.
                       Reid (kan) (Entered: 12/12/2024)
     12/12/2024    8   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to
                       Electronically Receive Notices of Electronic Filing for Milt Williams. Filing Fee $
                       250.00. Receipt # AFLSDC−18049396 by Tal Alexander. Responses due by
                       12/26/2024. (Attachments: # 1 Certification)(Denaro, Joel) (Entered: 12/12/2024)
     12/12/2024    9   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to
                       Electronically Receive Notices of Electronic Filing for Deanna Paul. Filing Fee $
                       250.00. Receipt # AFLSDC−18049409 by Tal Alexander. Responses due by
                       12/26/2024. (Attachments: # 1 Certification)(Denaro, Joel) (Entered: 12/12/2024)
     12/13/2024        Attorney update in case as to Tal Alexander. Attorney Deanna Paul, Milton L.
                       Williams for Tal Alexander added (pt) (Entered: 12/13/2024)
     12/13/2024   10


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                       PAPERLESS ORDER denying 8 Motion to Appear Pro Hac Vice, Consent to
                       Designation, and Request to Electronically Receive Notices of Electronic Filing for
                       Attorney Milt Williams as to Tal Alexander. Counsel seeking Pro Hac Vice admission
                       failed to sign his Certification. The Motion may be refiled. Signed by Magistrate Judge
                       Lisette M. Reid on 12/13/2024. (ari) (Entered: 12/13/2024)
     12/13/2024   11   PAPERLESS ORDER denying 9 Motion to Appear Pro Hac Vice, Consent to
                       Designation, and Request to Electronically Receive Notices of Electronic Filing for
                       Attorney Deanna Paul as to Tal Alexander. Counsel seeking Pro Hac Vice admission
                       failed to sign her Certification. The Motion may be refiled. Signed by Magistrate
                       Judge Lisette M. Reid on 12/13/2024. (ari) (Entered: 12/13/2024)
     12/13/2024   12   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to
                       Electronically Receive Notices of Electronic Filing for Deanna Paul. Filing Fee $
                       250.00. Amended/Corrected Motion to Appear Pro Hac Vice Filed − Filing Fees
                       Previously Paid. See 9 Motion to Appear Pro Hac Vice, by Tal Alexander. Responses
                       due by 12/27/2024. (Attachments: # 1 Certification)(Denaro, Joel) (Entered:
                       12/13/2024)
     12/13/2024   13   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to
                       Electronically Receive Notices of Electronic Filing for Milt Williams. Filing Fee $
                       250.00. Amended/Corrected Motion to Appear Pro Hac Vice Filed − Filing Fees
                       Previously Paid. See 8 Motion to Appear Pro Hac Vice, by Tal Alexander. Responses
                       due by 12/27/2024. (Attachments: # 1 Certification)(Denaro, Joel) (Entered:
                       12/13/2024)
     12/13/2024   14   PAPERLESS ORDER granting 12 Motion to Appear Pro Hac Vice, Consent to
                       Designation, and Request to Electronically Receive Notices of Electronic Filing for
                       Attorney Deanna Paul as to Tal Alexander. Signed by Magistrate Judge Lisette M.
                       Reid on 12/13/2024. (ari) (Entered: 12/13/2024)
     12/13/2024   15   PAPERLESS ORDER granting 13 Motion to Appear Pro Hac Vice, Consent to
                       Designation, and Request to Electronically Receive Notices of Electronic Filing for
                       Attorney Milt Williams as to Tal Alexander. Signed by Magistrate Judge Lisette M.
                       Reid on 12/13/2024. (ari) (Entered: 12/13/2024)
     12/13/2024   16   ORAL MOTION for Pretrial Detention by USA as to Tal Alexander. (fbn) (Entered:
                       12/16/2024)
     12/13/2024   17   PAPERLESS ORDER granting 16 Motion for Pretrial Detention as to Tal Alexander
                       (1) as to risk of flight only. Signed by Magistrate Judge Lisette M. Reid on
                       12/13/2024. (fbn) (Entered: 12/16/2024)
     12/13/2024   18   Minute Order for proceedings held before Magistrate Judge Lisette M. Reid: Pretrial
                       Detention Hearing as to Tal Alexander held on 12/13/2024. Witness Special Agent,
                       Justin Atwood (FBI) sworn and testified. Bond recommendation/set: Tal Alexander (1)
                       Defendant Detained based on risk of flight only. Defendant Waived Removal. Order of
                       Removal issued. (Digital 14:05:09// 15:53:53) Signed by Magistrate Judge Lisette M.
                       Reid (fbn) (Main Document 18 replaced on 12/19/2024) (br). (Entered: 12/16/2024)
     12/13/2024   19   EXHIBIT and WITNESS LIST by Tal Alexander. (fbn) (Entered: 12/16/2024)
     12/13/2024   20   WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Tal Alexander. (fbn) (Entered:
                       12/16/2024)
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                       NOTICE OF ATTORNEY APPEARANCE: Howard Milton Srebnick appearing for
                       Tal Alexander . Attorney Howard Milton Srebnick added to party Tal
                       Alexander(pty:dft). (Srebnick, Howard) (Entered: 12/16/2024)
     12/16/2024   22   Defendant's MOTION to Reopen Detention Hearing and Stay Removal and
                       Memorandum in Support by Tal Alexander. Responses due by 12/30/2024. (Srebnick,
                       Howard) (Entered: 12/16/2024)
     12/16/2024   23   PAPERLESS SUA SPONTE ORDER as to Tal Alexander. The Government shall file
                       its Response to Defendant's Motion to Reopen Detention Hearing and Stay Removal
                       [ECF No. 22] by December 18, 2024. Signed by Magistrate Judge Lisette M. Reid on
                       12/16/2024. (ari) (Entered: 12/16/2024)
     12/17/2024        Set Deadlines in case as to Tal Alexander 22 Defendant's MOTION to Reopen
                       Detention Hearing and Stay Removal and Memorandum in Support . The Government
                       shall file its Response to Defendant's Motion to Reopen Detention Hearing and Stay
                       Removal [ECF No. 22 ] by December 18, 2024. Responses due by 12/18/2024. Per
                       DE# 23 . (nan) (Entered: 12/17/2024)
     12/17/2024   24   ORDER OF DETENTION as to Tal Alexander. Signed by Magistrate Judge Lisette
                       M. Reid on 12/17/2024. See attached document for full details. (br) (Entered:
                       12/17/2024)
     12/18/2024   25   MOTION for Extension of Time to File Response to the Defendant's Motion to
                       Reopen the Detention Hearing by USA as to Tal Alexander. Attorney Lauren
                       Alexandra Astigarraga added to party USA(pty:pla). Responses due by 1/2/2025.
                       (Astigarraga, Lauren) (Entered: 12/18/2024)
     12/18/2024   26   PAPERLESS ORDER granting 25 Unopposed Motion for Extension of Time to File
                       Response to the Motion to Reopen the Detention Hearing. [ECF No. 22]. The
                       Government shall file its Response to the Motion by December 19, 2024. Signed by
                       Magistrate Judge Lisette M. Reid on 12/18/2024. (ari) (Entered: 12/18/2024)
     12/18/2024   27   RESPONSE to Motion by Tal Alexander re 25 MOTION for Extension of Time to
                       File Response to the Defendant's Motion to Reopen the Detention Hearing Replies due
                       by 12/26/2024. (Srebnick, Howard) (Entered: 12/18/2024)
     12/19/2024   28   SUPPLEMENT to 22 Defendant's MOTION to Reopen Detention Hearing and Stay
                       Removal and Memorandum in Support filed by Tal Alexander by Tal Alexander
                       (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B) (Srebnick, Howard)
                       (Entered: 12/19/2024)
     12/19/2024   29   NOTICE OF ATTORNEY APPEARANCE Lauren Alexandra Astigarraga appearing
                       for USA. (Astigarraga, Lauren) (Entered: 12/19/2024)
     12/19/2024   30   TRANSCRIPT of Detention Hearing as to Tal Alexander held on 12/13/2024 before
                       Magistrate Judge Lisette M. Reid, 1−77 pages, Court Reporter: Bonnie Joy Lewis,
                       954−985−8875. Transcript may be viewed at the court public terminal or purchased by
                       contacting the Court Reporter/Transcriber before the deadline for Release of
                       Transcript Restriction. After that date it may be obtained through PACER. Redaction
                       Request due 1/9/2025. Redacted Transcript Deadline set for 1/21/2025. Release of
                       Transcript Restriction set for 3/19/2025. (apz) (Entered: 12/19/2024)
     12/19/2024   31   RESPONSE in Opposition by USA as to Tal Alexander re 22 Defendant's MOTION to
                       Reopen Detention Hearing and Stay Removal and Memorandum in Support Replies
                       due by 12/26/2024. (Astigarraga, Lauren) (Entered: 12/19/2024)

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     12/20/2024   32   ORDER denying 22 Defendant Tal Alexander's Motion to Reopen the Detention
                       Hearing in this case, pursuant to 18 U.S.C. § 3142(f) and to stay removal of this case
                       to the Southern District of New York. Signed by Magistrate Judge Lisette M. Reid on
                       12/20/2024. See attached document for full details. (ari) (Entered: 12/20/2024)
     12/23/2024   33   WARRANT OF REMOVAL ISSUED to the Southern District of New York as to Tal
                       Alexander. Closing Case for Defendant. Signed by Magistrate Judge Lisette M. Reid
                       on 12/13/2024. See attached document for full details. (br) (Entered: 12/23/2024)




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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                               for the                                     mp

                                                  Southern District of New York     E]          Dec 11, 2024
                  United States of America
                             v.
                                                                                                               Miami
                                                                 )
                                                                 )       Case No.

                         Tai Alexander
                                                                 )
                                                                 )          24-MJ-4544-REID
                                                                         � s� CltIAI
                                                                 )
                                                                 )
                            Defendant

                                                   ARREST WARRANT
To:      Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Tai Alexander
                                ------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

� Indictment             0 Superseding Indictment       0 Infonnation      0 Superseding Infonnation                O Complaint
0 Probation Violation Petition           0 Supervised Release Violation Petition      0 Violation Notice            O Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 1594 - conspiracy to commit sex trafficking by force, fraud, and coercion
 18 U.S.C. §§ 1591(a), (b)(1) and 2 - sex trafficking by force, fraud, and coercion, and aiding and abetting same




Date:          12/06/2024
                                                                                         Issuing officer's signature

City and state:       New York, New York
                                                                                    Tammi M. Hellwig
                                                                                          Printed name and title


                                                              Return

           This warrant was received on (date) _______ , and the person was arrested on (date)
at (city and state)

Date: --------
                                                                                      Arresting officer's signature



                                                                                           Printed name and title




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK                           24-MJ-4544-REID
    UNITED STATES OF AMERICA                               SUPERSEDING INDICTMENT

                           v.                              Sl 24 Cr. 676

    ALON ALEXANDER,
    OREN ALEXANDER, and
    TAL ALEXANDER,

                                Defendants.



                                             COUNT ONE
                                 (Conspiracy to Commit Sex Trafficking)


          The Grand Jury charges:

                                              OVERVIEW

           1.     For well over a decade and at all times relevant to this indictment, ALON

   ALEXANDER,         OREN        ALEXANDER,       and    TAL     ALEXANDER         (collectively,   the

   "ALEXANDER BROTHERS"), the defendants, worked together and with others known and

   unknown, to repeatedly and violently drug, sexually assault, and rape dozens of victims. At times,

   the ALEXANDER BROTHERS arranged for these sexual assaults well in advance, using the

   promise of luxury experiences, travel, and accommodations to lure and entice women to locations

   where they were then forcibly raped or sexually assaulted, sometimes by multiple men, including

   one or more of the ALEXANDER BROTHERS. Other times, the ALEXANDER BROTHERS

   encountered and chose their victims by chance. Often, the ALEXANDER BROTHERS drugged

   their victims before assaulting them, preventing them from fighting back or escaping.

          2.      ALON ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER, the

   defendants, worked together and with others to carry out and facilitate their sex trafficking scheme,



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   including on some occasions by committing forcible rapes and sexual assaults together and with

   others, jointly arranging domestic and international travel and accommodations, and jointly

   financing the scheme.

                                           BACKGROUND
             3.   ALON ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER, the

   defendants, are brothers. ALON ALEXANDER and OREN ALEXANDER are twins and TAL

   ALEXANDER is approximately one year older. At all times relevant to this Indictment, OREN

   ALEXANDER and TAL ALEXANDER were real estate agents who focused on ultra-luxury

   markets in New York City, Miami, Florida, and other locations. Since at least in or around 2012,

   ALON ALEXANDER has been an executive of a private security firm owned and operated by his

   family.

             4.   Starting in at least in or about 2010, ALON ALEXANDER, OREN ALEXANDER,

   and TAL ALEXANDER, the defendants, and others known and unknown, operated a long-running

   sex trafficking scheme, as part of which they raped and sexually assaulted women to whom they

   had provided material benefits, including domestic and international travel to vacation

   destinations, luxury accommodations at high-end hotels and vacation properties, and access to

   other luxury experiences and events. The ALEXANDER BROTHERS' scheme was based in,

   among other places, Manhattan, New York and Miami, Florida, where the defendants maintained

   residences and where their businesses were based.

             5.   To carry out and facilitate their sex trafficking scheme, ALON ALEXANDER,

   OREN ALEXANDER, and TAL ALEXANDER, the defendants, used deception, fraud, and

   coercion, to cause victims to travel with them or meet them in private locations.. Thereafter, the

   ALEXANDER BROTHERS used various methods, including drugging the victims and, at times,




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    physical force, to rape and sexually assault the victims-sometimes alone and sometimes together.

    In particular, the defendants used the following means and methods, among others, to carry out

    their sex trafficking scheme:

                   a.      The ALEXANDER BROTHERS used their wealth and positions to create

    and facilitate opportunities to rape and sexually assault women. In particular, on multiple

    occasions, OREN ALEXANDER and TAL ALEXANDER used their prominent positions in the

    real estate industry to induce other women to attend events and parties, and to meet other women

    at those events and parties, whom one or more of the defendants later sexually assaulted.

                   b.      The ALEXANDER BROTHERS worked together and with other men to

    arrange events and domestic and international trips they used as bait to recruit, entice, harbor,

    transport, and maintain multiple women. During the events and trips, the defendants frequently

    raped and sexually assaulted the women they enticed to attend.

                   c.      At times, the ALEXANDER BROTHERS used social connections or the

    guise of starting a relationship to lure and entice women to meet with one or more of them at a

    public place or group event, or to travel to meet one or more of the defendants. On multiple

    occasions, the defendants-alone or together-then sexually assaulted the woman, sometimes

    within hours of their meeting.      Immediately following the sexual assaults, the defendants

    sometimes offered the victims material items, including travel, concert tickets, and other luxury

    expenences.

                   d.      Some trips and events were organized by the ALEXANDER BROTHERS

    well in advance and involved domestic and international travel. The ALEXANDER BROTHERS

    worked together and with others to recruit women to attend these events and trips. The defendants,

    at times with others, shared photographs of women to select those they found sufficiently attractive



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    to invite. The defendants and other men organizing the trip then contacted the women, including

    through social media or dating applications, and induced the women to attend by, among other

    things, offering to purchase their flights, making other travel arrangements, and/or providing

    accommodations without charge.

                   e.      In addition to inviting women to their events directly, the ALEXANDER

    BROTHERS and others worked with party promoters to arrange for women to attend events or

    travel with them, in order to ensure that there were a sufficient number of women present.

                   f.      On some occasions, after the women accepted the invitations to attend a

    particular event, the ALEXANDER BROTHERS transported women and caused women to be

    transported across state and international lines. The defendants and other men attending the trips

    pooled financial resources in order to pay for flights and other travel expenses for the women.

                   g.      In advance of the events, the ALEXANDER BROTHERS and others

    procured drugs that they agreed to provide to the women, including, among other things, cocaine,

    mushrooms, and GHB. On multiple occasions during these events and trips, the ALEXANDER

    BROTHERS and others surreptitiously drugged women's drinks. Some of the victims experienced

    symptoms of impaired physical and mental capacity, including limitations of movement and

    speech and incomplete memories of events.

                   h.     The ALEXANDER BROTHERS, sometimes acting alone, sometimes with

    each other, and sometimes with other men, forcibly raped or sexually assaulted their victims. At

    times, the defendants physically restrained and held down their victims during the rapes and sexual

    assaults and ignored screams and explicit requests to stop.

           6.      The agreement between ALON ALEXANDER, OREN ALEXANDER, and TAL

    ALEXANDER, the defendants, encompassed numerous other acts of sexual violence in addition




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    to sexual assaults during planned trips and events. On numerous occasions, the ALEXANDER

    BROTHERS drugged and raped or sexually assaulted women they encountered by chance,

    including women they met at bars and nightclubs, social events, and on dating applications. The

    ALEXANDER BROTHERS similarly carried out these rapes and sexual assaults by, among other

    things, drugging and incapacitating victims, taking victims to isolated locations, physically

    restraining victims while raping and sexually assaulting them alone, together, and with other men,

    and ignoring victims' explicit demands to stop.

                                    STATUTORY ALLEGATIONS

                   7.      From at least in or about 2010, up to and including at least in or about 2021,

    in the Southern District of New York and elsewhere, in and affecting interstate commerce, ALON

    ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER, the defendants, and others

    known and unknown, knowingly, did combine, conspire, confederate and agree to recruit, entice,

    harbor, transport, provide, obtain, advertise, maintain, patronize, and solicit, by any means,

    persons, and to benefit, financially and by receiving anything of value, from participation in a

    venture which has engaged in any such act, knowing and in reckless disregard of the fact that

    means of force, threats of force, fraud, and coercion, as described in Title 18, United States Code,

    Section 159l(e)(2), and any combination of such means, would be used to cause the persons to

    engage in commercial sex acts, in violation of Title 18, United States Code, Section 159l(a)(l) and

    (b)(l), to wit, ALON ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER, and others

    known anq unknown, agreed to recruit, entice, harbor, transport, provide, obtain, advertise,

    maintain, patronize, and solicit women, including but not limited to Victim-1 and Victim-2, as

    alleged in Counts Two and Three respectively, knowing and in reckless disregard of the fact that

    force, threats of force, fraud, and coercion, would be used to cause the women, including but not




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    limited to Victim-1 and Victim-2, to engage in commercial sex acts.

                               (Title 18, United States Code, Section 1594(c).)

                                             COUNT TWO
                        (Sex Trafficking ofVictim-1 by Force, Fraud, or Coercion)

           The Grand Jury further charges:

                   8.       In or about July 2011, in the Southern District of New York and elsewhere,

    TAL ALEXANDER, the defendant, knowingly, in and affecting interstate and foreign commerce,

    did recruit, entice, harbor, transport, provide, obtain, and maintain by any means a person, and did

    benefit, financially and by receiving anything of value,.from participation in a venture which has

    engaged in any such act, knowing and in reckless disregard of the fact that means of force, threats

    of force, fraud, and coercion, as described in Title 18, United States Code, Section 1591(e)(2), and

    any combination of such means, would be used to cause the person to engage in commercial sex

    acts, to wit, TAL ALEXANDER recruited, enticed, harbored, transported, provided, obtained, and

    maintained, and aided and abetted the recruitment, enticement, harboring, transportation,

    obtaining, and maintaining of, Victim-1, and caused Victim-1 to engage in at least one commercial

    sex act, knowing, and in reckless disregard of the fact that Victim-1 was engaging in the

    commercial sex act as result of force, fraud and coercion.

                   (Title 18, United States Code, Sections 159l(a) and (b)(l), and (2).)

                                            COUNT THREE
                        (Sex Trafficking ofVictim-2 by Force, Fraud, or Coercion)

           The Grand Jury further charges:

                   9.       In or about September 2016, in the Southern District of New York and

    elsewhere, ALON ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER, the

    defendants, knowingly, in and affecting interstate and foreign commerce, did recruit, entice,




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    harbor, transport, provide, obtain, advertise, maintain, patronize, and solicit by any means a person,

    and did benefit, financially and by receiving anything of value, from participation in a venture

    which has engaged in any such act, knowing and in reckless disregard of the fact that means of

    force, threats of force, fraud, and coercion, as described in Title 18, United States Code, Section

    159l(e)(2), and any combination of such means, would be used to cause the person to engage in

    commercial sex acts, in violation of Title 18, United States Code, Section 159l(a)(l) and (b)(l), to

    wit ALON ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER recruited, enticed,

    harbored, transported, provided, obtained, maintained, patronized, and solicited, and aided and

    abetted the recruitment, enticement, harboring, transportation, obtaining, maintaining, patronizing,

    and soliciting of, Victim-2, and caused Victim-2 to engage in at least one commercial sex act,

    knowing, and in reckless disregard of the fact that Victim-2 was engaging in the commercial sex

    act as result of force, fraud and coercion.

                   (Title 18, United States Code, Sections 159l(a) and (b)(l), and (2).)

                                    FORFEITURE ALLEGATIONS

                    10.    As a result of committing the offenses alleged in Counts One through Three

    of this Indictment, ALON ALEXANDER, OREN ALEXANDER, and TAL ALEXANDER, the

    defendants, shall forfeit to the United States, pursuant to Title 18, United States Code, Section

    1594, any and all property, real and personal, involved in, used, or intended to be used to commit

    or to facilitate the commission of said offenses; any and all property, real and personal, constituting

    or derived from proceeds obtained, directly or indirectly, as a result of said offenses; and any and

    all property traceable to such property, including but not limited to a sum of money in United

    States currency representing the amount of property involved in said offense and proceeds

    traceable to the commission of said offenses.




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                                         Substitute Assets Provision

                   11.      If any of the above-described forfeitable property, as a result of any act or

    omission of the defendants:

                         a. cannot be located upon the exercise of due diligence;

                         b. has been transferred or sold to, or deposited with, a third person;

                         c. has been placed beyond the jurisdiction of the Court;

                         d. has been substantially diminished in value; or

                         e. has been commingled with other property which cannot be subdivided

                            without difficulty,

    it is the intent of the United States, pursuant to Title 18, United States Code, Section 1963(m) and

    Title 21, United States Code, Section 853(p), to seek forfeiture of any other property of the

    defendants up to the value of the above forfeitable property.

                                (Title 18, United States Code, Sections 1594;
                               Title     United States Codes, Section 853; and
                                 T't e 2 , United States Code, Section 2461.)




                                                                    DAMIAN WILLIAMS
                                                                    United States Attorney




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Noticing AUSA CR TP/SR (usafls.transferprob@usdoj.gov), Magistrate
     Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25026470@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Motion to Unseal Case
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/12/2024 at 10:45 AM EST and filed on 12/11/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 2(No document attached)
     Docket Text:
     ORAL MOTION to Unseal Case by Tal Alexander. (kan)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Noticing AUSA CR TP/SR (usafls.transferprob@usdoj.gov), Magistrate
     Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25026479@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Motion for Miscellaneous
     Relief
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/12/2024 at 10:47 AM EST and filed on 12/11/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 3(No document attached)
     Docket Text:
     ORAL MOTION for Pretrial Detention hearing by Tal Alexander. (kan)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                          UM TED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OFFJ,ORIDA
                                   M lA.
                                       u D IVISION

                         CaseNo.24-M J-4544-REID(SEALED)



     UM TED STA TES O F AO       RICA ,
              Plaintiff,




     Ta1A lexander,
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     thereupon,PU R SU A N T TO THE ARREST OF Tlv A BO V E N AG D

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                                   UNITED STA TES DISTRJCT COURT
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      This appearance is m ade with the understanding thatthe undersigned cotm selw illfulfillany

      pbligatgns knposed by the Courtsuch as preparing and filing documents necesso to
      collateralize any personalslzrety bond which m ay be set.

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      Counsel'sSignature:                                         .uo

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     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Noticing AUSA CR TP/SR (usafls.transferprob@usdoj.gov), Joel M.
     Denaro (jdenaro@joeldenarolaw.com), Magistrate Judge Lisette M. Reid
     (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25026608@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Motion to Continue
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/12/2024 at 11:04 AM EST and filed on 12/11/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 6(No document attached)
     Docket Text:
     ORAL DEFENDANT'S MOTION to have PTD hearing on Friday by Tal Alexander. (kan)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

     Joel M. Denaro &nbsp &nbsp jdenaro@joeldenarolaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                AtkinsBuildingCourthouse-3rdFloor                            Date:12/11/2024 Time:1:00p.m.
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 24 - MJ - 4544


    UNITED STATES OF AMERICA,

    v.


    TAL ALEXANDER,

                   Defendant.
    _____________________________/


                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING


            In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer
    Review, and Discipline of Attorneys of the United States District Court for the Southern District
    of Florida, the undersigned respectfully moves for the admission pro hac vice of MILT
    WILLIAMS of the law firm of WALDEN MACHT HARAN & WILLIAMS LLP, 250 Vesey
    Street 27th Floor, New York, New York 10281 (212) 335-2035, for purposes of appearance as
    co-counsel on behalf of Tal ALEXANDER in the above-styled case only, and pursuant to Rule
    2B of the CM/ECF Administrative Procedures, to permit MILT WILLIAMS to receive electronic
    filings in this case, and in support thereof states as follows:


    1.       MILT WILLIAMS is not admitted to practice in the Southern District of Florida and is a
    member in good standing of the United States District Court for the Southern District of New
    York.


    2.        Movant, JOEL M. DENARO, of the law firm of JOEL DENARO P.A., 1000 Brickell
    Ave, Miami, FL 33131 (305) 371-1883, is a member in good standing of The Florida Bar and the
    United States District Court for the Southern District of Florida and is authorized to file through




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    the Court’s electronic filing system. Movant consents to be designated as a member of the Bar of
    this Court with whom the Court and opposing counsel may readily communicate regarding the
    conduct of the case, upon whom filings shall be served, who shall be required to electronically
    file and serve all documents and things that may be filed and served electronically, and who shall
    be responsible for filing and serving documents in compliance with the CM/ECF Administrative
    Procedures. See Section 2B of the CM/ECF Administrative Procedures.


   3.        In accordance with the local rules of this Court, MILT WILLIAMS has made payment of
   this Court’s $250.00 admission fee. A certification in accordance with Rule 4(b) is attached
   hereto.


   4.        MILT WILLIAMS, by and through designated counsel and pursuant to Section 2B of the
   CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
   Filings to his email address: mwilliams@wmhwlaw.com.


             WHEREFORE, JOEL M. DENARO, moves this Court to enter an Order for MILT
    WILLIAMS, to appear before this Court on behalf of Tal ALEXANDER, for all purposes
    relating to the proceedings in the above-styled matter and directing the Clerk to provide notice of
    electronic filings to him at the above email address.


   Date: December 12, 2024                                  Respectfully submitted,


                                                            JOEL M. DENARO
                                                            FL Bar #164460
                                                            Law Offices of Joel Denaro
                                                            1000 Brickell Avenue, Suite 201
                                                            Miami, Florida 33131
                                                            (305) 371-1883




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Case 1:24-mj-04544-LMR
           Case 1:24-mj-04544-LMR
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 24 - MJ - 4544



    UNITED STATES OF AMERICA,



    v.


    TAL ALEXANDER,


            Defendant.
    _____________________________________________/


                               CERTIFICATION OF MILT WILLIAMS


    MILT WILLIAMS, Esquire, pursuant to Rule 4(b)(1) of the Rules Governing the Admission,
    Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the
    Local Rules of the United States District Court for the Southern District of Florida; (2) I am a
    member in good standing of the United States District Court for the Southern District of New
    York; and (3) I have not filed more than three pro hac vice motions in different cases in this
    District within the last 365 days.




                                                MILT WILLIAMS
                                                NY Bar No. 2107274
                                                WALDENMACHT HARAN & WILLIAMS LLP
                                                250 Vesey Street 27th Floor
                                                 New York, New York 10281
                                                (212) 335-2035




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Case 1:24-mj-04544-LMR
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 24 - MJ - 4544


    UNITED STATES OF AMERICA,

    v.


    TAL ALEXANDER,

                   Defendant.
    _____________________________/


                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING


            In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer
    Review, and Discipline of Attorneys of the United States District Court for the Southern District
    of Florida, the undersigned respectfully moves for the admission pro hac vice of DEANNA
    PAUL of the law firm of WALDEN MACHT HARAN & WILLIAMS LLP, 250 Vesey Street
    27th Floor, New York, New York 10281 (212) 335-2035, for purposes of appearance as
    co-counsel on behalf of Tal ALEXANDER in the above-styled case only, and pursuant to Rule
    2B of the CM/ECF Administrative Procedures, to permit DEANNA PAUL to receive electronic
    filings in this case, and in support thereof states as follows:


    1.       DEANNA PAUL is not admitted to practice in the Southern District of Florida and is a
    member in good standing of the United States District Court for the Southern District of New
    York.


    2.        Movant, JOEL M. DENARO, of the law firm of JOEL DENARO P.A., 1000 Brickell
    Ave, Miami, FL 33131 (305) 371-1883, is a member in good standing of The Florida Bar and the
    United States District Court for the Southern District of Florida and is authorized to file through




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    the Court’s electronic filing system. Movant consents to be designated as a member of the Bar of
    this Court with whom the Court and opposing counsel may readily communicate regarding the
    conduct of the case, upon whom filings shall be served, who shall be required to electronically
    file and serve all documents and things that may be filed and served electronically, and who shall
    be responsible for filing and serving documents in compliance with the CM/ECF Administrative
    Procedures. See Section 2B of the CM/ECF Administrative Procedures.


   3.        In accordance with the local rules of this Court, DEANNA PAUL has made payment of
   this Court’s $250.00 admission fee. A certification in accordance with Rule 4(b) is attached
   hereto.


   4.        DEANNA PAUL, by and through designated counsel and pursuant to Section 2B of the
   CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
   Filings to the following email address: DPaul@wmhwlaw.com.


             WHEREFORE, JOEL M. DENARO, moves this Court to enter an Order for DEANNA
    PAUL, to appear before this Court on behalf of Tal ALEXANDER, for all purposes relating to
    the proceedings in the above-styled matter and directing the Clerk to provide notice of electronic
    filings to the above email address.


   Date: December 12, 2024                               Respectfully submitted,


                                                        JOEL M. DENARO
                                                        FL Bar #164460
                                                        Law Offices of Joel Denaro
                                                        1000 Brickell Avenue, Suite 201
                                                        Miami, Florida 33131
                                                        (305) 371-1883




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           Case 1:24-mj-04544-LMR
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 24 - MJ - 4544



    UNITED STATES OF AMERICA,



    v.


    TAL ALEXANDER,


            Defendant.
    _____________________________________________/


                                CERTIFICATION OF DEANNA PAUL


    DEANNA PAUL, Esquire, pursuant to Rule 4(b)(1) of the Rules Governing the Admission,
    Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the
    Local Rules of the United States District Court for the Southern District of Florida; (2) I am a
    member in good standing of the United States District Court for the Southern District of New
    York; and (3) I have not filed more than three pro hac vice motions in different cases in this
    District within the last 365 days.




                                                DEANNA PAUL
                                                NY Bar No. 4992665
                                                WALDENMACHT HARAN & WILLIAMS LLP
                                                250 Vesey Street 27th Floor
                                                 New York, New York 10281
                                                (212) 335-2035




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Milton L. Williams (mwilliams@wmhlaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Joel M. Denaro (jdenaro@joeldenarolaw.com), Deanna Paul
     (dpaul@wmhwlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25030644@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Add Attorneys
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/13/2024 at 10:04 AM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: No document attached
     Docket Text:
     Attorney update in case as to Tal Alexander. Attorney Deanna Paul, Milton L. Williams for
     Tal Alexander added (pt)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

     Deanna Paul &nbsp &nbsp DPaul@wmhwlaw.com

     Joel M. Denaro &nbsp &nbsp jdenaro@joeldenarolaw.com

     Milton L. Williams &nbsp &nbsp mwilliams@wmhlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Joel M. Denaro (jdenaro@joeldenarolaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Deanna Paul (dpaul@wmhwlaw.com), Milton L. Williams
     (mwilliams@wmhlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25031020@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Order on Motion to Appear Pro
     Hac Vice
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/13/2024 at 10:49 AM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 10(No document attached)
     Docket Text:
      PAPERLESS ORDER denying [8] Motion to Appear Pro Hac Vice, Consent to Designation,
     and Request to Electronically Receive Notices of Electronic Filing for Attorney Milt Williams
     as to Tal Alexander. Counsel seeking Pro Hac Vice admission failed to sign his Certification.
     The Motion may be refiled. Signed by Magistrate Judge Lisette M. Reid on 12/13/2024. (ari)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Joel M. Denaro    jdenaro@joeldenarolaw.com

     Noticing AUSA CR TP/SR      Usafls.transferprob@usdoj.gov

     Milton L. Williams   mwilliams@wmhlaw.com

     Deanna Paul      DPaul@wmhwlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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Case 1:24-mj-04544-LMR Document 34 Entered on FLSD Docket 12/23/2024 Page 30 of 185


     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Milton L. Williams (mwilliams@wmhlaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Joel M. Denaro (jdenaro@joeldenarolaw.com), Deanna Paul
     (dpaul@wmhwlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25031042@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Order on Motion to Appear Pro
     Hac Vice
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/13/2024 at 10:52 AM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 11(No document attached)
     Docket Text:
      PAPERLESS ORDER denying [9] Motion to Appear Pro Hac Vice, Consent to Designation,
     and Request to Electronically Receive Notices of Electronic Filing for Attorney Deanna Paul
     as to Tal Alexander. Counsel seeking Pro Hac Vice admission failed to sign her Certification.
     The Motion may be refiled. Signed by Magistrate Judge Lisette M. Reid on 12/13/2024. (ari)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Joel M. Denaro    jdenaro@joeldenarolaw.com

     Noticing AUSA CR TP/SR      Usafls.transferprob@usdoj.gov

     Milton L. Williams   mwilliams@wmhlaw.com

     Deanna Paul      DPaul@wmhwlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 24 - MJ - 4544


    UNITED STATES OF AMERICA,

    v.


    TAL ALEXANDER,

                   Defendant.
    _____________________________/


                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING


            In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer
    Review, and Discipline of Attorneys of the United States District Court for the Southern District
    of Florida, the undersigned respectfully moves for the admission pro hac vice of DEANNA
    PAUL of the law firm of WALDEN MACHT HARAN & WILLIAMS LLP, 250 Vesey Street
    27th Floor, New York, New York 10281 (212) 335-2035, for purposes of appearance as
    co-counsel on behalf of Tal ALEXANDER in the above-styled case only, and pursuant to Rule
    2B of the CM/ECF Administrative Procedures, to permit DEANNA PAUL to receive electronic
    filings in this case, and in support thereof states as follows:


    1.       DEANNA PAUL is not admitted to practice in the Southern District of Florida and is a
    member in good standing of the United States District Court for the Southern District of New
    York.


    2.        Movant, JOEL M. DENARO, of the law firm of JOEL DENARO P.A., 1000 Brickell
    Ave, Miami, FL 33131 (305) 371-1883, is a member in good standing of The Florida Bar and the
    United States District Court for the Southern District of Florida and is authorized to file through




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    the Court’s electronic filing system. Movant consents to be designated as a member of the Bar of
    this Court with whom the Court and opposing counsel may readily communicate regarding the
    conduct of the case, upon whom filings shall be served, who shall be required to electronically
    file and serve all documents and things that may be filed and served electronically, and who shall
    be responsible for filing and serving documents in compliance with the CM/ECF Administrative
    Procedures. See Section 2B of the CM/ECF Administrative Procedures.


   3.        In accordance with the local rules of this Court, DEANNA PAUL has made payment of
   this Court’s $250.00 admission fee. A certification in accordance with Rule 4(b) is attached
   hereto.


   4.        DEANNA PAUL, by and through designated counsel and pursuant to Section 2B of the
   CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
   Filings to the following email address: DPaul@wmhwlaw.com.


             WHEREFORE, JOEL M. DENARO, moves this Court to enter an Order for DEANNA
    PAUL, to appear before this Court on behalf of Tal ALEXANDER, for all purposes relating to
    the proceedings in the above-styled matter and directing the Clerk to provide notice of electronic
    filings to the above email address.


   Date: December 12, 2024                               Respectfully submitted,


                                                        JOEL M. DENARO
                                                        FL Bar #164460
                                                        Law Offices of Joel Denaro
                                                        1000 Brickell Avenue, Suite 201
                                                        Miami, Florida 33131
                                                        (305) 371-1883




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 24 - MJ - 4544


    UNITED STATES OF AMERICA,

    v.


    TAL ALEXANDER,

                   Defendant.
    _____________________________/


                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING


            In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer
    Review, and Discipline of Attorneys of the United States District Court for the Southern District
    of Florida, the undersigned respectfully moves for the admission pro hac vice of MILT
    WILLIAMS of the law firm of WALDEN MACHT HARAN & WILLIAMS LLP, 250 Vesey
    Street 27th Floor, New York, New York 10281 (212) 335-2035, for purposes of appearance as
    co-counsel on behalf of Tal ALEXANDER in the above-styled case only, and pursuant to Rule
    2B of the CM/ECF Administrative Procedures, to permit MILT WILLIAMS to receive electronic
    filings in this case, and in support thereof states as follows:


    1.       MILT WILLIAMS is not admitted to practice in the Southern District of Florida and is a
    member in good standing of the United States District Court for the Southern District of New
    York.


    2.        Movant, JOEL M. DENARO, of the law firm of JOEL DENARO P.A., 1000 Brickell
    Ave, Miami, FL 33131 (305) 371-1883, is a member in good standing of The Florida Bar and the
    United States District Court for the Southern District of Florida and is authorized to file through




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    the Court’s electronic filing system. Movant consents to be designated as a member of the Bar of
    this Court with whom the Court and opposing counsel may readily communicate regarding the
    conduct of the case, upon whom filings shall be served, who shall be required to electronically
    file and serve all documents and things that may be filed and served electronically, and who shall
    be responsible for filing and serving documents in compliance with the CM/ECF Administrative
    Procedures. See Section 2B of the CM/ECF Administrative Procedures.


   3.        In accordance with the local rules of this Court, MILT WILLIAMS has made payment of
   this Court’s $250.00 admission fee. A certification in accordance with Rule 4(b) is attached
   hereto.


   4.        MILT WILLIAMS, by and through designated counsel and pursuant to Section 2B of the
   CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
   Filings to his email address: mwilliams@wmhwlaw.com.


             WHEREFORE, JOEL M. DENARO, moves this Court to enter an Order for MILT
    WILLIAMS, to appear before this Court on behalf of Tal ALEXANDER, for all purposes
    relating to the proceedings in the above-styled matter and directing the Clerk to provide notice of
    electronic filings to him at the above email address.


   Date: December 12, 2024                                  Respectfully submitted,


                                                            JOEL M. DENARO
                                                            FL Bar #164460
                                                            Law Offices of Joel Denaro
                                                            1000 Brickell Avenue, Suite 201
                                                            Miami, Florida 33131
                                                            (305) 371-1883




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Joel M. Denaro (jdenaro@joeldenarolaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Deanna Paul (dpaul@wmhwlaw.com), Milton L. Williams
     (mwilliams@wmhlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25031899@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Order on Motion to Appear Pro
     Hac Vice
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/13/2024 at 1:04 PM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 14(No document attached)
     Docket Text:
      PAPERLESS ORDER granting [12] Motion to Appear Pro Hac Vice, Consent to Designation,
     and Request to Electronically Receive Notices of Electronic Filing for Attorney Deanna Paul
     as to Tal Alexander. Signed by Magistrate Judge Lisette M. Reid on 12/13/2024. (ari)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Joel M. Denaro    jdenaro@joeldenarolaw.com

     Noticing AUSA CR TP/SR      Usafls.transferprob@usdoj.gov

     Milton L. Williams   mwilliams@wmhlaw.com

     Deanna Paul      DPaul@wmhwlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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Case 1:24-mj-04544-LMR Document 34 Entered on FLSD Docket 12/23/2024 Page 38 of 185


     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Milton L. Williams (mwilliams@wmhlaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Joel M. Denaro (jdenaro@joeldenarolaw.com), Deanna Paul
     (dpaul@wmhwlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants:
     −−No Notice Sent:

     Message−Id:25031912@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Order on Motion to Appear Pro
     Hac Vice
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/13/2024 at 1:06 PM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 15(No document attached)
     Docket Text:
      PAPERLESS ORDER granting [13] Motion to Appear Pro Hac Vice, Consent to Designation,
     and Request to Electronically Receive Notices of Electronic Filing for Attorney Milt Williams
     as to Tal Alexander. Signed by Magistrate Judge Lisette M. Reid on 12/13/2024. (ari)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Joel M. Denaro    jdenaro@joeldenarolaw.com

     Noticing AUSA CR TP/SR      Usafls.transferprob@usdoj.gov

     Milton L. Williams   mwilliams@wmhlaw.com

     Deanna Paul      DPaul@wmhwlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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Case 1:24-mj-04544-LMR Document 34 Entered on FLSD Docket 12/23/2024 Page 39 of 185


     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Joel M. Denaro (jdenaro@joeldenarolaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Deanna Paul (dpaul@wmhwlaw.com), Milton L. Williams
     (mwilliams@wmhlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants: Alejandro Victor Rodriguez Vanzetti
     (alejandro_rodriguezvanzetti@flsd.uscourts.gov), United States Pretrial, Probation and
     PSIunit Office (DQA) (flsp_dqa@flsp.uscourts.gov, mia_dqa@flsp.uscourts.gov)
     −−No Notice Sent:

     Message−Id:25035686@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Motion for Bond
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/16/2024 at 11:47 AM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:           USA
     Document Number: 16(No document attached)
     Docket Text:
     ORAL MOTION for Pretrial Detention by USA as to Tal Alexander. (fbn)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

     Deanna Paul &nbsp &nbsp DPaul@wmhwlaw.com

     Joel M. Denaro &nbsp &nbsp jdenaro@joeldenarolaw.com

     Milton L. Williams &nbsp &nbsp mwilliams@wmhlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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Case 1:24-mj-04544-LMR Document 34 Entered on FLSD Docket 12/23/2024 Page 40 of 185


     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: Joel M. Denaro (jdenaro@joeldenarolaw.com), Noticing AUSA CR TP/SR
     (usafls.transferprob@usdoj.gov), Deanna Paul (dpaul@wmhwlaw.com), Milton L. Williams
     (mwilliams@wmhlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants: Alejandro Victor Rodriguez Vanzetti
     (alejandro_rodriguezvanzetti@flsd.uscourts.gov), Financial Clerk
     (flsd_financial@flsd.uscourts.gov), United States Pretrial, Probation and PSIunit Office
     (DQA) (flsp_dqa@flsp.uscourts.gov, mia_dqa@flsp.uscourts.gov)
     −−No Notice Sent:

     Message−Id:25035697@flsd.uscourts.gov
     Subject:Activity in Case 1:24−mj−04544−LMR USA v. Alexander Order on Motion for Bond
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/16/2024 at 11:48 AM EST and filed on 12/13/2024

     Case Name:       USA v. Alexander
     Case Number:     1:24−mj−04544−LMR
     Filer:
     Document Number: 17(No document attached)
     Docket Text:
      PAPERLESS ORDER granting [16] Motion for Pretrial Detention as to Tal Alexander (1) as to
     risk of flight only. Signed by Magistrate Judge Lisette M. Reid on 12/13/2024. (fbn)


     1:24−mj−04544−LMR−1 Notice has been electronically mailed to:

     Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

     Deanna Paul &nbsp &nbsp DPaul@wmhwlaw.com

     Joel M. Denaro &nbsp &nbsp jdenaro@joeldenarolaw.com

     Milton L. Williams &nbsp &nbsp mwilliams@wmhlaw.com

     1:24−mj−04544−LMR−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                            Case No. 24-mj-04544-LMR

    UNITED STATES OF AMERICA,

          vs.

    TAL ALEXANDER,

              Defendant.
    _______________________________/

                 NOTICE OF APPEARANCE AS COUNSEL

          Please take notice that HOWARD SREBNICK, of the law firm of

    Black Srebnick, hereby appears as counsel for Tal Alexander in this case.

                            Respectfully submitted,

                            BLACK SREBNICK
                            201 South Biscayne Boulevard, Suite 1300
                            Miami, Florida 33131 / Ph. (305) 371-6421

                      By:   /s Howard Srebnick
                            HOWARD SREBNICK
                             Florida Bar No. 919063
                             E-mail: HSrebnick@RoyBlack.com




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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF FLORIDA


     UNITED STATES OF AMERICA,

                                              Dkt. No. 24-MJ-04544 (LMR)
                 v.

     TAL ALEXANDER,

                       Defendant.


     DEFENDANT TAL ALEXANDER’S MOTION TO REOPEN DETENTION HEARING
             AND STAY REMOVAL AND MEMORANDUM IN SUPPORT




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            Pursuant to 18 U.S.C. § 3142(f), defendant Tal Alexander respectfully moves to reopen the

    detention hearing held on December 13, 2024, and stay removal of this case to the Southern District

    of New York pending a decision on pretrial detention. In support of this Motion, we provide the

    incorporated Memorandum of Law. Pursuant to Southern District of Florida Local Rule 88.9(a),

    Mr. Alexander requests a hearing in connection with this Motion. Undersigned counsel have

    attempted to confer with the government in a good faith effort to resolve the issues raised in this

    motion. The government opposes the motion.

                                      MEMORANDUM OF LAW

    I.      Statement of Facts

            On December 11, 2024, the government unsealed an indictment in the Southern District of

    New York charging Mr. Alexander with one count of Conspiracy to Commit Sex Trafficking,

    pursuant to 18 U.S.C. § 1594(c), and two counts of Sex Trafficking, pursuant to 18 U.S.C. § 1591.

    See U.S. v. Alexander, 24-CR-00676, Dkt. 3 (S.D.N.Y.). That same day, Mr. Alexander was

    arrested at his parents’ home in Miami Beach, Florida, and made a first appearance before

    Magistrate Judge Lisette M. Reid in the Southern District of Florida. The government moved for

    pretrial detention.

            On December 13, 2024, the Court held a pretrial detention hearing, at which the

    government called FBI Special Agent Justine Atwood as a witness. At no point during the hearing

    did the government turn over any Jencks Act material. Prior to cross examination and again at the

    end of the hearing, Mr. Alexander requested Jencks materials and any reports prepared by Special

    Agent Atwood. The Court ordered the government to turn over Jencks material immediately after

    the hearing and stated that the hearing could be reopened if the documents produced by the

    government contained anything material to the subject of the hearing.




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           Mr. Alexander offered an extensive bail package, which included: $115 million bond

    secured by real estate owned by Mr. Alexander, his parents and his brothers, surrender of his U.S.

    passport, and home detention with GPS monitoring at his parents’ Bal Harbor home with his wife

    and infant child.

           At the conclusion of the hearing, the Court issued an oral decision to detain Mr. Alexander,

    in which it found that the combination of conditions offered alleviated any potential risk of danger

    to the community posed by Mr. Alexander, but that he posed a risk of flight pursuant to 18 U.S.C.

    § 3142(e). Mr. Alexander waived an identity hearing and consented to removal of the proceeding

    to the Southern District of New York.

           Moments ago, this Court entered a “PAPERLESS ORDER granting [16] Motion for

    Pretrial Detention as to Tal Alexander (1) as to risk of flight only. Signed by Magistrate Judge

    Lisette M. Reid on 12/13/2024.” Mr. Alexander’s co-defendants, Oren Alexander and Alon

    Alexander (collectively, “Codefendants”), were also arrested on the instant indictment on

    December 11, 2024. Their initial appearance and detention hearing has not yet been scheduled.

    II.    Argument

           The Court should exercise its discretion to reopen the detention hearing pursuant to 18

    U.S.C. § 3142(f) and impose a stay of removal so that it can complete the hearing. A detention

    hearing “may be reopened, before or after a determination by the judicial officer, at any time before

    trial if the judicial officer finds that information exists that was not known to the movant at the

    time of the hearing and that has a material bearing on the issue whether there are conditions of

    release that will reasonably assure the appearance of such person as required and the safety of any

    other person and the community.” 18 U.S.C. § 3142(f). This statutory “provision is, in effect, a

    codification of a court’s inherent reconsideration authority.” United States v. Pon, 2014 WL

    3340584, at *3 (M.D. Fla. May 29, 2014).
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           The Court should reopen the detention hearing because (i) the Government failed to

    produce required Jencks Act material, (ii) Mr. Alexander did not have a meaningful opportunity

    to address concerns raised sua sponte in the Court’s decision with respect to his family’s financial

    resources; and (iii) Mr. Alexander wants to correct the government’s representation that he is not

    extraditable from Israel, which is inaccurate.

           A.      The Government Failed to Produce Jencks Material Prior to Special Agent
                   Atwood’s Cross Examination

           The government failed to produce required Jencks Act material in advance of the cross

    examination of Special Agent Atwood in violation of its obligations under 18 U.S.C. § 3500(b).

    As a result, Mr. Alexander was deprived of the opportunity to conduct a meaningful and fair cross

    examination of Special Agent Atwood, the government’s only witness.                   This valuable

    impeachment material constitutes “information [that] exists that was not known to the movant at

    the time of the hearing” under 18 U.S.C. § 3142(f).

           Pursuant to the Jencks Act, “[a]fter a witness called by the United States has testified on

    direct examination, the court shall, on motion of the defendant, order the United States to produce

    any statement . . . of the witness in the possession of the United States which relates to the subject

    matter as to which the witness has testified.” 18 U.S.C. § 3500(b). The purpose of the Jencks Act

    disclosure requirements “is to enable the defense to impeach a government witness during cross

    examination.” United States v. Williams, 259 F. App’x 281, 287 (11th Cir. 2007).

           The government’s Jencks Act obligations apply to detention hearings. See, e.g., U.S. v.

    Comas, No. 13-CR-20850, 2014 WL 129296, at *1 (S.D. Fla. Jan. 14, 2014) (requiring government

    to disclose Jencks material of federal agent who testified at pretrial detention hearing); United

    States v. Wang, No. 6:23-CR-188-RBD-RMN, 2023 WL 6446084, at *2 (M.D. Fla. Oct. 3, 2023)

    (requiring government to disclose grand jury testimony of officer called as witness at detention


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    hearing); United States v. Diaz Guillen, No. 18-CR-80160, 2022 WL 4119741, at *1 n.2 (S.D. Fla.

    Sept. 9, 2022) (continuing detention hearing to second day to address Jencks issues with respect

    to government witness).

           In U.S. v. Comas, the magistrate judge required the government to call a witness in support

    of its request for detention and, over the government’s objection, ordered the government to

    disclose Jencks material as it related to the witness’s testimony. 2014 WL 129296, at *1. The

    government did not dispute that “Jencks is generally applicable to pretrial detention hearings” or

    that “if it calls the witness to testify at the pretrial detention hearing, then it must produce Jencks

    material.” Id. at *1-2. Rather, the government asserted that the Court’s requirement that it call a

    witness, as opposed to merely proffering information, necessitated the disclosure of Jencks

    material. Id. at *2. Nevertheless, the Court held that the government was obligated to disclose

    Jencks material regardless of who (the government or the Court) effectively called the witness. Id.

    “Magistrate judges could just as easily impose a no proffer/live testimony requirement. If that were

    to happen, then the Jencks material would be required because the Government did, in fact, call

    the witness.” Id. at *3.

           Here, Special Agent Atwood, the lead case agent, testified that she believed Mr. Alexander

    posed a risk of flight. Mr. Alexander plainly has the right to cross examine Special Agent Atwood

    with any material in the government’s possession that relates to the subject matter of the testimony.

    Special Agent Atwood proffered the testimony of forty unnamed accusers, two of which are the

    subject of substantive counts in the indictment; yet the government has produced none of the

    Jencks material related to those accusations. Without disclosure of this material, Mr. Alexander

    has not been afforded a full and fair hearing. Accordingly, the Court should reopen the hearing




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    and, after disclosure of all Jencks material, permit Mr. Alexander to cross examine Special Agent

    Atwood.

           B.      Mr. Alexander Seeks the Opportunity to Present Financial Information to
                   Address Concerns Raised Sua Sponte by the Court

           Second, in issuing its oral decision, the Court speculated that although Mr. Alexander and

    his family offered a $115 million bond secured by all the real estate his immediate family owns,

    he nonetheless may still have means to flee because his family may have additional financial

    resources. The Court raised this issue sua sponte during its ruling. The Court also arrived at its

    conclusion without the benefit of any evidence of Mr. Alexander’s family’s full financial picture.

    The government produced no evidence of Mr. Alexander’s finances, aside from broad assertions

    that the Mr. Alexander comes from significant wealth, which he has “weaponized” for criminality

    and now attempts to use “to get out of jail.”

           If the Court reopens the hearing, Mr. Alexander is prepared to present additional evidence,

    including calling witnesses and producing financial statements under seal, so that the Court is

    confident that there is sufficient financial disincentive to flee. To allay any concerns of the Court,

    Mr. Alexander also intends to offer an increased bail package and conditions that mitigate any

    remaining concerns the Court has regarding risk of flight. Mr. Alexander’s parents are willing to

    sign a bond in any amount secured by the entirety of their assets. They are also preparing their

    financials for the Court for an in camera review, if that would aid the Court. 1

           Mr. Alexander is prepared to abide by the most stringent conditions of release, including

    those that this Court previously accepted in United States v. Ludwigsen, 99-MJ-03801 (JJO) (S.D.




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     Mr. Alexander’s parents would request a reasonable amount be made available for personal living
    expenses. They have no objection to the Court monitoring these funds during the pendency of the
    case.
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    Fla. 1999), where the defendant was arrested in the Southern District of Florida on an indictment

    charging racketeering (murder) conspiracy in the Eastern District of New York. There, this Court

    declined to detain the defendant over the government’s objection, and the Eastern District of New

    York likewise approved his release, setting conditions including a multi-million-dollar personal

    surety bond, surrender of passport, house arrest, and a private security guard to monitor all entries

    into and exits from the home. United States v. Ludwigsen, 99-CR-520 (ERK), Dkts. 207, 236, 304

    (E.D.N.Y.); see generally United States v. Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007) (holding that

    court may release a defendant subject to conditions of home confinement in which, among other

    things, the defendant pays for private armed security guards); United States v. Boustani 932 F.3d

    79, 82 (2d Cir. 2019) (“the private-security condition we described in Sabhnani may be appropriate

    where the defendant is deemed to be a flight risk primarily because of his wealth. In other words,

    a defendant may be released on such a condition only where, but for his wealth, he would not have

    been detained.”).

           C.      Mr. Alexander Seeks the Opportunity to Rebut the Government’s
                   Representation Regarding Extradition From Israel

           Finally, during its rebuttal, the government represented that Mr. Alexander would not be

    extraditable should he flee to Israel. This statement is unequivocally false. Mr. Alexander seeks

    the opportunity to present evidence and argument to refute it.

           As an initial matter, Israel has an extradition treaty with the United States. Accordingly,

    Israel will grant extradition where an individual has been charged or convicted of a felony and

    where—like here—the conduct at issue is a criminal offense in both the requesting country and

    Israel. Under the extradition treaty, Israel extradites not only United States citizens, like Mr.

    Alexander, but also its own citizens to the United States for certain offenses. United States v.

    Kresler, 392 F. App’x 765, 768–69 (11th Cir. 2010) (“[T]he United States Attorney was under the


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    mistaken belief that Israel would not extradite one of its citizens.”); see also United States v. Samet,

    11 F. App’x 21, 22 (2d Cir. 2001) (granting defendant’s motion for remand to reconsider detention

    where “district court erroneously assumed that Israel does not extradite Israeli residents”).

            For example, in United States v. Rosenstein, the United States Attorneys’ Office for the

    Southern District of Florida successfully extradited an Israeli citizen from Israel in a drug

    trafficking prosecution. See 04-CR-21002, Dkt. 18 (S.D. Fla. April 12, 2006). There, the

    government requested that the defendant be detained, and the Court set a $10 million bond. Id;

    see also United States v. Shai Cohen, 16-CR-00114, Dkt. 9 (E.D.Va.) (documenting the extradition

    of an Israeli citizen charged with conspiracy to defraud, money laundering and alien smuggling). 2

            Nevertheless, the government takes the position that Mr. Alexander has significant ties to

    Israel and poses a risk of flight because (i) his parents are Israeli citizens; (ii) he is Jewish; and (iii)

    he is a person of means. This argument is patently biased and not grounded in reality or the law.

            Mr. Alexander is a United States citizen who has substantial family ties in the United States

    and who has no history of flight or intentions to flee. Indeed, Special Agent Atwood testified that

    she did not uncover any information suggesting Mr. Alexander planned or prepared to leave the

    country, even after news reports in July about the ongoing criminal investigation. Additionally,

    Mr. Alexander does not hold citizenship in any other country, including Israel, and has not visited

    Israel in at least three years. There is no precedent of which we are aware where a court has held

    that a defendant, who is a United States citizen since birth, was more likely to flee because of Israel




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      A quick Google search turns up numerous cases where defendants have been extradited from
    Israel to stand trial in the United States. See, e.g., https://www.washingtonpost.com/local/public-
    safety/israel-extradites-accused-russian-computer-hacker-to-united-states/2019/11/12/e40f84ca-
    057b-11ea-8292-c46ee8cb3dce_story.html;                 https://archives.fbi.gov/archives/miami/press-
    releases/2013/fbi-announces-the-extradition-of-a-fugitive-from-israel.
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    ancestry. As such, Mr. Alexander requests the opportunity to present additional evidence on this

    point and rebut the government’s false representation regarding extradition.

    III.   Conclusion

           For the reasons set forth above, we respectfully request that the Court grant Mr.

    Alexander’s motion to reopen the detention hearing and stay removal of this case to the Southern

    District of New York. The defendant respectfully requests that the detention hearing be continued

    to further advance the grounds for this motion and answer any questions the Court may have.


     Dated:   December 16, 2024               Respectfully submitted,

                                              WALDEN MACHT HARAN & WILLIAMS LLP


                                        By:     /s/      Milton L. Williams
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                                              Deanna M. Paul
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                                              BLACK SREBNICK

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                                             Miami, FL 33131
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                                              Attorneys for Tal Alexander




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     hreiner@royblack.com, hsrebnick@royblack.com), Joel M. Denaro (jdenaro@joeldenarolaw.com),
     Deanna Paul (dpaul@wmhwlaw.com), Magistrate Judge Lisette M. Reid (reid@flsd.uscourts.gov)
     −−Non Case Participants: Alejandro Victor Rodriguez Vanzetti
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     e.j.yera@usdoj.gov), Federal Public Defender (fls_ecf@fd.org)
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                                           Southern District of Florida

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     Docket Text:
      PAPERLESS SUA SPONTE ORDER as to Tal Alexander. The Government shall file its
     Response to Defendant's Motion to Reopen Detention Hearing and Stay Removal [ECF No.
     22] by December 18, 2024. Signed by Magistrate Judge Lisette M. Reid on 12/16/2024. (ari)


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     Milton L. Williams &nbsp &nbsp mwilliams@wmhlaw.com

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AO 472 (Rev. 09/16) Order of Detention Pending Trial



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                          Southern District of Florida

                     United States of America                          )
                                v.                                     )
                                                                       )   Case No. 24-MJ-04544-LMR
                            Tal Alexander,                             )
                                Defendant                              )

                                         ORDER OF DETENTION PENDING TRIAL
                                                       Part I – Eligibility for Detention

          Upon the
                     ☐ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                     ☒ Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),
the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                              Part II – Findings of Fact and Law as to Presumptions under § 3142(e)
☐ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
     presumption that no condition or combination of conditions will reasonably assure the safety of any other person
     and the community because the following conditions have been met:
              ☐ (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                       ☐ (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C. §
                             2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                       ☐ (b) an offense for which the maximum sentence is life imprisonment or death; or
                       ☐ (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export
                             Act (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                       ☐ (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                             (a) through (c) of this paragraph, or two or more State or local offenses that would have been
                             offenses described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise
                             to Federal jurisdiction had existed, or a combination of such offenses; or
                       ☐ (e) any felony that is not otherwise a crime of violence but involves:
                             (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. §
                             921); (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
              ☐ (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C. §
                    3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving
                    rise to Federal jurisdiction had existed; and
              ☐ (3) the offense described in paragraph (2) above for which the defendant has been convicted was committed
                    while the defendant was on release pending trial for a Federal, State, or local offense; and
              ☐ (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
                    defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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☒ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
              ☐ (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                    Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                    (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
              ☐ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
              ☐ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
                    or more is prescribed;
              ☒ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term
                    of imprisonment of 20 years or more is prescribed; or
              ☐ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
                    2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
                    2260, 2421, 2422, 2423, or 2425.

☒ C. Conclusions Regarding Applicability of Any Presumption Established Above
              ☒ The defendant has not introduced sufficient evidence to rebut the presumption above.
                   OR
              ☐ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                    Part III – Analysis and Statement of the Reasons for Detention
        After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because the Government has proven:
   ☐ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of any other person and the community.
   ☒ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure the
     defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:
              ☒ Weight of evidence against the defendant is strong
              ☒ Subject to lengthy period of incarceration if convicted
              ☐ Prior criminal history
              ☐ Participation in criminal activity while on probation, parole, or supervision
              ☐ History of violence or use of weapons
              ☐ History of alcohol or substance abuse
              ☐ Lack of stable employment
              ☐ Lack of stable residence
              ☐ Lack of financially responsible sureties
              ☐ Lack of significant community or family ties to this district
              ☒ Significant family or other ties outside the United States
              ☐ Subject to removal or deportation after serving any period of incarceration

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              ☐ Prior failure to appear in court as ordered
              ☐ Prior attempt(s) to evade law enforcement
              ☐ Use of alias(es) or false documents
              ☐ Background information unknown or unverified
              ☐ Prior violations of probation, parole, or supervised release

                  OTHER REASONS OR FURTHER EXPLANATION:

 The Defendant is charged with one count of Conspiracy to Commit Sex Trafficking, in violation of 18 U.S.C. §
 1954(c), and two counts of Sex Trafficking by Force, Fraud and Coercion, in violation of 18 U.S.C. § 1591(a)
 and (b)(1), which carries a statutory mandatory minimum sentence of 15 years and a maximum of life
 imprisonment. Because of the nature of the charged offenses, there is a statutory presumption of detention in this
 case. See 18 U.S.C. §§ 3142(e)(1), 3142(e)(3)(D).

 On December 13, 2024, this Court held a hearing pursuant to 18 U.S.C. § 3142(f)(1) to determine whether the
 Defendant, TAL ALEXANDER, should be detained pending trial. The government moved for pre-trial detention
 premised on both danger to the community and serious risk of flight. For the reasons stated at the hearing, hereby
 incorporated into this Order, the Court orders ALEXANDER’s pre-trial detention based upon risk of flight.

 The facts, as proffered by the government, established that, ALEXANDER and his coconspirators have been
 charged in a sex trafficking conspiracy spanning 11 years, from 2010-2021. However, there is evidence to
 support that ALEXANDER has been engaged in this kind of conduct for approximately 20 years. The
 government submitted that approximately 40 women have come forward to report that ALEXANDER and/or his
 co-conspirators lured the victims to destinations in the United States and elsewhere under the promise of luxury
 accommodations and/or travel destinations, surreptitiously drugged them and violently sexually assaulted the
 victims. Some victims reported being held down and/or unable to move during the assaults due to the effects of
 the drugs given to them by ALEXANDER and/or other conspirators.

 While the Court finds the alleged conduct to be extremely dangerous to the public, it also finds that there are
 conditions that could be imposed to mitigate the government’s stated concern at the detention hearing that
 ALEXANDER remains a danger to the community even under home confinement because he would harm
 witnesses by bringing lawsuits against them for defamation or threatening to do so.

 The Court does find that the government has met its burden to demonstrate that ALEXANDER is a serious flight
 risk and that the defense has failed to rebut the presumption on that ground. In finding pre-trial detention is
 appropriate in this case, the Court is considering the strong weight of the evidence; the significant sentence the
 Defendant faces; and the nature and circumstances of the offense; and the personal characteristics of the
 Defendant. In considering the weight of the evidence, the government anticipates the testimony of numerous
 victims and witnesses, electronic evidence, physical evidence, and documentary evidence, among other things.

 ALEXANDER has international contacts, which include his parents who are Israeli. The government also
 proffered that ALEXANDER frequently travels internationally, including to Israel and the Bahamas, and usually
 travels to these destinations by private jet and/or yacht. These travel arrangements are also frequently done at a
 moment’s notice and not scheduled in advance.

 Defendant is a successful real estate agent in the luxury market and lives a lifestyle supported by extensive
 financial resources. Home confinement at his parents’ home, as he has requested, would give him direct ocean
 access and the means to quickly flee.

 Given the potential penalties here, both incarceration and reputational harm, the Defendant has every incentive
 to flee to avoid prosecution and a public trial. See, e.g., United States v. Madoff, 316 F. App’x 58, 59 (2d Cir.
 2009) (“[I]ncentive to flee . . . naturally bears upon and increases the risk of flight.”); United States v. Sammons,

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 No. 19 Cr. 107, 2020 WL 613930, at *5 (S.D. Ohio Feb. 10, 2020) (“The shame of the allegations that he is
 facing is also an immense incentive to flee.”).

 Moreover, the Defendant is facing a significant term of imprisonment and is facing his first federal
 offense/conviction. When considering the nature and circumstances of the offense and the Defendant's extensive
 financial resources, the Court agrees with the government that the Defendant is a flight risk. Thus, the Court
 finds that the government has proven by a preponderance of evidence that no condition or combination of
 conditions of release will reasonably assure the Defendant’s appearance at trial and orders that he be detained.



                                                  Part IV – Directions Regarding Detention
 The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
 for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
 being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
 with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person
 in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance
 in connection with a court proceeding.

  Date:                  12/17/2024
                                                                              United States Magistrate Judge




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 24-mj-4544-REID


    UNITED STATES OF AMERICA

    vs.

    TAL ALEXANDER,

          Defendant,
    _________________________________

          MOTION FOR EXTENSION OF DEADLINE TO RESPOND TO DEFENDANT’S
          MOTION TO REOPEN THE DETENTION HEARING AND STAY REMOVAL

            The United States of America, through the undersigned Assistant United States Attorneys,

    respectfully requests that the Court extend by one day, from December 18, 2024 to December 19,

    2024, the deadline for the Government to respond to the defendant’s motion to reopen the detention

    hearing. The defendant, through counsel, does not oppose this request.

            After being informed on Sunday, December 15, 2024, that the defendant intended to file

    his motion, the Government began working to procure a copy of the transcript from the detention

    hearing that was held on December 13, 2024. An expedited copy of the transcript has been ordered,

    but as of the time of this filing, the Government has not yet received a copy of the transcript, which

    is required to address factual claims made by the defendant in his motion. The Government

    therefore requests this slight extension to the Court’s briefing schedule to allow it to receive the




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    transcript, which is expected to be produced on December 18, 2024, and then respond to the

    defendant’s motion.

                                                    Respectfully submitted,

                                                    MARKENZY LAPOINTE
                                                    UNITED STATES ATTORNEY
                                                    SOUTHERN DISTRICT OF FLORIDA

                                             By:    /s/ Lauren Astigarraga
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                                           Southern District of Florida

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     Document Number: 26(No document attached)
     Docket Text:
      PAPERLESS ORDER granting [25] Unopposed Motion for Extension of Time to File
     Response to the Motion to Reopen the Detention Hearing. [ECF No. 22]. The Government
     shall file its Response to the Motion by December 19, 2024. Signed by Magistrate Judge
     Lisette M. Reid on 12/18/2024. (ari)


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     Milton L. Williams &nbsp &nbsp mwilliams@wmhlaw.com

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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF FLORIDA


     UNITED STATES OF AMERICA,

                                                         Case No. 24-MJ-04544 (LMR)
                    v.

     TAL ALEXANDER,

                            Defendant.


       DEFENDANT TAL ALEXANDER’S RESPONSE TO [ECF#25] GOVERNMENT’S
       MOTION FOR EXTENSION OF DEADLINE TO RESPOND TO DEFENDANT’S
        MOTION TO REOPEN THE DETENTION HEARING AND STAY REMOVAL


           On December 16, 2024, Defendant Tal Alexander moved this Court to reopen the detention

    hearing held on December 13, 2024, and stay removal of this case to the Southern District of New

    York pending a decision on pretrial detention. ECF No. 22.

           This Court ordered the government to file a response by December 18, 2024. ECF No. 23.

           The Government filed a motion seeking a one-day extension of time to file its response,

    indicating that it is waiting to receive a copy of the transcript of the detention hearing, which the

    Court granted. ECF Nos. 25, 26. While Mr. Alexander submits that no transcript is required to

    respond (given that this matter is before the same judicial officer who presided over the detention

    hearing), as a professional courtesy Mr. Alexander did not oppose a one-day extension, but

    requested that any hearing on the motion be heard this week, on Friday, December 20, 2024, so as

    not to delay the proceeding; also, undersigned counsel (Srebnick) is scheduled to be out of the

    district next week.

           Government counsel advised Mr. Alexander that the Assistant United States Attorneys

    from the Southern District of New York and Special Agent Justine Atwood are not available to be




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    in court on December 20, 2024. Mr. Alexander proposes that Special Agent Atwood testify

    remotely, and that an Assistant United States Attorney from the Southern District of Florida—the

    office that originally handled the detention hearing—appear for the government, so as not to delay

    the proceeding.


     Dated:   December 18, 2024

                                              Respectfully submitted,

                                              WALDEN MACHT HARAN & WILLIAMS LLP


                                        By:     /s/ Milton L. Williams
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                                              BLACK SREBNICK

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                                              Attorneys for Tal Alexander




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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF FLORIDA

     UNITED STATES OF AMERICA,

                                                            Dkt. No. 24-MJ-04544 (LMR)
                     v.

     TAL ALEXANDER,

                             Defendant.


     DEFENDANT TAL ALEXANDER’S SUPPLEMENTAL BRIEF IN SUPPORT OF HIS
         MOTION TO REOPEN DETENTION HEARING AND STAY REMOVAL


            On December 16, 2024, defendant Tal Alexander submitted a motion to reopen the

    detention hearing held before this Court on December 13, 2024, and stay removal of this case to

    the Southern District of New York pending a decision on pretrial detention. ECF No. 22. That

    same day, the Court issued an order directing the government to respond by December 18, 2024.

    ECF No. 23. On December 18, 2024, the government filed a motion for a one-day extension, to

    December 19, 2024, to file its response. ECF No. 25. In its submission, the government stated

    that it did not have a transcript of the pretrial detention hearing “which is required to address factual

    claims made by the defendant in his motion.” Id. After the government moved for an extension,

    the transcript was made available to both parties. It is attached here as Exhibit A.

            At the time of Mr. Alexander’s motion to reopen, he also did not have the detention hearing

    transcript. With the benefit of the transcript, we make this submission to supplement Mr.

    Alexander’s motion to reopen to provide additional support from the record.

            First, in Mr. Alexander’s motion, he asserted that the government represented that Mr.

    Alexander would not be extraditable should he flee to Israel. ECF No. 22, at 6. More specifically,

    the government stated in rebuttal, “[W]e have confirmed with OIA that if he flees we can’t get him




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    back.” Tr. at 67:16-17. The government further asserted that “[t]he fact that his parents are Israeli,

    the fact that he has traveled back to Israel, the fact that we have conferred with OIA and they have

    indicated that if he does flee there, which has happened in the past, that they are not going to be

    able to extradite him back and that is not a sure thing.” Tr. at 51:19-24. These statements are

    plainly inaccurate, as we detailed with numerous examples to the contrary in Mr. Alexander’s

    motion to reopen. See ECF No. 22, at 6-7.

           Second, in the motion to reopen, Mr. Alexander proposed an increased bail package, which

    included a bond signed by Mr. Alexander’s parents in any amount secured by the entirety of their

    assets and an in-camera review by the Court of their financials. Id. at 5-6. We can provide

    additional information that has developed since the filing of the motion. Mr. Alexander is prepared

    to retain a private security service with extensive experience performing bail security and pretrial

    release services, to provide a full-time armed security detail at the location of Mr. Alexander’s

    home detention. The company will diligently follow the Court’s orders and, among other things,

    install in and around the residence security measures, including video cameras and door and

    window sensors and alarms, and ensure that 24 hours per day, every day, Mr. Alexander will be

    guarded by several armed security professionals. Mr. Alexander would pay the costs of these

    services.

            These services and proposed conditions have been accepted in cases where courts had

    concerns about flight of defendants with means, and more significantly, have been successful. See,

    e.g., United States v. Jeffrey Webb, Dkt. 15-CR-252 (E.D.N.Y.); United States v. Ng Lap Seng,

    Dkt. 15-CR-706 (S.D.N.Y.).

           In Webb, the defendant was arrested abroad and waived extradition to return to the Eastern

    District of New York. On July 18, 2016, the court set bail, including, among other conditions, $10



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    million bond secured by signatures of ten sureties, properties in Pennsylvania, Georgia, Florida,

    and the Cayman Islands, and a partnership interest in a P.C. The defendant consented to home

    detention with electronic monitoring at a family apartment within 20 miles of the courthouse and

    thereafter at his family residence in Georgia. He was required to hire a private security service to

    monitor his physical location, 24 hours per day, 7 days per week, at both the initial location and

    the subsequent location. The security service was paid for by the defendant but directed by and

    reported to the FBI and the Office of Pretrial Services. The defendant and his wife also surrendered

    their passports. For nearly six months, a company provided these services at both locations on a

    24/7 basis with two personnel each working a 12-hour shift.

            Similarly, in Ng, a Magistrate Judge set bail at the defendant’s arraignment in the amount

    of $50 million personal surety bond secured by $20 million cash and property in New York City,

    with the defendant’s presence to be secured by a company. The government’s appeal to the District

    Court was denied, but the Court ordered a complete set of conditions, which were adhered to by

    the service provider. The Court’s bail application order is attached hereto as Exhibit B.

            With these additional conditions, Mr. Alexander’s augmented bail package entirely ensures

    that he poses no risk of flight.

            For the supplemental reasons set forth above, we respectfully request that the Court grant

    Mr. Alexander’s motion to reopen the detention hearing and stay removal of this case to the

    Southern District of New York. The defendant respectfully requests that the detention hearing be

    reopened to further advance the grounds for this motion and answer any questions the Court may

    have.




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     Dated:   December 19, 2024         Respectfully submitted,

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       1                     IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
       2
                                          MIAMI DIVISION
       3
                                  CASE NO:    24-mj-04544-LMR-1
       4

       5

       6

       7 UNITED STATES OF AMERICA,       )
                                         )
       8             Plaintiff,          )                 December 13, 2024
           v.                            )
       9                                 )
           TAL ALEXANDER,                )
      10                                 )                 Pages 1 - 77
                     Defendant.          )
      11   ______________________________/

      12

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      14
                                        DETENTION HEARING
      15
                             BEFORE THE HONORABLE LISETTE M. REID
      16                        UNITED STATES MAGISTRATE JUDGE

      17

      18

      19

      20

      21
           APPEARANCES:
      22
           Counsel on behalf of the Plaintiff:
      23
                            UNITED STATES DEPARTMENT OF JUSTICE
      24                    99 NE 4th Street
                            Miami, FL 33132
      25                    BY: LAUREN A. ASTIGARRAGA, ESQ.




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       5 FBI SPECIAL AGENT JUSTINE ATWOOD

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       1             (Thereupon, the following proceedings were held:)

       2             THE COURT:     Okay.   The final matter on the calendar is

       3   USA versus at all Alexander; Case Number 24-cr-04544.

       4             MS. ASTIGARRAGA:       Good afternoon, Your Honor.       Lauren

       5   Astigarraga on behalf of the United States.

       6             MR. DENARO:     Good afternoon, Your Honor.        Joel Denaro

       7   on behalf of Tal Alexander.

       8              As the Court is aware, I filed a temporary notice of

       9   appearance as well as a motion pro hac vice and the Court

      10   granted that motion.

      11              Thank you.

      12             THE COURT:     Yes.

      13             MR. DENARO:     So it is a pleasure to introduce Deanna

      14   Paul from the Southern District of New York as well as Mr.

      15   Milton Williams from the Southern District of New York.

      16              Very fine lawyers, Your Honor.         They are going to be

      17   handling the detention hearing.

      18             THE COURT:     Okay.

      19             MR. DENARO:     But I just wanted to personally introduce

      20   them to the Court.

      21             THE COURT:     All right.     Thank you, Mr. Denaro.

      22              MR. WILLIAMS:     Good afternoon, Your Honor.

      23             THE COURT:     Good afternoon.

      24              MR. WILLIAMS:     Pleasure to appear in front of you and

      25   thank you for granting pro hac vice.




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       1             THE COURT:     Very good.

       2              So let's start with pretrial detention and Government

       3   how do you wish to proceed?

       4             MS. ASTIGARRAGA:       Factual proffer, Your Honor.        We

       5   have an agent who is also present.

       6             THE COURT:     Okay.   All right.     So we will let the

       7   Government proceed with the factual proffer.

       8              Then, Mr. Williams, if you want to question the agent,

       9   we will give you the opportunity to do so.

      10              MR. WILLIAMS:     Thank you, Your Honor.

      11              May I ask, two things, is it possible to get the 3500

      12   material from the AUSA after the agent testifies?

      13             MS. ASTIGARRAGA:       I could ask the prosecution in the

      14   Southern District of New York.        They requested the information

      15   five minutes before the hearing.         I explained that we couldn't

      16   produce that at this time.

      17              I anticipate they have no issue presenting Jencks

      18   following the conclusion of the hearing when they have an

      19   opportunity to assemble it.

      20              MR. WILLIAMS:     Okay.

      21             THE COURT:     Yes.

      22              MR. WILLIAMS:     And should the hearing be continued,

      23   then, Your Honor, in case there is something in the materials

      24   that I would like to question on.

      25             THE COURT:     Well, generally we don't do that because




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       1   you have one opportunity for the hearing.

       2              MR. WILLIAMS:     Okay.

       3             THE COURT:     But definitely there is something in there

       4   that you believe that it should have been considered, you have

       5   the opportunity to appeal my decision.

       6              MR. WILLIAMS:     Thank you, Your Honor.

       7             THE COURT:     And bring that to the District Court's

       8   attention.

       9              MR. WILLIAMS:     Thank you very much, Your Honor.

      10             THE COURT:     Okay.

      11             MS. ASTIGARRAGA:       May I proceed, Judge?

      12             THE COURT:     Yes, you may.

      13             MS. ASTIGARRAGA:       Thank you, Your Honor.

      14              The Government notes that the presumption applies in

      15   this case and it is joining in the recommendation of Pretrial

      16   Services that no combination of conditions is appropriate and

      17   that detention should be ordered.

      18              The evidence in the Government's case demonstrates

      19   that from at least 2010 to 2021, the Defendant, his brothers

      20   who are charged as his co-defendants, all conspired together to

      21   sexually assault, traffic, and forcibly and violently rape

      22   dozens of women.

      23              Multiple of those women include women who were minors

      24   at the time they were assaulted.         While the conspiracy charged

      25   here is an eleven-year span, the evidence in this case supports




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       1   that the conduct has been ongoing for approximately 20 years.

       2              This conduct also transpired during a period where the

       3   Defendant and his brothers were in serious or long-term

       4   relationships.

       5              The offenses that the Defendant has been charged with

       6   each carry a 15-year minimum mandatory.          However, their

       7   estimated guideline range is life imprisonment.

       8              While the indictment substantively charges two

       9   particular victims, the conspiracy charged includes that the

      10   Defendant and his co-Defendant engaged in this type of conduct

      11   against at least approximately 40 different victims.

      12              All of these victims name at least one of the

      13   Alexander brothers.      Since the Defendant's arrest became public

      14   this week, numerous other potential victims have since come

      15   forward to report being sexually assaulted by the Defendant or

      16   one of his brothers who received a bond, but are also charged

      17   in this indictment and are pending their transfer over here

      18   into federal court.

      19              Evidence from this investigation shows that the

      20   Alexander brothers began engaging in these acts of sexual

      21   violence, including gang rapes, while they were still in high

      22   school here in Miami, Florida.

      23              The Government interviewed multiple women who report

      24   being raped by at least one of the Alexander brothers,

      25   including the Defendant, in high school.          They claim that this




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       1   was done in a gang rape style form by the brothers and other

       2   people.

       3              The victim reported the Defendant boasted the sexual

       4   assaults at school proclaiming that he had been, quote, running

       5   train on their victims and saying that he wanted to do it

       6   again.

       7              The phrase running a train is a phrase known to law

       8   enforcement to mean having sex with multiple people, usually

       9   men, to have sex with a single person, usually a woman.

      10   Running a train can also be a phrase that means gang rape.

      11              Law enforcement learned through public reporting that

      12   one of the Defendant's brothers charged in this case, published

      13   in his high school yearbook that his most memorable moment in

      14   high school was, quote, riding my first choo-choo train, end

      15   quote.

      16              As adults, the Defendant and his brothers serial

      17   sexual violence has only escalated over the past decade.              This

      18   investigation has uncovered that the Defendant and his brothers

      19   would find female victims through a variety of means, which

      20   included through the use of promoters to bring them women

      21   through dating apps and through chance encounters.

      22              However, the evidence in the Government's case shows

      23   that the subsequent conduct that all followed was fairly

      24   consistent in their MO and in their pattern of sexual violence.

      25              The Defendant and his brothers would invite the




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       1   victims to parties or events luring them over with travel to

       2   popular vacation destinations such as the Hamptons, Tulum in

       3   Miami, or to other luxury accommodations at lavish hotels or

       4   properties.

       5               They would offer them alcohol laced with drugs in

       6   order to physically incapacitate them and then they would

       7   forcibly rape the victims either alone, together with other

       8   co-Defendants, or with other uncharged co-conspirators.

       9               Many of the victims reported symptoms consistent with

      10   being drugged by a date rape drug and indicated that they had

      11   an inability to move and difficulty speaking, feeling like they

      12   could not control their own bodies and that they had gaps in

      13   their memories.

      14               In drugging their victims, the Defendant and his

      15   brothers used cocaine, mushrooms, and the date rape drug.              Many

      16   victims also reported to law enforcement that they told the

      17   Defendant, or his brothers, no, or that they even screamed

      18   while the rapes were happening, but that on each and every

      19   occasion the Defendant ignored their pleas to stop.

      20               Many of the victims also reported being terrified the

      21   bothers would hurt them or be killed because of how

      22   aggressively and forcibly they were raped during the sexual

      23   assaults.    Numerous victims recalled being restrained and being

      24   physically held down.

      25               These accounts are consistent with dozens of women who




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       1   have come forward to report their sexual assaults.             Despite

       2   many of these victims coming from different states, social

       3   circles, and the facts that the incidents occurred on different

       4   dates at times spanning different decades.

       5              The Defendant has also been charged for conducts

       6   against two subsequently charged victims.           As it relates to

       7   victim one, in the summer of 2011, victim one traveled to the

       8   Hamptons at her friend's invitation.

       9              Victim one and other women were met at a train station

      10   by the Defendant and another man and they took the women to

      11   their vacation house.

      12              After arriving at the house, victim one was given a

      13   glass of wine and drank about half of it before she began to

      14   feel unwell in a way that was inconsistent with drinking that

      15   amount.    Victim one's memory, thereafter, became hazy, but she

      16   had several distinct memories of that night.

      17              Specifically victim one remembers being held down by

      18   the Defendant while another man entered the room.            Victim one

      19   also remembers being in a second location with the Defendant

      20   and another man and that a camcorder was set up.

      21              Victim one's next memory is waking up in the grass

      22   outside of the vacation home with a physical sensation

      23   indicating recent vaginal penetration.

      24              As it relates to victim two, in August of 2016, victim

      25   two and her friend, who I will refer to as individual one,




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       1   mashed with the Defendant's brother Alon and Oren Alexander on

       2   a dating application.

       3              Victim two primarily communicated with Oren and victim

       4   one primarily communicated with Alon.          Victim two and

       5   individual one eventually traveled from Illinois to stay with

       6   the Defendant's brothers in the Hamptons over the Labor Day

       7   weekend.    The co-Defendants paid for the travel and

       8   accommodations of victim two and individual one.

       9              Messages located on Oren Alexander's iPod account

      10   reflect that the Alexander brothers exchanged communications

      11   with this Defendant about purchasing flights for victim two and

      12   individual one around the time that the brothers booked their

      13   tickets.

      14              In the messages Alon indicated:

      15              "Are we booking the flights?        First three on the left.

      16   We split and try to orgy them out."

      17              This Defendant responded:        "For sure, last weekend,

      18   throw it up."

      19              Alon responded:      "I agree, Oren.     To which Oren

      20   responded:    "All four?     Why not."

      21              Two days later this Defendant began exchanging

      22   messages within another group chat entitled Hamptons Hot Chicks

      23   with two party promoters.

      24              At one point one of the promoters said I want photos

      25   of the girls naked and this Defendant responded:




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       1               "LOL, guys, we're going to have a lot of fun."

       2               Once victim two and individual one eventually arrived

       3   to the Hamptons' home and the Defendant and his brother hosted

       4   a party the following day.

       5               During the party, Oren Alexander gave victim two a

       6   cocktail and shortly thereafter victim two began feeling

       7   strange and struggled to walk.

       8               Alon Alexander assisted victim two inside the house

       9   and took her into the bedroom to lie down.           Some time later

      10   victim two woke up when Oren entered the room.            He then pulled

      11   down victim two's bathing suit and climbed on top of her.

      12   Victim two was physically impaired and could not move.

      13               She also struggled to speak.       Oren raped victim two

      14   and then left the room leaving her lying in the bed.

      15               When victim two woke up the next morning, she was

      16   lying on the bed and her bathing suit was pulled down around

      17   her legs.

      18               In another group, in a What's App chat called Lions in

      19   Tulum.   The Alexander brothers and other men attending the trip

      20   discussed, quote, imports of women to Tulum for their upcoming

      21   trip that they were discussing.

      22               They discussed splitting the cost of lodging and

      23   flights for the women that they planned to, quote, import over

      24   there.   And they discussed providing the drugs to the women so

      25   that it would be more likely that they would want to engage in




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       1   sex.

       2              In that group chat one of the participants stated,

       3   quote, going to start collecting for the pot to fly bitches

       4   down, end quote.

       5              Alon Alexander replied, there should be a fee per bang

       6   and after bang, end quote.       The Defendant later stated that the

       7   girls looked fresh.

       8              The chat also made clear that the Defendant and his

       9   brothers wanted to be sure that only certain kind of drugs like

      10   cocaine, mushrooms, and the date rape drug were present for the

      11   festivities.

      12              The group also discussed they did not want the girls

      13   to have Ectasy because, quote:

      14              "Nothing gets done with that and it just makes the

      15   girls want to chase the party instead."

      16              In that same group chat several days later the

      17   Defendant reinitiated communication about the drugs again.

      18   This time inquiring also about photographers.           The Defendant

      19   asked the group:

      20              "Photographers?      Drugs?"

      21              To which someone responded:        "All getting worked on."

      22              Male one told the group that they could feel free to

      23   extend a piece that you like, which law enforcement understands

      24   piece to mean a particular woman.

      25              One of the Defendant's brothers stated that he wanted




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       1   to make sure that he got, quote:

       2              "Max returns and there were no free rides under my

       3   watch."

       4              The Government is also in possession of social media

       5   evidence that supports the charges in this indictment.

       6              In January of 2024, Oren Alexander messaged this

       7   Defendant and told him, quote:

       8              "Start to think about your reputation that you want

       9   out there.    We're on the top of our game and the only thing

      10   that can bring us down is some ho complaining."

      11              To which the Defendant agreed and responded:

      12   "Understood.     Did someone complain?"

      13              And even when victims did complain, the Defendants

      14   took steps to interfere, intimidate, and stop victims from

      15   reporting.

      16              Prior to this case and in an instance where the victim

      17   stated that she had been forcibly digitally penetrated by this

      18   Defendant, while Oren was in the room, this Defendant and his

      19   brother then filed a police report alleging harassment against

      20   the victim.

      21              This Defendant then threatened that victim with a

      22   defamation lawsuit and told her that if she did not stop

      23   telling people that he and Oren had sexually assaulted her that

      24   he was going to file a lawsuit against her.

      25              Another victim reported that the Defendant made




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       1   threatening statements to her after she told other people that

       2   she had been drugged.

       3              In March of 2024, multiple lawsuits alleging

       4   misconduct and assault against the Alexander brothers were

       5   publically reported.

       6              In response to the public accusations, Alon Alexander

       7   began compiling files on each publically identified victims,

       8   several who had not been made public yet, as part of an

       9   apparent attempt to discredit their accusers.

      10              The Government's investigation as to this obstructive

      11   conduct is still ongoing.

      12              The Defendant is a multimillionaire who has the

      13   resources to flee and live comfortably in hiding.            The

      14   Defendant and his family have access to significant wealth.

      15              He and one of his brothers owns a luxury real estate

      16   brokerage with a real estate portfolio valued at hundreds of

      17   millions of dollars.

      18              They are known in the real estate world for selling

      19   high-end luxury homes to celebrities and the ultra rich.              The

      20   Defendant has properties here in Miami as well as over in New

      21   York.

      22              The Defendant and his family also have significant

      23   foreign ties.     Particularly to Israel and to Brazil.          Their

      24   parent are from Israel and the Alexander brothers frequently

      25   travel to Israel to visit family, conduct business, and for




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       1   vacation.

       2               They also travel frequently outside the United States

       3   to other locations often booking flights at the last minute and

       4   traveling by their private jet or on a yacht.

       5               We have confirmed with OIA, who indicated that despite

       6   an extradition treaty, we can not ensure the Defendant's

       7   extradition back to the U.S. should he flee out to Israel.

       8               This concludes the Government's proffer.          Special

       9   Agent Justine Atwood is present and available for

      10   cross-examination.

      11               I would also like to note for the record, Your Honor,

      12   that the parties have conferred and agreed not to name any

      13   particular victims here at this hearing.

      14               There is one additional victim that I believe counsel

      15   intends to inquire on and she will be referred to as victim

      16   three in this hearing.

      17             THE COURT:     Okay.   Thank you very much.

      18               So, Agent Attwood, if you could come forward, please.

      19               You could stand at the chair by the witness stand and

      20   then my courtroom deputy will swear you in and then you can

      21   have a seat.

      22               Mr. Williams, with respect to what we discussed

      23   before, the Jencks --

      24               MR. WILLIAMS:    Yes.

      25               THE COURT:   I want to make clear, though, that there




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       1   is a requirement in the rule that if there is some information

       2   that was not known to you at the time of the hearing, and that

       3   if it has a material bearing on the hearing, you could

       4   certainly file a motion to re-open the hearing stating what

       5   that evidence is and if it is material.

       6              I just want to clarify that.

       7              MR. WILLIAMS:     You know, Your Honor -- and I am sorry.

       8   I really appreciate you taking the time out today to do this

       9   hearing.

      10              What I am saying is this.        Normally -- and this is I

      11   am back from New York and practice a lot in the Southern and

      12   Eastern Districts up there.

      13              And normally we will get in many cases 3500 material

      14   beforehand or at least at the end of the direct examination of

      15   this case proffer.

      16              And I appreciate it.       I don't want to delay the

      17   proceedings.     I appreciate you saying and putting on the record

      18   what you did.

      19              And once we get it and look at it, if there is a need

      20   at all, we will revisit it.

      21              Thank you very much.

      22              THE COURT:    Okay.   Very good.     All right.

      23              THE COURTROOM DEPUTY:      Please raise your right hand.

      24              THE WITNESS:    (Complied.)

      25 (Witness sworn.)




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       1             THE COURTROOM DEPUTY:       Please have a seat and state

       2   your name and your last name.

       3             THE WITNESS:     Yes.    Justine Attwood; A-T-W-O-O-D.

       4             THE COURTROOM DEPUTY:       Thank you.

       5             THE COURT:     You may proceed.

       6             MR. WILLIAMS:      Thank you, Your Honor.

       7              With the Court's permission and perhaps I could give

       8   it to the Deputy, I would like Special Agent Atwood to have the

       9   indictment and if we could mark it as Defense Exhibit One.

      10             THE COURT:     Sure.    And you may have it marked and then

      11   my courtroom deputy --

      12              MR. WILLIAMS:     I don't have a paperclip.

      13             THE COURTROOM DEPUTY: There is one there.

      14              MR. WILLIAMS:     Sure.    Absolutely.

      15             THE COURTROOM DEPUTY:       Do you see them there?

      16             MR. WILLIAMS:      I do.   Thank you.

      17             THE COURTROOM DEPUTY:       You're welcome.      I'll put the

      18   case number on it.

      19              MR. WILLIAMS:     Okay.    Thanks.

      20             THE COURTROOM DEPUTY:       You're welcome.

      21              MR. WILLIAMS:     Is there a paperclip there by any

      22   chance?

      23             THE COURTROOM DEPUTY:       Sure.     This will be better.

      24              MR. WILLIAMS:     Thank you very much.

      25             THE COURTROOM DEPUTY:       You're welcome.




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       1               MR. WILLIAMS:    Here you go Agent Atwood.

       2               THE WITNESS:    Thank you.

       3            FBI S/A JUSTINE ATWOOD, GOVERNMENT'S WITNESS SWORN

       4                                CROSS EXAMINATION

       5 BY MR. WILLIAMS:

       6 Q.     Special Atwood, are you familiar with the indictment,

       7 Defense Exhibit One, chat superseding indictment in this case?

       8 A.     Yes.

       9 Q.     Are you aware of whether or not there was a previous

      10 indictment?

      11 A.     Yes.

      12 Q.     Are you familiar with that indictment?

      13 A.     Yes.

      14 Q.     Did you actually see the other indictment?

      15 A.     Yes.

      16 Q.     Could you tell us the differences between the first

      17 indictment and that indictment?

      18 A.     This is a speaking indictment, the second one.

      19 Q.     Meaning what?

      20 A.     We added additional information to that indictment.             I was

      21 not there for that indictment.

      22 Q.     You were not there for which indictment?

      23 A.     The second one.

      24 Q.     The second one.     The one you are holding?

      25 A.     Yes.




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       1 Q.     Now, how long have you been with the FBI?

       2 A.     Three and-a-half years.

       3 Q.     Three and-a-half years.

       4        And what unit or Task Force are you assigned to?

       5 A.     I am assigned to the Child Exploitation and Human

       6 Trafficking Task Force.

       7 Q.     And how long have you been working on this particular

       8 matter?

       9 A.     Since the summer of 2024.

      10 Q.     Since the summer.      Approximately when in the summer?

      11 A.     In June.

      12 Q.     And are you the lead agent on the case?

      13 A.     Yes, I am.

      14 Q.     You are the lead.      So you are familiar with -- very

      15 familiar with the investigation, correct?

      16 A.     Correct.

      17 Q.     Can you tell me -- and during the proffer the AUSA

      18 mentioned that there was travel between somewhere to the

      19 Hamptons.

      20        Where did that person come from to go to the Hamptons?

      21 A.     They traveled either by bus.

      22 Q.     From where?

      23 A.     From New York and we have had other victims travel from

      24 other locations.

      25 Q.     From New York.




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       1        Did they travel from -- the AUSA based on the indictment

       2 proffered that a victim traveled from somewhere -- she didn't

       3 say where -- to the Hamptons.          And I don't think where she

       4 traveled from, from the Hamptons is necessarily in the

       5 indictment, if I remember correctly.

       6        So do you know where they came from to go to the Hamptons?

       7 A.     They came from the Long Island Railroad.

       8 Q.     The Long Island Railroad?

       9 A.     Uh-huh.

      10 Q.     And what part of Long Island did they come from?

      11 A.     I am not sure.     I am not from New York.       I believe it was

      12 in Queens.

      13 Q.     In Queens.    So they traveled within New York State,

      14 correct?

      15 A.     Correct.

      16 Q.     And during the course of your investigation -- by the way,

      17 this conspiracy is for a period of eleven years, correct?

      18 A.     Correct.

      19 Q.     From 2000 -- approximately in or about 2010 to in or about

      20 2021, correct?

      21 A.     Correct.

      22 Q.     So that means the last act that is alleged as part of the

      23 conspiracy occurred in 2021, correct?

      24 A.     Correct of what we know.

      25 Q.     Do we know what month in 2021 -- sorry.          Not we.




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       1        Are you aware of what month in 2021 the alleged last act

       2 that was a part of this conspiracy occurred?

       3 A.     I have interviewed multiple women.         So I would have to go

       4 back to my notes.       I don't have that with me now.

       5 Q.     You interviewed multiple women.         How many women have you

       6 interviewed?

       7 A.     Approximately 40.

       8 Q.     You interviewed 40.

       9        And it is an eleven-year conspiracy that occurred over

      10 eleven years, correct?

      11 A.     Correct.

      12 Q.     And so based on the approximate dates in the indictment the

      13 last act occurred in 2021, which is almost four years ago,

      14 correct?

      15 A.     Correct.

      16 Q.     Now, during the course of your investigation, did you

      17 interview any women who told you that they had friendly contact

      18 with any one of the Defendants after an alleged rape?

      19 A.     Yes.

      20 Q.     So they did.     So there are women who had -- and you don't

      21 have to name them -- like victim number three.

      22        There are women who claim now that they have been raped,

      23 but in text messages they nice conversations with the

      24 Defendants, correct?

      25 A.     The women were within the same social circles, yes.




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       1 Q.     But they were texting the -- one of the individual

       2 Defendants -- sorry.

       3        The text messages was between the woman and one of the

       4 Defendants, right?

       5 A.     Are you referring to victim three.

       6 Q.     Yes, victim three.

       7 A.     I haven't seen those text messages.

       8 Q.     Well, then let me make it -- I'm sorry.          I didn't mean to

       9 cut you off.

      10 A.     That's okay.

      11 Q.     Okay.    Then generally between --

      12             THE COURTROOM DEPUTY:       Sir?

      13             MR. WILLIAMS:      I'm sorry?

      14             THE COURT:     Can you use the --

      15             MR. WILLIAMS:      I'm sorry.    I tend to wander.

      16             THE COURTROOM DEPUTY:       Yes.

      17                MR. WILLIAMS:   My apologies.

      18                THE COURTROOM DEPUTY:     I'm sorry.    The sound system

      19   cannot pick you up.

      20             MR. WILLIAMS:      That's my mistake.      I'm sorry.

      21             THE COURTROOM DEPUTY:       Thank you, sir.

      22 BY MR. WILLIAMS:

      23 Q.     What I am asking -- if I am not being clear enough.             I

      24 apologize.

      25        Many of the women who you interviewed, after an alleged




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       1 rape, had text messages with one or more of the Defendants,

       2 correct?

       3 A.     I have not seen these text messages.

       4 Q.     You have not?

       5 A.     I cannot recall, no.

       6 Q.     You have not.

       7        Have you imaged these women's phone?

       8 A.     We have not.

       9 Q.     You have not.

      10        So you haven't taken a look to see whether or not these

      11 women had friendly discourse and text messages with any one of

      12 the Defendants and most importantly, my client, Tal Alexander?

      13 A.     I have not seen any messages after the assault.

      14 Q.     All right.    Now in this eleven-year -- well, let me just go

      15 back to something.

      16        You have not seen any, but the investigation, during the

      17 investigation you haven't imaged any of these women's phones,

      18 correct?

      19 A.     We have not imaged anyone's phones.

      20 Q.     To check whether or not there are text messages or e-mails

      21 on those phones, which corroborate their account of what

      22 occurred, correct?

      23 A.     That's not correct.      We have some messages that women have

      24 provided, but we have not imaged their phones.

      25        Are you saying a search warrant?




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       1 Q.     I am saying have you searched, all the women who you

       2 interviewed, phones?

       3 A.     Some of the women that we have interviewed have provided

       4 messages, yes.

       5 Q.     But have you searched those phones?

       6 A.     No, we have not searched those phones.

       7 Q.     Now, it is an eleven-year conspiracy, correct?

       8 A.     Correct.

       9 Q.     And the investigation has been going on for how long?

      10 A.     Approximately 20 years.       I'm sorry --

      11 Q.     The investigation?

      12 A.     The investigation has been going on since June of 2024.

      13 Q.     And it covers the eleven-year period, correct?

      14 A.     Correct.

      15 Q.     And is it fair to say that based on the superseding

      16 indictment, at this particular point in time, there are only

      17 two victims that you have identified in the superseding

      18 indictment over an eleven-year period?

      19 A.     Yes.

      20 Q.     Now, are you aware that the fact that there was a criminal

      21 investigation into my client and his brothers was published in

      22 the Wall Street Journal in early July of 2024?

      23 A.     I am aware.

      24 Q.     And that was shortly after, about a month after the

      25 investigation, the criminal investigation concerning my client,




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       1 started, correct?

       2 A.     Correct.

       3 Q.     Now since July, early July I believe -- I will just say

       4 this.     I believe the date --

       5             THE COURT:     You walked away from the microphone.

       6             MR. WILLIAMS:      Oh, I'm sorry.

       7             THE COURT:     So what happens is, if you want to get a

       8   recording of the hearing --

       9              MR. WILLIAMS:     Yes.

      10              THE COURT:    -- then it will be hard for the --

      11             MR. WILLIAMS:      I will stay put.     My apologizes.

      12              THE COURT:    Okay.

      13              MR. WILLIAMS:     Again, the second time.

      14 BY MR. WILLIAMS: .

      15 Q.     So what I was going to ask is this.

      16        Are you aware that the Wall Street Journal article

      17 announcing that there was a criminal -- I'm sorry -- reporting

      18 that there was a criminal investigation was dated July 8th of

      19 2024?

      20 A.     I was not aware of a date.

      21 Q.     But you remember something from early July, don't you?

      22 A.     Possibly, yes.

      23 Q.     Now, are you aware that also the New York Times and

      24 Bloomberg, Bloomberg Publications, also reported around the

      25 same time that there was a criminal investigation by the




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       1 federal authorities into my client?

       2 A.     Yes.

       3 Q.     Okay.   And again, you are since June you have been the lead

       4 agent on this case; is that correct?

       5 A.     Correct.

       6 Q.     And you have conducted what you would -- you conducted a

       7 detailed investigation, correct?

       8 A.     Yes.

       9 Q.     And obviously, you looked into my client Tal Alexander,

      10 correct?

      11 A.     Correct.

      12 Q.     Now, from any time, let's say when that Wall Street Journal

      13 article appeared and reported the fact that there was a

      14 criminal investigation, until the time my client was arrested

      15 on Wednesday -- Mr. Alexander is my client.

      16        Until the time Mr. Alexander was arrested on Wednesday, do

      17 you have any evidence that demonstrates that he was making

      18 plans to leave the country?

      19 A.     I do not.    I don't know what he was thinking.

      20 Q.     But do you have any evidence -- let me ask it this way.

      21        Do you have any evidence that he was traveling much more

      22 frequently around the world after the Wall Street Journal

      23 reported the criminal investigation?

      24 A.     I do not, but your client has access to boats which he can

      25 leave at any time.




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       1 Q.     No, I understand.

       2        But did you, during your investigation, discover that he

       3 was traveling more frequently to different locations around the

       4 world after the Wall Street Journal article, reporting the

       5 criminal investigation, came out?

       6 A.     No, I don't have that information.

       7 Q.     You don't.

       8        Okay.   And do you have any, due to your investigation of

       9 his phone or other phones, do you have any indication based

      10 on --

      11              MR. WILLIAMS:     let me withdraw and rephrase.

      12 BY MR. WILLIAMS:

      13 Q.     Based on your review of all the documents that you have

      14 seen in this case, did you see anything, any documents,

      15 e-mails, texts that led you to the conclusion, okay, that he

      16 was making plans to leave the country?

      17 A.     No.

      18 Q.     And by the way, when he was arrested on Wednesday of this

      19 week -- I think that is December 11th.

      20        When he was arrested the FBI couldn't find him at first,

      21 correct?

      22 A.     That's not correct.

      23 Q.     You thought he was in New York, didn't you?

      24 A.     He was in New York, yes, but then he traveled to Miami.

      25 Q.     And then you found him and you went to his father's home,




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       1 correct?

       2 A.     We did not.     The FBI did not go to his father's home.          We

       3 had a Task Force go to his father's home.

       4 Q.     So law enforcement agents went to his father's home,

       5 correct?

       6 A.     Correct.

       7 Q.     And are you aware that he walked outside the his father's

       8 home and he surrendered himself?

       9 A.     Correct.

      10 Q.     Now, let me ask you this.        Are you certain --

      11             MR. WILLIAMS:      Withdrawn.

      12 BY MR. WILLIAMS:

      13 Q.     I believe during the proffer, if my recollection serves me

      14 correctly, that it was mentioned that Mr. Alexander and his

      15 brothers have a private jet.

      16        Is that your understanding?

      17 A.     To the proffer, no, that's not my understanding.

      18 Q.     Well --

      19 A.     They do not have their own private jet.

      20 Q.     They don't have their own private jet, correct?

      21 A.     Correct.

      22 Q.     And in the indictment -- and did you see the letter that

      23 was sent to Judge Reid and Judge Caproni?

      24 A.     I have not seen a letter.

      25 Q.     Okay.   As you sit here today, where is it that my client




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       1 has strong ties to another nation in the world?

       2 A.     Your client travels to Israel, yes.

       3 Q.     He travels to Israel, correct?

       4 A.     Correct.

       5 Q.     And it is your understanding that my client is Jewish,

       6 correct?

       7 A.     Correct.

       8 Q.     And he is a person of means.        And when I say means, he is a

       9 person with wealth, correct?

      10 A.     Correct.

      11 Q.     And based on these ties to Israel and his wealth, you are

      12 concluding that he is a flight risk, correct?

      13 A.     Correct.

      14 Q.     Now let me ask you something.

      15        There is a fairly significant Jewish population in the

      16 United States, correct?

      17 A.     Correct.

      18 Q.     There is a fairly significant Jewish population in Florida,

      19 correct?

      20 A.     Correct.

      21 Q.     And there is a fairly significant Jewish population in

      22 Miami, correct?

      23 A.     Correct.

      24 Q.     And we will just stick with Miami for a second.            There is a

      25 good number of a --




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        1        MR. WILLIAMS:     Withdrawn.

        2 BY MR. WILLIAMS:

        3 Q.     There are a good number of people of the Judaic faith in

        4 Miami who have wealth, correct?

        5 A.     I am not sure.     I am not from Miami.

        6 Q.     You are not familiar?

        7 A.     No.

        8 Q.     Let's spread it out to the United States.

        9        In the United States there are many wealthy Jewish people,

       10 correct?

       11 A.     Correct.

       12 Q.     And many of these wealthy Jewish people are armed

       13 supporters of Israel, correct?

       14 A.     I'm not sure.     I can't give you that information.

       15 Q.     Just on your general life experience do you have any

       16 knowledge of that?

       17 A.     I don't.

       18 Q.     Are you aware that many Jewish people, whether they are

       19 wealthy or not, travel to Israel?

       20 A.     Yes.

       21 Q.     They do, right?

       22 A.     Correct.

       23 Q.     They go to places like Kabbutz, correct?

       24 A.     Yes.

       25 Q.     They travel to Tel Aviv, correct?




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        1 A.      Correct.

        2              THE COURT:    Mr. Williams?

        3              MR. WILLIAMS:     Yes.

        4              THE COURT:    I just want to say that sounds a lot like

        5   argument than questions for this agent.

        6              MR. WILLIAMS:     That's fine.

        7              THE COURT:    You will want to move along.

        8              MR. WILLIAMS:     I will wrap this line of questioning

        9   up.   Okay.   Certainly, Your Honor.        I'll stop there.

       10 BY MR. WILLIAMS: .

       11 Q.      Now, since the investigation was announced in the Wall

       12 Street Journal on or about or in or about early July of 2024,

       13 are you aware that this client, my client, Mr. Tal Alexander,

       14 has taken any steps to intimidate or threaten any witnesses?

       15 A.      Your client has threatened some witnesses, yes.

       16 Q.      He has threatened who?

       17 A.      Some of our witnesses that have come forward.

       18              MR. WILLIAMS:     So let me have -- may I approach the

       19   witness?    First may I mark this as Defense Exhibit Number Two,

       20   please?

       21              THE COURT:    As long as you show it to the Government

       22   first.

       23              MR. WILLIAMS:     Sorry.

       24              THE COURT:    Yes, go ahead.

       25              MR. WILLIAMS:     Could I Borrow another clip?




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        1               THE COURTROOM DEPUTY:      Sure.

        2               MR. WILLIAMS:    Thank you.     Thank you very much.

        3               THE COURTROOM DEPUTY:      You're welcome.

        4 BY MR. WILLIAMS:

        5 Q.     You can hold this for a second.         I'm going to tell you

        6 which page.

        7 A.     All right.

        8 Q.     You can start looking at it if you want.           Take your time

        9 and look at it.       I really only have one question.

       10 A.     You have a specific question as to a page number?

       11 Q.     Yes, sure.    You could go to page number 7.

       12        And I'm looking, just so maybe it will save you some time,

       13 after the discourse of the text message I am looking at the

       14 paragraph that starts:

       15        'And even when the victims did complain.'           You can read

       16 that to yourself, if you would.

       17        Have you familiarized yourself with the letter?

       18 A.     Yes.

       19 Q.     Based on your review of the letter does it mirror much of

       20 the information in the indictment?

       21 A.     Yes.

       22 Q.     And is it consistent with your understanding of the

       23 evidence that you have uncovered during the investigation?

       24 A.     Yes.

       25 Q.     And I would just ask you -- I am going to just point this




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        1 out and I am going to read this paragraph from Defense

        2 Exhibit Two:

        3        "And even when victims did complain, Defendants took steps

        4 to stop victims from reporting.           The Government is aware, for

        5 instance, of at least one occasion which Tal and Oren filed a

        6 police report alleging harassment against a woman who had

        7 described being forcibly digitally penetrated by Tal while Oren

        8 was in the room."

        9        Do you see that sentence?

       10 A.     Yes.

       11 Q.     Very serious allegation, correct?

       12 A.     Correct.

       13 Q.     And is that one of the few examples that you have of Tal

       14 Alexander, I guess, of threatening somebody?

       15 A.     Yes.

       16 Q.     And he threatened somebody by filing -- by going to the

       17 police and filing a report for harassment, correct?

       18 A.     Correct.

       19 Q.     And the other example in that paragraph is that he also

       20 threatened a victim with a defamation lawsuit if the victim did

       21 not stop telling people that he and Oren had sexually assaulted

       22 her.

       23        Do you see that?

       24 A.     Yes.

       25 Q.     That is another example of trying to intimidate a witness,




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        1 in your opinion, correct?

        2 A.     Correct.

        3               MR. WILLIAMS:    Okay.   If I may have one second, Your

        4   Honor.   I think I'm almost done.

        5               THE COURT:   You may.

        6               MR. WILLIAMS:    Your Honor, I don't have anything

        7   further, thank you very much.

        8               Thank you, Agent Atwood.

        9               THE WITNESS:    Thank you.

       10               THE COURT:   Wait.    Let me find out if there is any

       11   redirect.

       12               MS. ASTIGARRAGA:     Just briefly, Judge.

       13               THE COURT:   Okay.

       14               MS. ASTIGARRAGA:     Thank you, Your Honor.

       15                               REDIRECT EXAMINATION

       16 BY MS. ASTIGARRAGA:

       17 Q.     Agent, I want to talk to you a little bit about foreign

       18 travel.       Counsel asked you about whether or not the Defendant

       19 has traveled to Israel.

       20        Do you recall that?

       21 A.     Yes.

       22 Q.     And he indicated that the Defendant is a Jewish person.               To

       23 your knowledge, how frequently has the Defendant traveled over

       24 to Israel?

       25 A.     I don't have it with me in front of me, but he has traveled




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        1 there recently.

        2 Q.     Is it one occasion or is it multiple occasions?

        3 A.     Multiple occasions.

        4 Q.     And was that the only foreign location that the Defendant

        5 has traveled to?

        6 A.     No.

        7 Q.     Where are the other locations that the Defendant has

        8 traveled to?

        9 A.     The Bahamas.

       10 Q.     And when he has traveled to the Bahamas, how is it that the

       11 Defendant traveled there?

       12 A.     By boat.

       13 Q.     And when you say boat, what kind of boat?

       14 A.     A yacht.

       15 Q.     Can you be a little --

       16 A.     A yacht.

       17 Q.     Okay.    Thank you.

       18        And when he travels in the air, what is the common mode of

       19 transportation that the Defendant uses?

       20 A.     A jet.

       21 Q.     Is it a commercial jet or is it a private jet?

       22 A.     Private.

       23 Q.     Counsel asked you about the times that the Defendant was,

       24 quote, making plans to flee the country.

       25        Based on your knowledge of this investigation, does the




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        1 Defendant, quote, make plans in advance when he travels on

        2 every instance?

        3 A.     No.

        4 Q.     Okay.   So what is the usual course that the Defendant does

        5 when he travels?

        6 A.     Sometimes last minute.

        7 Q.     And when you say last minute, what do you mean by that?

        8 A.     The same day that they are going to travel.

        9 Q.     Okay.   So, for example, in this instance the Defendant was

       10 arrested here in Miami, right?

       11 A.     Correct.

       12 Q.     Was that the original plan to arrest him here?

       13 A.     No.

       14 Q.     And why is it that the FBI had to arrest him here in Miami,

       15 Florida?

       16 A.     Because last minute he flew to Miami.

       17 Q.     Okay.   Do private jets have the same kind of manifest that

       18 a commercial jet would otherwise be required to report?

       19 A.     No.

       20 Q.     And additionally, counsel also asked you during

       21 cross-examination about whether only two victims were, quote,

       22 identified in the eleven-year conspiracy and I want to make

       23 sure we are clear for the Court.

       24        Have only two victims been identified in this case?

       25 A.     No.




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        1 Q.     Approximately how many victims have been identified in this

        2 case?

        3 A.     Forty.

        4 Q.     Okay.    So your reference to the two victims is actually

        5 just the two substantively charged trafficking counts; is that

        6 right?

        7 A.     Correct.

        8 Q.     All right.    But, Count One, that conspiracy, that relates

        9 to 40 women?

       10 A.     Yes.

       11 Q.     Were you present for the interview of these 40 victims?

       12 A.     Not all 40, but most of them.

       13 Q.     If you had to give a percentage for the interviews that you

       14 were present for, what percentage would that be?

       15 A.     98 percent.

       16 Q.     98 percent.

       17        Of those 98 percent of the victims that you were there for

       18 those interviews, was there ever an instance where that victim

       19 appeared not to be credible?

       20 A.     No.

       21 Q.     Was there ever an instance where the stories did not seem

       22 consistent with other victims?

       23 A.     No.

       24 Q.     Does every single victim, all 40, do they know each one

       25 another?




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        1 A.     No.

        2 Q.     Do they come from different states?

        3 A.     Yes.

        4 Q.     Did they span different times?

        5 A.     Yes.

        6 Q.     Different incidents?

        7 A.     Yes.

        8 Q.     And their stories were the same?

        9 A.     Yes.

       10 Q.     What kind of unit are you a part of in the FBI?

       11 A.     Child Exploitation and Human Trafficking.

       12 Q.     In your training and experience in this particular squad,

       13 have you had an opportunity to interview other trafficking

       14 victims not included in this case?

       15 A.     Yes.

       16 Q.     Approximately how many times?

       17 A.     Over a hundred.

       18 Q.     Counsel asked you whether in this case there was any

       19 instance where a victim later had friendly contact with one of

       20 the brothers.

       21        Do you remember that?

       22 A.     Yes.

       23 Q.     Okay.   As you sit here today, are you aware of whether or

       24 not that happened?

       25 A.     No.




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        1 Q.     Okay.    But in your training and experience as an agent who

        2 investigates these kinds of trafficking, is it common for

        3 sexual assault victims to remain in contact with their abusers?

        4 A.     Yes.

        5               MR. WILLIAMS:    Objection.     But I was late.     Sorry.

        6               THE COURT:   The basis of the objection?

        7               MR. WILLIAMS:    Is she an expert witness as to rape

        8   kind of victims?

        9               THE COURT:   Okay.    I think that is a fair question.

       10               MS. ASTIGARRAGA:     She is testifying as to her training

       11   and experience, Your Honor.        He asked whether or not there was

       12   friendly contact between other victims.

       13                So I would submit that the agent can certainly testify

       14   as to her training and experience as a trafficking agent for

       15   three and-a-half years with the FBI.

       16               THE COURT:   Objection overruled to the extent that she

       17   is discussing her own training and her own experience.

       18 BY MS. ASTIGARRAGA:

       19 Q.     Counsel asked you about whether the last act in this case

       20 occurred in 2021.

       21        Do you remember that?

       22 A.     Yes.

       23 Q.     And it was approximately four years ago?

       24 A.     Yes.

       25 Q.     And to be clear, the evidence in your case, it spans that




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        1 this conduct occurred for approximately how long?

        2 A.     Twenty years.

        3 Q.     So for two decades?

        4 A.     Yes.

        5               MS. ASTIGARRAGA:     I have nothing further at this time.

        6               MR. WILLIAMS:    I have, if I may?      Two questions.

        7               THE COURT:   Okay.

        8               MR. WILLIAMS:    Actually three questions.

        9               THE COURT:   You may.

       10               MR. WILLIAMS:    I will be brief.      Thank you, Your

       11   Honor.

       12                               RECROSS EXAMINATION

       13 BY MR. WILLIAMS:

       14 Q.     Two decades, right, is what she said this alleged activity

       15 by -- alleged criminal activity -- by my client existed,

       16 correct?

       17 A.     Correct.

       18 Q.     The only time period alleged in the indictment is July 2010

       19 to July 2021 in terms of the conspiracy, correct?

       20 A.     Correct.

       21 Q.     And you have interviewed 40 victims, correct?

       22 A.     Approximately.

       23 Q.     I'm sorry.    I cut you off.

       24        You interviewed approximately 40 victims, right?

       25 A.     Correct.




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        1 Q.     And I will say alleged victims.

        2        And you, in your opinion, found them credible, correct?

        3 A.     Yes.

        4 Q.     But in a substantive indictment there are only two victims

        5 identified, correct?

        6 A.     Correct.

        7 Q.     I am talking about the substantive counts of the

        8 indictment, correct?

        9 A.     Correct.

       10 Q.     And do you have any knowledge or are you aware that Mr.

       11 Alexander, since the Wall Street Journal article came out until

       12 let's say Tuesday of this week, had only traveled between New

       13 York and Miami and had never left the country?

       14 A.     I am not aware of that, no.

       15               MR. WILLIAMS:    I have nothing further.

       16               THE COURT:   All right.     Thank you.

       17               You may step down, Agent.       Thank you.

       18               THE WITNESS:    Thank you.

       19               THE COURT:   Government, do you have any further

       20   witnesses?

       21               MS. ASTIGARRAGA:     No further witnesses, Your Honor.

       22   Just argument.

       23               THE COURT:   Okay.    And Mr. Williams, any witnesses?

       24   Any evidence to present?

       25               MR. WILLIAMS:    No, just argument.




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        1              THE COURT:    Just argument.

        2              Just argument.     Okay.    So we will let the Government

        3   proceed with her argument and then Mr. Williams, you can

        4   respond.

        5              MS. ASTIGARRAGA:     Thank you, Your Honor.

        6              Your Honor, detention is clearly appropriate and we

        7   are joining in the recommendation of Pretrial Services that the

        8   Defendant be detained pending trial.

        9              It is appropriate for generally three main reasons.

       10   Number one, the weight of the evidence and the hefty prison

       11   sentence that the Defendant likely faces, which includes a

       12   15-year minimum mandatory as it relates to any three of the

       13   counts charged in this case, are specifically enumerated

       14   factors that weigh heavily in favor of detention.

       15              Second, the egregious offense conduct and the clear

       16   danger that the Defendant poses to the community also weighs

       17   heavily in favor of detention.

       18              And finally, the fact that the Defendant is a serious

       19   flight risk when considering his international contacts, his

       20   immense resources and his ability to flee.

       21              As the Government noted previously a presumption

       22   applies in this case pursuant to 18 United States Code

       23   3142(e)(3)(d) because the offenses fall under Chapter 77,

       24   including 1591, and the max term of imprisonment related to

       25   those offenses is life.




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        1               Additionally, other subsections of the detention

        2   statute also supports that the detention is appropriate here

        3   and that includes because of the particular statutes charged,

        4   as well as the penalty that he faces.

        5               I first want to talk about the weight of the evidence

        6   in this case.     Here, detention is appropriate when considering

        7   the strength of this particular case.

        8               The Government's evidence is comprised of victim and

        9   witness statements related to approximately 40 different

       10   victims; 40 different rapes, 40 different incidents of sexual

       11   violence.

       12               The evidence includes electronic evidence that

       13   includes photos and videos.        Many that are sexually explicit.

       14   Many that depict the Alexander brothers engaging in sexual

       15   activity with the victims.

       16               It includes communications, as Your Honor heard from

       17   the proffer, between the Defendant and his brothers discussing

       18   group sex, discussing providing and piling women with drugs in

       19   order to get them to have sex with them and for arranging for

       20   their travel from other states to meet them at whatever lavish

       21   sex parties that they were trying to arrange.

       22               As it relates to the digital evidence , the Government

       23   is also in possession of iCloud evidence related to the

       24   Defendant and his brothers, their social media accounts, the

       25   dating application accounts, all of which corroborate the




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        1   victims' statements.

        2              Additionally, many of the victims' accounts strongly

        3   corroborate each other.       They account similar experiences of

        4   sexual violence at the hands of the Alexander brothers,

        5   including the Defendant, despite occurring in different

        6   settings, in different states, and at times over different

        7   decades.

        8              Your Honor, I think that this is key and why does this

        9   matter?    It matters because the fact that so many victims

       10   spanning all these different groups have similar accounts to

       11   one another.     Despite frequently having no connection supports

       12   that they are telling the truth.

       13              Because there is power in numbers.          Because where

       14   there is smoke there is fire and the Defendant's apartment or

       15   his waterfront property at this point is completely ablaze.

       16              When we turn next to the danger to the community,

       17   detention is clearly appropriate when we consider the facts and

       18   the circumstances in this particular case.           Not only against

       19   the women that the Defendant has victimized over over the past

       20   20 years, or the eleven years of this particular conspiracy,

       21   but also to the community at large.

       22              Here the indictment charges this eleven-year

       23   conspiracy, but the evidence has supported that this has been

       24   going on for two decades.        And what we know, based on this

       25   investigation, is that the Defendant has engaged in repeated




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        1   and serial conduct.

        2              So as to not mince words here, the Government submits

        3   and we have charged the Defendant that he and his brothers are

        4   serial rapists.     That is what the indictment has charged.

        5              The investigation has revealed that they have

        6   violently raped dozens of women that the Government is only

        7   currently aware of related to victims who are brave enough to

        8   have come forward to date.

        9              Given that the news has only broke of their arrest

       10   this week, there is already a new wave of potential victims who

       11   have come forward and we anticipate the number of victims to

       12   continue to grow.

       13              What this serial conduct demonstrates is that no

       14   combination of bond conditions can reasonably assure the safety

       15   of the community.

       16              What this serial conduct demonstrates is that the

       17   Defendant remains a danger.        Not only to those 40 victims that

       18   we are aware of to date, that he either raped himself or was

       19   complicit in the assault, but that he remains a danger to the

       20   women of any community that the Court were to send him back to.

       21              Now the Court obviously you should be concerned with

       22   the facts of this case related to the Defendant's flagrant

       23   disregard for consent and because clearly the Defendant is not

       24   someone who is going to follow orders.

       25              Here, several victims indicated that they were drugged




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        1   on the night of their assaults.         They reported that the drugs

        2   affected them in a way that they were physically incapacitated.

        3   That they were unable to move during these encounters.              That

        4   they were not able to consent to what happened to their bodies

        5   that night.

        6              Several victims reported that they screamed for the

        7   Defendant, or his brothers, or whoever else's turn it was to

        8   rape them that night to stop.        But that these protests that

        9   every time they told them to stop were completely ignored.

       10              And I understand that the Court can issue an order,

       11   but I would submit that there is a greater autonomy that we are

       12   talking about here.      There is a greater order and this is a

       13   woman's autonomy to her own body.

       14              And that in and of itself was rejected by this

       15   Defendant and his brothers and all the people that they

       16   conspired with to rape women over the course of eleven years.

       17              Many victims reported that the rapes were so violent

       18   that they were worried they were going to be seriously harmed

       19   or killed if they protested any further.           They were terrified

       20   then and they remain terrified now.

       21              And putting aside the obvious that this conduct was

       22   inherently dangerous that they had a flagrant disregard for

       23   their autonomy.

       24              The other fact that the Court should consider is that

       25   the Defendant and his brothers drugged these women without any




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        1   concern for how those drugs would have affected their body.

        2   Whether they would have overdosed.          Whether they would die as a

        3   result of what they ingested.        None of it was a concern.

        4              The sexual violence alleged here in this indictment

        5   and as the Court heard from the proffer, it all occurred behind

        6   closed doors; in the Defendant's apartments, in his homes, in

        7   hotel rooms and in other private settings.

        8              It all occurred to what likely would be a setting that

        9   the Court would send the Defendant back to even if the

       10   step-down least restricted bond would be considered home

       11   detention.

       12              Even if the Court considered releasing the Defendant

       13   to the comfort of his luxurious apartment in New York or his

       14   waterfront property here, nothing prevents him from committing

       15   the same kind of crimes that he has committed in these kinds of

       16   locations before.

       17              The Court would be sending him back to, in many

       18   instances, was the scene of the crime.

       19              Your Honor has heard these facts.          There are multiple

       20   victims here.     I would submit to this Court that if there is

       21   just one victim, if there was just a single count that was

       22   alleged in this indictment that said that this Defendant

       23   drugged her, that said that this Defendant then forcibly raped

       24   her, I would submit that under the detention statute, the

       25   detention would be appropriate.




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        1             THE COURT:     Let me ask a question and I am just

        2   assuming you are going to get to it.

        3              There was some testimony about threatening the

        4   witnesses.

        5             MS. ASTIGARRAGA:      Yes, Your Honor.

        6             THE COURT:     I want to get some more detail on that.

        7             MS. ASTIGARRAGA:      Absolutely, Your Honor.

        8              And so that relates and I think that is how detention

        9   might be appropriate under the obstruction section of the

       10   statute which is 3142(f)(2)(b).

       11              And here, Your Honor, it relates to the fact that

       12   there was a victim, as the Court heard from the proffer, who

       13   indicated -- who began to tell people that the Defendant had

       14   forcibly digitally penetrated her.

       15              And at the time that this happened, the Defendant and

       16   his brother then filed a police report claiming that she was

       17   harassing him.     And when she continued to tell her friends that

       18   the assault had occurred, then he told her he was going to

       19   threaten her with a defamation lawsuit.

       20              And Your Honor, I think counsel's point when they were

       21   discussing a police report and the defamation lawsuit is if

       22   this is really happening, then why are they reporting it?

       23              But, Your Honor, I would actually argue that when they

       24   are taking this kind of conduct, they are just using a weapon

       25   that is at their disposal.




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        1              Because for this Defendant what his weapon is, is his

        2   money.   He uses it to lure women in over to these luxurious

        3   apartments and he uses it just to show them just how powerful

        4   he is.

        5              And when someone has the audacity to voice what

        6   happened to them, he threatens them with a defamation lawsuit.

        7   Why?   Knowing full and well that a multimillionaire is likely

        8   going to be out-gunned to some victim who is talking about the

        9   assault that she incurred.

       10              So I would actually submit, Your Honor, the fact that

       11   he is telling her he is going to file a defamation lawsuit

       12   against her is one more example of this Defendant weaponizing

       13   his wealth.

       14              If convicted on any of the charges in this particular

       15   case, the Defendant faces a 15-year minimum mandatory, but as

       16   the Court heard, he is currently guidelined at life

       17   imprisonment.

       18              And this minimum mandatory, this hefty prison sentence

       19   is especially for someone who has never served any period of

       20   incarceration.     It certainly incentivizes flight.

       21              But surely for a person whose risk of going from the

       22   life of the rich, privileged, and famous, to one who is

       23   confined to a 70-square-foot cell block.

       24              Of course, the thought that he is going to prison for

       25   a minimum of 15 years, if convicted on any of these counts, and




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        1   possibly life, certainly he is not going to stand and face

        2   these charges.

        3              Turning next to the Defendant's significant wealth,

        4   this is a person with access to millions of dollars, private

        5   jets and yachts.

        6              You heard from the agent that when he travels it is at

        7   a moment's notice.      It is actually why he is sitting here in

        8   the Southern District of Florida today because it was not a

        9   planned trip.

       10              It is not a usual thing where he goes on to Price Line

       11   and decides where he is going to go.          He has the kind of wealth

       12   that they can just decide any given day, in a matter of hours,

       13   we are headed off to this international location.

       14              When they go to the Bahamas we are going there by a

       15   yacht.   And there is not the same kind of manifest regulation

       16   that you heard from the agent as there would be on a particular

       17   commercial flight.

       18              Additionally, Your Honor, the Defendant does have

       19   significant international ties.         The fact that his parents are

       20   Israeli, the fact that he has traveled back to Israel, the fact

       21   that we have conferred with OIA and they have indicated that if

       22   he does flee there , which has happened in the past, that they

       23   are not going to be able to extradite him back and that is not

       24   a sure thing.

       25              The fact that we are potentially not going to be able




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        1   to extradite him surely is another cause for concern and

        2   demonstrates that he is a risk of flight.

        3              And so, accordingly, Judge, in light of all the

        4   factors that the Court is required to consider, in light of the

        5   fact that there is a presumption in this case, in light of the

        6   fact that there are 40 different victims who have demonstrated

        7   to the agents and who have come forward and said I was

        8   violently raped and experienced this sexual violence, the

        9   Government believes that pretrial detention is appropriate.

       10              And the Court should follow the recommendation that

       11   has been given by Pretrial Services.

       12             THE COURT:     All right.     Thank you, Counsel.

       13              Mr. Williams.

       14             MR. WILLIAMS:      Yes, Your Honor.

       15              The indictment itself, the superseding indictment, the

       16   second opportunity is no one is challenging the severity of the

       17   allegations.     We are, however, challenging the veracity of

       18   them.

       19              And this alleged conspiracy in the allegations of the

       20   indictment and even the letter that was submitted in court, are

       21   very specious.     They are very inflammatory.

       22              And if you notice counsel's argument just now was

       23   based on continuing to repeat these serious allegations.               And

       24   they are serious, but they warrant -- there are a lot of cases

       25   that have serious allegations and it does not mean that they




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        1   are true, A.

        2              And B, the focus for bail for whether or not there

        3   should be pretrial detention is risk of flight and danger to

        4   the community.     And on those two grounds the presentation by

        5   the Government is woefully inadequate.          It does not meet it.

        6              Again, I am not minimizing or marginalizing the

        7   severity of these allegations, but I am noting that you have an

        8   eleven-year conspiracy and only two victims.            Having been a

        9   former federal prosecutor up in the Southern District,

       10   conspiracy is a wonderful tool for prosecutors.

       11              Okay.   If it was what they are saying at this

       12   particular juncture -- and I don't want to argue the merits so

       13   much, but if it was what they were saying at this particular

       14   juncture, you would have many more substantive counts and not

       15   just two victims, but that is really not the issue here.

       16              The issue is because -- and I am just pointing this

       17   out because much of her presentation was based on repeating the

       18   allegations in the indictment and the letter and not focusing

       19   on risk of flight or danger to the community.

       20              And let me just say this Your Honor -- and by the way

       21   and I will get to it, she didn't answer your question with

       22   regard to danger to the community witness tampering.              I think

       23   she mentioned the defamation.

       24              And if I am wrong the record will correct me.             She

       25   mentioned the defamation and then pivoted back to repeating the




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        1   severity of the allegations.        The question, from my viewpoint,

        2   was not answered.

        3              But going to the presumption that is here, as I

        4   understand it, the presumption with regard to sex trafficking

        5   imposes on Defendant a burden of production while burden of

        6   persuasion remains with the Government.

        7              That is United States v. Mercedes 254 F.3d 433 at 436,

        8   Second Circuit 2001:

        9              "A Defendant can satisfy this burden by presenting

       10   evidence that he does not pose a danger to the community or a

       11   risk of flight.

       12              If the Defendant presents some evidence satisfying his

       13   or her burden, the presumption favoring detention does not

       14   disappear entirely, but remains a factor to be considered."

       15              So I would submit to this Court that the presumption

       16   based on the presentation by the Government and based on the

       17   cross-examination has been vitiated.          It is a factor that you

       18   can consider.

       19              And let's go into the factors here.          Mr. Alexander

       20   found out that there was a criminal investigation as a result

       21   of a -- let me back up for a second.

       22              This case has been Mr. Alexander and his brothers have

       23   been regularists (phonetic) in every major news publication for

       24   the last, I guess, five months since early July.             Actually

       25   before that because I think it was around that time last five




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        1   months.

        2               So everyone knows about the case.         Everyone knows

        3   about the criminal investigation.         And yet, he is between when

        4   the Wall Street Journal and others and the Times and Bloomberg

        5   came out and until he was arrested, he didn't travel

        6   internationally.     He didn't go anywhere.        He went between New

        7   York and Miami. That he is all he did.

        8               And the reason why I asked those questions concerning

        9   making plans, okay, I understand he can leave quickly, but

       10   there is no evidence that he left quickly anywhere on a regular

       11   basis to different venues in the world.

       12               Okay.   Which would be an indicia that he might be

       13   making some plans to skip out.         That is not here.      New York and

       14   Miami and they have nothing to refute it.

       15               He and his family have very, very strong ties to the

       16   community.    Here in Miami and they have ties to New York.             They

       17   are well-known.     They grew up here.       He went to high school

       18   here.   He grew up here.      He is not going anywhere.

       19               And I am going to get to the potential bail package

       20   that I think might work as part of this presentation.              And you

       21   will see that the family means business in supporting their son

       22   and he means business in seeing this through and proving he is

       23   innocent.

       24               But let me say something else.        Mr. Alexander got

       25   married a year ago.      He has a two-week-old baby at home.           That




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        1   is why his wife isn't here today because the baby was sick all

        2   night.

        3              Now I am not trying to engender sympathy from Your

        4   Honor, but if he is like most guys, most men, and subscribes to

        5   the happy-wife happy-life doctrine, okay, he is not going to be

        6   traipsing around the world with a two-week-old or a couple of

        7   weeks old and his wife.

        8              His wife, in her own right, is established and

        9   successful and is not going to uproot herself.            So I will just

       10   put that fact before Your Honor.

       11              He has no Israeli passport at all.          They do not own a

       12   private jet.     I mean, lots of people have access to private

       13   jets.    Lots of people have access to -- lots of people in his

       14   family in his stratosphere, they have the opportunity to do

       15   that.    That does not mean that they are going to flee anywhere.

       16              So, you know, with regard to the risk of flight, it is

       17   nonexistent.     Where is he going?      And listen, you correctly

       18   stopped me from pursuing a line of inquiry because I guess I

       19   was getting a little argumentative.

       20              But the argument, based on a foundation that I was

       21   just trying to set through the agent is simply this.              There are

       22   enough wealthy Jewish people in the United States, in Florida,

       23   and in Miami with very strong ties to Israel who are armed

       24   supporters who go their regularly.          So that if any one of them

       25   were arrested at any time, this argument, this specious




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        1   argument would be potentially applicable.

        2              They have strong ties to Israel.          They are wealthy.

        3   It should be pretrial detention.         That is nonsense and that is

        4   what I was getting at when I was going through that

        5   questioning.

        6              Just briefly, danger to the community, okay, it is the

        7   Government's letter.      They wrote -- let me just see.          How many

        8   pages is that letter?       Let me just see.      The letter is

        9   double-spaced.     The letter to you and Judge Caproni is twelve

       10   pages.

       11              And in that twelve pages, if you review, there is not

       12   that much on witness tampering and intimidation, which we all

       13   know is what Courts most recently have focused on, let's say,

       14   in other cases in other jurisdictions.          It is nonexistent here.

       15              The last act here alleged is 2021.          That is A.     So

       16   there has been nothing going on for almost the last four years.

       17   And the examples that they cite in their letter is as follows.

       18   He threatens someone with a defamation suit if they kept saying

       19   he sexually assaulted them.        That does not sound like witness

       20   tampering.

       21              That is not my understanding of witness tampering, or

       22   intimidation, or obstruction of justice is.            And the other

       23   thing is they he did is he went to get a police report and

       24   brought it to the police attention that he was being harassed

       25   by someone who was accusing him of sexual assault.




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        1               That is, again, in my respectful opinion, an example

        2   of witness intimidation or tampering that rises to the level of

        3   anywhere needed to fulfill that prong of Your Honor's bail

        4   analysis.    And so I point out those two things.           There is just

        5   nothing there.

        6               And I will just move now to the -- and again, I will

        7   reiterate one point.      Nothing has happened for the last almost

        8   four years as far as -- I don't think they established that

        9   anything has happened since 2021.         Nothing has happened since

       10   there was a report that there was a criminal investigation.

       11               But let me move to the bail package and I will point

       12   out -- and this is not at all binding on this Court at all.

       13   But his two brothers, who obviously are charged in this

       14   indictment, appeared in front of Judge Lody Jean in state court

       15   who found the following.

       16               And I will read this into the record.          Again, it is

       17   not binding.     I just would like Your Honor to consider it.            It

       18   says:

       19               "Judge Lody Jean this morning found based upon the

       20   initial Judge's bond along with the agreed upon pretrial

       21   release conditions, I have made the finding that the conditions

       22   set forth and agreed upon by Defendant and State are reasonable

       23   to assure appearance by Defendants and are reasonable to assure

       24   no risk to the community.

       25               And the personal surety is a blood relative who stands




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        1   to lose his substantial property.         Based upon all these

        2   factors, I find that PTR, pretrial release, shall assure

        3   Defendants appearance."

        4              That is as to his brothers and I just wanted you to

        5   consider that.

        6              Now, if you want to see the bail package that was

        7   arranged, it is substantially lower than what I am going to

        8   present to you right now.        Okay.   His family, okay, and him are

        9   willing to put up a total of 115 million dollars in equity.

       10              That is their building.        That is their houses.       That

       11   is everything to ensure his appearance.           So if he goes bye-bye

       12   they lose all of that; 115 million dollars in equity and it

       13   does not stop there.

       14             THE COURT:     Okay.

       15             MR. WILLIAMS:      He could move in with his wife and

       16   child and him could move in with his parents.            Okay.    So there

       17   is no -- with his parents in their house.           Okay.    Live in their

       18   house and subject himself to home detention and GPS monitoring.

       19              So that is another condition.         And whatever else we

       20   can work out with the Court and with the Government, but that

       21   is a significant commitment because if he skips out, if he

       22   flees and violates the condition, he and his family are going

       23   to lose everything.

       24              So there is a way that there can be bail conditions

       25   that meet, as the prosecutor, the severity of the allegations




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        1   here.    Notwithstanding the mandatory life sentence.

        2   Notwithstanding any of that.        He is not -- he is still innocent

        3   until proven guilty.

        4              So there is a bail package that can satisfy this that

        5   will put everybody at risk if he goes anywhere.             Okay.   And in

        6   addition, I will just point out he has a wife with a good

        7   career and a two-week old child.         So where is he going?

        8              I will stop there, Your Honor.         Thank you very much

        9   for your time.     I have one other request that I forgot.           If

       10   whatever reports that this FBI, in addition to the 3500

       11   material, whatever report that she might have filled out we

       12   would request as well.

       13              And I will stop there.       Thank you very much, Your

       14   Honor.

       15              THE COURT:    Okay.    So let me make sure I understand

       16   the bond package that you are suggesting.           It is 115 million

       17   dollars.    Explain that.     And who are the co-signors on this

       18   bond?

       19              MR. WILLIAMS:     It would be his parents, himself.

       20              And let me just pull this up.         It involves his

       21   parents' home.     Do you want me to put the address on the

       22   record?

       23              THE COURT:    No need.

       24              MR. WILLIAMS:     His parents' home.      His office building

       25   .   His own house, which is worth about 30 million.            I think




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        1   there is a 22 million dollars of equity in it.

        2             THE COURT:     And are these items in this district?

        3             MR. WILLIAMS:      Yes, they are.

        4             THE COURT:     Okay.

        5             MR. WILLIAMS:      They are in Miami.

        6             THE COURT:     Okay.

        7             MR. WILLIAMS:      You know, surrender passport.         Home

        8   detention with GPS monitoring.

        9             THE COURT:     Is his wife going to be a co-signor as

       10   well?

       11             MR. WILLIAMS:      Yes, everyone is joining.        Everyone

       12   will be signing.

       13              Let me tell you.      I omitted one thing.       I believe

       14   there is like ten or twelve, ten plus community people in the

       15   courtroom today, or if they are not here today, they are around

       16   who are in part of the synagogue and part of the tight knit

       17   community that Tal, Mr. Alexander is a part of who will be

       18   willing, many of them will be willing to sign too.

       19              So there are a lot of people who would stand to lose a

       20   lot if he --

       21             THE COURT:     I see a lot of people standing behind you.

       22             MR. WILLIAMS:      Yes, here they are.

       23             THE COURT:     Okay.

       24             MR. WILLIAMS:      There is a lot of support for him.

       25             THE COURT:     All right.     Thank you very much.       You can




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        1   all sit.

        2              MR. WILLIAMS:     I'm sorry, Your Honor.       And he has no

        3   prior arrests.

        4              THE COURT:    I understand.

        5              MR. WILLIAMS:     Okay.   Is that fine?      Can I stop there?

        6              THE COURT:    So the co-signors would be his parents,

        7   himself, and his wife?

        8              MR. WILLIAMS:     Yes.

        9              THE COURT:    And there is going to be 115 million

       10   dollars extending to their home, their office, and his home?

       11              MR. WILLIAMS:     Yes.

       12              THE COURT:    GPS monitoring.

       13              MR. WILLIAMS:     Can you wait?     I just need to check one

       14   thing.

       15              THE COURT:    Go ahead.

       16              MS. ASTIGARRAGA:     And Your Honor, prior to the --

       17              MR. WILLIAMS:     I'm sorry.

       18              MS. ASTIGARRAGA:     -- the Court making its ruling if

       19   the Government could have an opportunity to respond.

       20              THE COURT:    Of course.

       21              MR. WILLIAMS:     And Your Honor, so it is 115 million

       22   dollars all total and it also, portions of it, involve his

       23   brothers' homes as well, too.

       24              Okay.   So they have put -- I'm sorry?          Everyone is

       25   pledging their homes for each other.          So if anyone walks out on




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        1   the other, they are going to lose everything.

        2              I'm sorry.     Do you have any other questions, Your

        3   Honor?

        4              THE COURT:    Not at this time.

        5              MR. WILLIAMS:     Thank you very much.

        6              THE COURT:    Okay.    So let me get back to the

        7   Government.

        8              So I understand that one of the concerns was safety to

        9   the community.

       10              MS. ASTIGARRAGA:      Yes, Your Honor.

       11              THE COURT:    And if I understood the response to my

       12   question, your concern was that he might threaten some of these

       13   women with lawsuits?

       14              I want to make sure I understand your concern for the

       15   community.

       16              MS. ASTIGARRAGA:      Absolutely, Your Honor.

       17              It would be the Government's position, in addition to

       18   threatening additional victims and witnesses that are already

       19   present in this case, right?        That we already have here.         The

       20   ones who have already come forward.

       21              Like he did when there was a victim who voiced what

       22   had happened to her when he threatened her with a defamation

       23   lawsuit.    It would also be the Government's position that he

       24   remains a physical danger to the women of this community.

       25              I would note, counsel made a reference that he has so




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        1   many ties here.     In fact, he went to high school here.           Well,

        2   get what, Judge?

        3               His very first victim that we are aware of came from

        4   high school.     The very first time that we know that the

        5   Defendant was engaged in gang rape was at that high school.

        6               There are victims that are here located in the

        7   Southern District of Florida that have been victimized at the

        8   hands of the Defendant and his brother.           There are victims that

        9   are located in the Southern District of New York that have been

       10   victimized at the hands of the Defendant.

       11               And these are all closed door offenses.          So what does

       12   that mean?    It means that should the Court grant him home

       13   detention, well, that is the same exact setting that these

       14   violent rapes actually occurred and we are supposed to

       15   believe --

       16             THE COURT:     So you are suggesting that there are women

       17   who would, knowing how public this is right now, still go to

       18   his home?    I am concerned.      I want to make sure I understand

       19   your argument.

       20             MS. ASTIGARRAGA:      Yes, Your Honor.

       21               To the extent that there is any kind of people who are

       22   staffed by the Defendant's home.         To the extent that there are

       23   women there.

       24               To the extent he has access to cell phones being able

       25   to lure the same kinds of victims that he did in this case




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        1   repeatedly over and over for eleven years, Your Honor.

        2              The Government would submit that he remains a danger

        3   to people because of this significant sexual violence that has

        4   occurred here.

        5              I would also like to note that as it relates to the

        6   state case, the state case against the Defendant's twin

        7   brothers cover a much smaller scope than what is covered here

        8   in this federal indictment.

        9              Additionally, this was a parallel investigation that

       10   was being done with the State Attorney's Office as well as FBI

       11   located in New York.

       12              So the fact that they agreed to a bond knowing full

       13   and well that there was a federal detainer under a presumption

       14   statute that the moment that his brothers are, quote unquote,

       15   released from state jail, they still remain in custody awaiting

       16   the same kind of hearing that is happening before Your Honor

       17   today.

       18              And the Government also intends to seek pretrial

       19   detention as it relates to them.         So I don't think that the

       20   Court should consider the fact that the state jail entered this

       21   bail package knowing full and well that this is a parallel

       22   investigation.     That the parties are working together in

       23   concert.

       24              Additionally, as it relates to a risk of flight,

       25   Judge, I understand that this is an enormous number.              I think




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        1   the fact that the Defendant usually uses his wealth to commit

        2   these crimes.

        3               And he is now using it here to say, look at this,

        4   115 million dollar bail package, let me out.            Is another

        5   example of the Defendant in terms of using his wealth something

        6   that he is a very small subset of people who has access to and

        7   he is trying to get bail at this point.

        8               But I would submit, Judge, that he is facing a life

        9   sentence.    Why is he going to stay here and face these charges

       10   regardless of the amount of money that goes out the doors for

       11   friends or family if he knows that it could potentially end

       12   with him behind bars.

       13               If we consider of other cases that are similarly

       14   situated, I would actuality point the Court to the Sean Combs

       15   case who is known as the monicker Diddy.           That case is actually

       16   very similar to the allegations that are asserted here today.

       17               And in that particular case, Mr. Combs actually went

       18   to the U.S. Attorney's Office and said let me know what is

       19   going to happen.

       20               And in that instance, pretrial detention was ordered

       21   given the span of time, the amount of sexual violence, and the

       22   amount of victims that they know there.

       23               And finally, Judge, when considering the kind of

       24   conspiracy that we have here, it is not the agent's job to

       25   decide on various charging decisions.          The fact that there are




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        1   two substantively charged counts in a conspiracy does not

        2   render the fact that there is just two victims here.

        3              As this Court is well aware when a conspiracy is

        4   charged, the Government is allowed to assert any of the

        5   incidents of violence that happened during that particular

        6   conspiracy date range.

        7              So what that means is that conspiracy period, and as

        8   the agent testified and it was covered in the Government's

        9   proffer, covers 40 different victims.          That is what the agent

       10   has suggested here today.        That is what she has testified to.

       11              And so, the Court should consider that there are 42

       12   victims that are listed in that particular indictment and that

       13   that number potentially still is growing.

       14              And so for all those reasons, Judge, we do think that

       15   detention is appropriate here.         Not only because of risk of

       16   flight.   Not just because we have confirmed with OIA that if he

       17   flees we can't get him back.        Not only because he has the

       18   access and ability to do so, but because he remains a danger to

       19   the community.

       20              And I would submit under the obstruction subsection,

       21   while it is not the crux of the Government's argument, I would

       22   submit the fact that the time that a victim came forward and

       23   said this happened to me that his reaction is I am going to

       24   file a defamation lawsuit with you, with my six lawyers that

       25   are here in the courtroom and my multimillion dollar bank




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        1   account, certainly is a way of trying to assert power and

        2   control, which is exactly what this case is about.

        3             THE COURT:     Would there be a way to bar him from

        4   filing such lawsuits at least during the pendency of the

        5   criminal case and would that be a condition that might prevent

        6   that type of witness intimidation?

        7             MS. ASTIGARRAGA:      Your Honor, perhaps the Court could

        8   impose that particular condition to the extent that the

        9   Defendant cannot use his extreme network that he has to reach

       10   out to victims.     To the extent that he cannot use his millions

       11   upon millions of dollars to otherwise intimidate them

       12   elsewhere, Judge.

       13               I don't think that it would be sufficient.           I don't

       14   think -- and we provided an example to Your Honor and that

       15   includes that.

       16               However, the danger I think here is also the sexual

       17   violence.    I do not think it is reasonable to believe that

       18   somebody who has been a serial rapist for 20 years by the

       19   Government's allegations is going to suddenly have their come

       20   to Jesus moment and just stop.

       21               And now we are just not going to do that because

       22   suddenly we are sitting here in a federal courtroom.              I don't

       23   think this kind of perpetrator, the kinds of crimes that are

       24   being alleged here that that is going to stop this kind of

       25   pervasive conduct; the kind of conduct that we have heard about




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        1   from 40 plus victims.

        2             MR. WILLIAMS:      Your Honor, may I respond?

        3             THE COURT:     Thank you, Counsel.

        4              Yes, of course.

        5             MR. WILLIAMS:      Your Honor, as I view counsel's

        6   arguments, she is bootstrapping based on the severity of the

        7   allegations, which no one is contesting.           We are contesting the

        8   veracity of them.

        9              She is bootstrapping and she keeps going back to that.

       10   Listen, I can assure you, okay, that as his counsel I am going

       11   to make -- the only thing that we are going to be focused on is

       12   this case.

       13              Again, filing defamation suits is not -- I don't view

       14   that or I submit that I don't view that as witness tampering.

       15   However, that is the last thing on anyone's mind here.

       16              Okay.   And quite frankly, to file any suits given the

       17   adverse publicity, they are going nowhere.           So that does not --

       18   only reason why that becomes significant because in the

       19   twelve-page letter they pointed to two things.

       20              We are going to sue you for defamation, which is

       21   common and it happens all the time when people accuse people of

       22   doing wrongdoing and the other person feels it is not true and

       23   filing a police report.

       24              It is significant at that point in a letter because

       25   they don't have anything else.




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        1              The other thing that --

        2              THE COURT:    So do I hear you saying that you are

        3   willing to add that as a provision that he would not be filing

        4   any police reports or lawsuits during the pendency of --

        5              MR. WILLIAMS:     Yes, he is not touching anyone.

        6              Yes, we will craft language that assures that because

        7   that is not what the focus is going to be.

        8              As she has so astutely pointed out he is facing life.

        9   He is fighting for his life.        Okay.    But notwithstanding his

       10   wealth -- and it seems like there is a presumption here.               I get

       11   especially my upbringing, which was not as affluent.              Okay.   It

       12   wasn't bad, but it wasn't like this, right?

       13              I get that some people may look at wealthy people and

       14   say, hey, they can just buy their way out of anything with four

       15   lawyers.

       16              I get that and this the way she -- the way the AUSA is

       17   portraying that, okay, it is almost like she is holding and it

       18   is prejudicing him in a bail application that deals with risk

       19   of flight and witness tampering, which they really have not

       20   been able to substantiate and those are the two factors that

       21   counts here.

       22              The Combs case and I mean that is different.            I didn't

       23   even reference the Combs case, specifically.            When I say in

       24   terms of determining pretrial detention -- I mean the

       25   allegations are similar, I understand, but in terms of, well,




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        1   that indictment is far bigger and longer if my recollection

        2   serves me well.

        3              But the point -- and she raised the Combs case, but

        4   the point of that case and the other cases is that the Court

        5   will look at things like what danger to the community, witness

        6   tampering, and the risk of flight.

        7              And here there is no evidence that they presented of

        8   danger to the community.       They keep going back to the fact of

        9   the severity of the allegations.

       10              And again, I just point out, he won't have his own

       11   home as part of the bail package he is going to move in with

       12   his parents, his wife and kid.         How embarrassing and

       13   humiliating that might be, but he is going to be there at the

       14   house.

       15              So how is he going to carry out or continue to carry

       16   out this scheme or any intimidation?          He is going to be watched

       17   very carefully.

       18              All I am saying is we are not trying the case here

       19   today.   All we are trying to do is determine whether or not

       20   there is a way to assure he does not flee the jurisdiction and

       21   is not a danger to the community , which are the two most

       22   salient factors in this analysis.

       23              And based on the record that we have so far there is a

       24   way of doing it.

       25              Thank you, Your Honor.




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        1             THE COURT:     All right.     I am going to take a few

        2   minutes recess and then I will be back.

        3              UNIDENTIFIED MALE SPEAKER:        Your Honor, may the Public

        4   Defender be excused?

        5             THE COURT:     Oh, of course, sir.       I didn't mean to make

        6   you sit there the whole time.

        7             THE COURTROOM DEPUTY:        All rise.    The court is in

        8   recess.

        9 (Recess.)

       10             THE COURT:     All right.     Please be seated.

       11              So I have reviewed the file again and the arguments of

       12   both sides.    We started with the fact that this is a

       13   presumption case where the Defendant is facing a sentence that

       14   could very well be a life sentence.          It is a very serious

       15   matter and I think all agree that the allegations are

       16   incredibly serious.

       17              The Court is required to, even though there is a

       18   presumption, still hold the Government to its burden.

       19              With respect to danger to the community, I will find

       20   that there are conditions and some combination of conditions

       21   that could alleviate the danger to the community.             So that is

       22   not my area of concern.

       23              My area of concern is risk of flight.           And I will be

       24   very frank with you, Mr. Williams.          When I weigh the concerns

       25   about risk of flight, I believe that the Government has met




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        1   their burden.

        2              While the circumstances here show that he does not

        3   have a record in the past, the weight of the evidence is quite

        4   strong as I see the affidavit from the agent and the evidence

        5   that have been presented to me.

        6              The nature and the circumstances of the offense are

        7   quite serious.     This family has, however, extensive resources

        8   that I am not, at this point, aware of exactly where the

        9   115 million dollars is substantial for them as it is for some.

       10              He clearly has the financial resources to flee if he

       11   chose to do so.     And in fact, home confinement and GPS

       12   monitoring has proven in the past to not be foolproof.              So that

       13   does not reasonably assure the Court in this case that he will

       14   appear for his hearings as required.

       15              So I am going to find that he should be detained at

       16   this point based upon risk of flight.

       17              If the Government could prepare an order on the AO

       18   form.

       19              MS. ASTIGARRAGA:     Yes, Your Honor.

       20              THE COURT:    In Word and send that to my office, I

       21   would appreciate it.

       22              Thank you very much.

       23              MR. WILLIAMS:     Thank you, Your Honor.

       24              THE COURTROOM DEPUTY:       Your Honor, do we have the

       25   removal?




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        1             THE COURT:     Removal, I wonder if you are going to

        2   waive removal or will we have a removal hearing?

        3             MR. WILLIAMS:      No, we are waiving it.

        4             THE COURT:     Okay.    Would you want to do that today?

        5             MR. WILLIAMS:      Yes, Your Honor.

        6             THE COURT:     Okay.

        7               THE COURTROOM DEPUTY:      Put his name.

        8             MR. WILLIAMS:      Put his name?     I'm sorry.

        9             THE COURTROOM DEPUTY:        Yes.

       10             MR. WILLIAMS:      Okay.   Do I need to fill out anything?

       11             THE COURTROOM DEPUTY:        Yes, the identity.

       12             THE COURT:     You can check the box on there if he is

       13   waiving removal identity hearing.         And if you want a few

       14   minutes to discuss it with him before I talk to him about, you

       15   go ahead.

       16             MR. WILLIAMS:      I'm not sure, Your Honor.        It says the

       17   identity hearing and production of the warrant.

       18             THE COURT:     I think that would be the production of

       19   the warrant from the Southern District of New York --

       20               MR. WILLIAMS:    Okay.

       21               THE COURT:    -- that you are waiving that.

       22             MR. WILLIAMS:      Okay.   Does he need to sign it?

       23             THE COURT:     Yes.    So if he understands it and wants to

       24   sign it and I will do a colloquy to make sure that he

       25   understands it as well.




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        1             THE COURTROOM DEPUTY:        Thank you.

        2             MR. WILLIAMS:      Thank you.

        3             THE COURT:     Okay.    Mr. Alexander, I do have to ask you

        4   a few questions directly to make sure that you understand the

        5   waiver that you just signed.

        6             THE DEFENDANT:      Yes, Your Honor.

        7             THE COURT:     So, first of all, you do have the right to

        8   what is called an identity or a removal hearing.

        9              The purpose of the hearing is simply to make sure that

       10   you are the same Tal Alexander that is listed or charged in the

       11   indictment out of New York.

       12              So the Government would then have to prove by a

       13   preponderance of the evidence that you are the same person who

       14   is named in the indictment.

       15              Now, you can waive that hearing and proceed to defend

       16   your case in New York.       So my first question is, do you

       17   understand the waiver that you have signed?

       18             THE DEFENDANT:      Yes, Your Honor.

       19             THE COURT:     And have you had sufficient time to

       20   discuss that waiver with Mr. Williams?

       21             THE DEFENDANT:      Yes, Your Honor.

       22             THE COURT:     Okay.    So having done so, I will find that

       23   this is a knowing and voluntary waiver of your right to the

       24   removal hearing.

       25              And I will sign the removal order and so your case




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        1   will be transferred to New York and you can go ahead and defend

        2   yourself there.     Okay.

        3             THE DEFENDANT:      Yes, Your Honor.

        4             THE COURT:     All right.     Very good.

        5              Anything else on this matter today?

        6             MR. WILLIAMS:      No, Your Honor.      Thank you, Your Honor,

        7   and happy holidays.

        8             THE COURT:     Thank you.     And you as well, sir.

        9             THE COURTROOM DEPUTY:        All rise.    Court is in recess.

       10              (Thereupon, the proceedings concluded.)

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        2

        3                                    CERTIFICATE

        4

        5               I hereby certify that the foregoing transcript is an

        6 accurate transcript of the audiotape recorded proceedings in

        7 the above-entitled matter.

        8

        9

       10

       11
            12/17/24                           Bonnie Joy Lewis,
       12                              Registered Professional Reporter
                                             CASE LAW REPORTING, INC.
       13                                   7001 Southwest 13 Street,
                                          Pembroke Pines, Florida 33023
       14                                         954-985-8875

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     ----------------------------------------X
                                             :               15-cr-706 (VSB)
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     UNITED STATES OF AMERICA,               :                      ORDER
                                             :
                    -v-                      :
                                             :
     NG LAP SENG,                            :
                          Defendant.         :
                                             :
                                             :
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    VERNON S. BRODERICK, United States District Judge:

          Before me is the Government’s appeal from the bail decision

    of Magistrate Judge Kevin Nathaniel Fox on October 16, 2015, for

    Defendant Ng Lap Seng.        I heard the appeal on October 22, 2015.

    For the reasons stated on the record on October 22, the

    Government’s appeal is DENIED.         However, during the bail hearing

    on October 22, I found that the bail conditions set during the

    October 16 bail hearing were insufficient to guarantee

    Defendant’s future appearance.         I set forth below the entirety

    of Defendant Ng’s bail conditions:

          1.    Home detention with electronic and GPS monitoring at

                240 East 47th Street, Apt. 2C and 2D, New York, New

                York (the “Residence”);

          2.    Defendant shall only be permitted to leave the

                Residence to (a) appear at the Thurgood Marshall

                United States Courthouse at 40 Centre Street, New




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                York, New York; (b) meet with his counsel, Benjamin

                Brafman at 767 Third Avenue, 26th Floor, New York, New

                York and/or Hugh Hu Mo at 225 Broadway, Suite 2702,

                New York, New York; or (c) to receive medical

                treatment, and Defendant shall provide notice and

                obtain the approval of Pretrial Services for such

                visits;

          3.    A $50 million personal recognizance bond, secured by

                $20 million in cash and the Residence, and to be co-

                signed by Di Meng, Ng Fei Lan, and Sun Yuan, who may

                reside at the Residence.

          4.    Defendant to surrender all of his travel documents to

                Pretrial Services and will make no new applications;

          5.    Di Meng, Ng Fei Lan, and Sun Yuan will surrender their

                travel documents to Pretrial Services and will make no

                new applications;

          6.    Strict Pretrial Supervision;

          7.    Guidepost Solutions LLC (“Guidepost”) will provide an

                armed security team responsible for securing

                Defendant’s presence at the Residence, ensuring his

                appearance in Court in the future, preventing his

                flight from the Southern District of New York, and

                ensuring his compliance with all other conditions of




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                release, with all services of Guidepost to be paid for

                by Defendant;

          8.    The United States Attorney’s Office shall review and

                approve the credentials of the Guidepost security team

                by 2 pm on Monday, October 26, 2015, and such approval

                shall not be unreasonably withheld;

          9.    Defendant consents to members of the Guidepost

                security detail’s use of reasonable, legal force as

                they deem appropriate to prevent Defendant from

                fleeing the Southern District of New York or otherwise

                violating the terms of release;

          10.   Guidepost will provide the United States Attorney’s

                Office with a schedule of the Guidepost’s armed

                security team on a weekly basis;

          11.   Defendant shall provide the Government with a copy of

                the videotape taken of the Residence by Guidepost;

          12.   Guidepost will provide supervisors to act as the

                liaison and main points of contact for the United

                States Attorney’s Office and Pretrial Services, and

                the supervisors shall be available/on-call at all

                times of day and night;

          13.   Defendant shall not be involved in or informed of the

                composition of the Guidepost security detail at any

                given time;


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          14.   Guidepost shall provide the necessary interpreter

                services to communicate with Ng and monitor his

                communications with other individuals during daytime

                hours, and as necessary at other hours, to ensure

                compliance with all terms of release and Ng’s safety.

          15.   Defendant, and other residents of the Residence, will

                execute a consensual Title III wiretap application for

                the single hardline in his apartment, with charges

                submitted by the service provider for the setting up

                and maintenance of the consensual hardline to be paid

                for by Defendant.       All phone calls using the hardline,

                which shall not contain call forwarding or other

                similar features, will be recorded and monitored with

                the exception of counsel calls which will be

                automatically minimized.;

          16.   Defendant shall not possess or use any cellular and/or

                satellite telephone or smartphone;

          17.   Defendant will be allowed to have a computer in the

                Residence, which will be loaded with a monitoring

                software;

          18.   Defendant’s internet activity will be limited to (a)

                use of the computer with monitoring software and (b)

                only the websites approved by Pretrial Services and

                the Government, and Defendant is not use any computer


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                or other internet-capable device that does not contain

                such software;

          19.   Defendant shall provide a list containing the

                identifying information of planes, including tail

                numbers and transponder numbers, owned by Defendant

                and/or his businesses/companies;

          20.   Defendant shall also provide a list of the names of

                the aircraft leasing companies with which he has

                contracted air transportation services, or had such

                services contracted on his behalf, within the past

                five (5) years;

          21.   Defendant, Pretrial Services, and the United States

                Attorney’s Office shall meet and confer to compile a

                list of approved visitors to the Residence and provide

                that list to Guidepost, and only approved visitors

                will be permitted entry into the Residence by

                Guidepost;

          22.   Guidepost shall create a daily visitors log and

                transmit that log on a daily basis to the United

                States Attorney’s Office and/or the Federal Bureau of

                Investigation;

          23.   All approved visitors entering the Residence will be

                searched by the Guidepost security detail and will

                surrender any cell phones, tablets, computing devices,


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                and/or travel documents to Guidepost for the duration

                of their visit to the Residence;

          24.   No approved visitors will be permitted entry to the

                Residence by Guidepost if they are carrying in excess

                of $200 or identification documents in a name other

                than their own; and

          25.   The Residence, Defendant, and Di Meng, Ng Fei Lan, and

                Sun Yuan will be subject to random unannounced

                searches conducted by Guidepost accompanied by a

                representative of Pretrial Services, and the date and

                time of such searches will be determined by Pretrial

                Services, without notice to Defendant or the other

                residents of the Residence.

          26.   Defendant shall not communicate with co-defendants,

                except in the presence of counsel.

          27.   Defendant to be released upon the execution of the

                bond described herein, including all co-signers and

                collateral; the surrender of all travel documents; the

                setting up of electronic and GPS monitoring; the

                setting up of the consensual Title III; the

                Government’s approval of the Guidepost security team,

                and the setting up of that team, provided that

                Defendant is released directly into the custody of




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                such team, with all other conditions to be met within

                24 hours of release.

    SO ORDERED.

    Dated:      New York, New York
                October 23, 2015




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-mj-04544-LMR

    UNITED STATES OF AMERICA,


    vs.


    TAL ALEXANDER,

                Defendant.
    _______________________________/

                                    NOTICE OF APPEARANCE

            The United States of America, by and through the undersigned Assistant United States

    Attorney, hereby gives notice that Assistant United States Attorney Lauren A. Astigarraga has

    been assigned as counsel in the above captioned case. All correspondence, pleadings and

    notices should be directed to the undersigned counsel.
                                                        Respectfully submitted,

                                                        MARKENZY LAPOINTE
                                                        UNITED STATES ATTORNEY


                                                By:     /s/ Lauren A. Astigarraga
                                                        LAUREN A. ASTIGARRAGA
                                                        Assistant United States Attorney
                                                        Florida Bar No. 119473
                                                        99 Northeast 4th Street, 5th Floor
                                                        Miami, Florida 33132
                                                        Telephone: (305) 961-9105
                                                        E-mail: lauren.astigarraga@usdoj.gov




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY, that on December 19, 2024, I electronically

    filed the foregoing document with the Clerk of the Court using CM/ECF.


                                              By:    /s/ Lauren A. Astigarraga
                                                     LAUREN A. ASTIGARRAGA
                                                     Assistant United States Attorney




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-mj-4544-REID


    UNITED STATES OF AMERICA

    vs.

    TAL ALEXANDER,

          Defendant,
    _________________________________

                       RESPONSE IN OPPOSITION TO MOTION TO
                   REOPEN DETENTION HEARING AND STAY REMOVAL

           The United States of America, through the undersigned Assistant United States Attorneys,

    files this Response in Opposition to the Defendant Tal Alexander’s (“Defendant”) Motion to

    Reopen the Detention Hearing and Stay Removal (“Motion”). In the Motion, the Defendant argues

    that the Magistrate Court should reconsider its Order of Detention, see ECF Nos. [17] (paperless

    order granting detention) and [24], (written order of detention), and reopen the detention hearing

    because the Defendant (1) is seeking Jencks Act materials; (2) wishes to present additional

    evidence regarding his family’s financial resources; and (3) makes additional arguments about the

    difficulty (or ease) of extraditing fugitives from Israel. The Defendant submitted a supplemental

    brief on December 19, 2024. ECF No. [28]. As set forth below, the Motion should be denied in

    its entirety. None of the reasons cited in the Motion constitute “new evidence” warranting the

    Court to reconsider or reopen the detention hearing. Moreover, for the reasons set forth below,

    the Court should not order the government to produce Jencks material in connection with the

    hearing.




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                                             BACKGROUND

    I.     Procedural History

           On December 11, 2024, a grand jury sitting in the Southern District of New York returned

    a superseding indictment, S1 24 Cr. 676 (VEC) (S.D.N.Y) (the “Indictment”), charging the

    Defendant in three counts: (1) participating in a sex trafficking conspiracy from at least 2010

    through at least 2021, in violation of 18 U.S.C. § 1594(c) (Count One); (2) sex trafficking Victim-

    1 by force, fraud, and coercion, in violation of 18 U.S.C. §§ 1591(a) and (b)(1) and 2 (Count Two);

    and (3) sex trafficking Victim-2 by force, fraud, and coercion, in violation of 18 U.S.C. §§ 1591(a)

    and (b)(1) and 2 (Count Three). After traveling from New York to Florida the night before his

    planned arrest, the Defendant was arrested on December 11, 2024, at his parents’ house in Bal

    Harbour. He made his initial appearance in this Court that same day. At his initial appearance,

    the government moved for pre-trial detention on two statutory bases: (1) that the Defendant posed

    a danger to specific people and the community because of the nature of the crimes, including that

    the Defendant is charged with violating 18 U.S.C. § 1591 (which carries a presumption of

    detention) and faces up to life imprisonment to, see 18 U.S.C. § 3142(f)(1)(A)-(B); and (2) because

    there was a serious risk that the Defendant would flee if released, see 18 U.S.C. § 3142(f)(2)(A).

   II.     The December 13, 2024 Detention Hearing

           A detention hearing was held on December 13, 2024. At the hearing, the government

    proceeded by factual proffer.1 The government’s factual proffer included an overview of the

    charges, including that for more than a decade, from at least 2010-2021, the Defendant and his

    brothers conspired together to sexually assault, traffic, and forcibly and violently rape dozens of

    women. (Tr. 6). This conduct included both pre-planned trips and events for which the Defendants



    1 The complete factual proffer is at pages 6 to 16 of the transcript of the detention hearing.


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    recruited women to attend and then raped and sexually assaulted them, as well as the opportunistic

    rapes and sexual assaults of numerous victims who they encountered by chance. (Tr. 8-9). For

    the planned encounters, the Defendant and his brothers lured women to various locations with the

    promise of material benefits, such as travel, luxury accommodations, and events or parties in

    various locations, including the Hamptons, Tulum, and Miami. During these trips and events, the

    Alexander Brothers, alone, together, and with others, drugged and forcibly raped or sexually

    assaulted their victims. (Tr. 9). The Defendant and his brothers used a similar playbook to commit

    rapes and sexual assaults after chance encounters with women. (Tr. 8).

           As relevant to the Motion, the government proffered the following specific facts about the

    Defendant’s wealth and foreign connections relevant to his risk of flight:

                   The Defendant is a multimillionaire who has the resources to flee
                   and live comfortably in hiding. The Defendant and his family have
                   access to significant wealth.

                   He and one of his brothers owns a luxury real estate brokerage with
                   a real estate portfolio valued at hundreds of millions of dollars.

                   They are known in the real estate world for selling high-end luxury
                   homes to celebrities and the ultra rich. The Defendant has properties
                   here in Miami as well as over in New York.

                   The Defendant and his family also have significant foreign ties.
                   Particularly to Israel and to Brazil. T heir parent[s] are from Israel
                   and the Alexander brothers frequently travel to Israel to visit family,
                   conduct business, and for vacation.

                   They also travel frequently outside the United States to other
                   locations often booking flights at the last minute and traveling by
                   their private jet or on a yacht.

                   We have confirmed with OIA, who indicated that despite an
                   extradition treaty, we cannot ensure the Defendant’s extradition
                   back to the U.S. should he flee out to Israel.

    (Tr. 16-17).




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           At the hearing, in accordance with the practice in the Southern District of Florida, which

    as explained below, varies substantially from that of the district where charges were filed, the

    government made FBI Special Agent Justine Atwood available as a witness for cross-examination.

    The defense engaged in a lengthy cross examination of Agent Atwood on numerous topics,

    including: the charging instruments returned by the grand jury, (Tr. 19); the length and scope of

    the investigation, (Tr. 20); a method of travel used by one of the victims described in the

    indictment, (Tr. 20); the number of women interviewed and length of the charged conspiracy, (Tr.

    21-22); 2 that at least one victim may have had “friendly contact” with the Defendant or his brothers

    after the victim was raped, (Tr. 22-24); the investigative steps taken to obtain electronic

    communications between the Defendants and the victims, (Tr. 25); that there are only two

    substantive counts charged in the indictment, (Tr. 25); media reports from around July 2024

    regarding the existence of the criminal investigation, (Tr. 26-27); the Defendant’s lack of erratic

    or international travel after the media reports about the criminal investigation, (Tr. 27-28); the

    circumstances of the Defendant’s arrest, (Tr. 29); the fact that the Defendant and his brothers do

    not own a plane, (Tr. 29); the Defendant’s ties to Israel, (Tr. 30); and the Defendant’s prior filing

    of a harassment complaint or threatening a defamation lawsuit in response to allegations that he or

    one of his brothers had committed a sexual assault, (Tr. 34-35).




    2 During cross examination, Agent Atwood was asked, “how many women have you interviewed?”

    She responded, “approximately 40.” (Tr. 22). On redirect examination, Agent Atwood was asked
    whether the conspiracy “relates to the 40 women,” to which she responded “yes,” and whether she
    had been at “the interview[s] of these 40 victims,” to which she responded, “most of them.” (Tr.
    38) At the time of the detention hearing, the FBI had identified approximately 52 victims of the
    scheme and interviewed approximately 41 witnesses, including approximately 30 who reported
    being raped or sexually assaulted by the Defendant or his brothers. Since that date, the FBI has
    interviewed approximately 12 more victims and has received dozens of additional tips about rape
    and sexual abuse committed by the defendants.
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            During re-cross examination, defense counsel reemphasized that only two victims were

    identified in the Indictment despite the numerous victims interviewed and that the Defendant had

    not fled the country following public reporting of the investigation. (Tr. 41-42).

            During argument, defense counsel minimized the government’s presentation, noting the

    following: the Indictment charged “an eleven-year conspiracy and only two victims,” (Tr. 53); the

    Defendant stayed in the United States after a July 2024 news report that stated the FBI was

    investigating the Defendant and his brothers , (Tr. 54-55); the Defendant’s strong ties to the Miami

    community, (Tr. 55); the Defendant’s wife and infant child, and his wife’s ties to the community

    (Tr. 56, 60); the Defendant’s lack of an Israeli passport, (Tr. 56); the Defendant’s lack of a privately

    owned jet, (Tr. 56); the lack of evidence of witness tampering and the lawful explanations for a

    defamation lawsuit, (Tr. 57-58, 69); the fact that the last alleged conspiratorial act was in 2021,

    (Tr. 58); the size and scope of a proposed bail package, including $115 million in property,

    numerous co-signers, and home detention (Tr. 59-63, 71).

            After a lengthy hearing, the Court ultimately concluded that no combinations of conditions

    could reasonably assure the appearance of the Defendant for court and ordered pre-trial detention.

    (See Tr. 72-73). The Defendant also signed a written waiver of an identity and removal hearing.

    (Tr. 75). As the Court advised the Defendant that he was giving up his right to an identity hearing

    and would have to defend the case in New York, the Court announced that it would sign the

    removal order to transfer the case to New York.             (Tr. 75-76).     The Defendant verbally

    acknowledged his understanding that the case would be transferred. (Tr. 76).

            On December 17, 2024, the Court issued a written order of detention. ECF no. [24] (the

    “Order”). In the Order the Court found

                    [T]he government has met its burden to demonstrate that
                    ALEXANDER is a serious flight risk and that the defense has failed


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                   to rebut the presumption on that ground. In finding pre-trial
                   detention is appropriate in this case, the Court is considering the
                   strong weight of the evidence; the significant sentence the
                   Defendant faces; and the nature and circumstances of the offense;
                   and the personal characteristics of the Defendant.

    (Order at 3). Among other considerations, the Court noted the anticipated evidence included, in

    addition to victim and witness testimony, “electronic evidence, physical evidence, and

    documentary evidence, among other things.” (Id.). The Court further noted the Defendant’s

    international contacts and travel, and access to private jets or yachts and travel arrangements that

    are “frequently done at a moment’s notice and not scheduled in advance,” and that his proposed

    living situation “would give him direct ocean access and the means to quickly flee.” (Id.). The

    Court also found that with “the potential penalties here, both incarceration and reputational harm,

    the Defendant has every incentive to flee to avoid prosecution and a public trial.” (Id.) Ultimately,

    the Court concluded, “the Court finds that the government has proven by a preponderance of

    evidence that no condition or combination of conditions of release will reasonably assure the

    Defendant’s appearance at trial and orders that he be detained.” (Id. at 4).

           On December 16, 2024, the Defendant filed the Motion to reopen the detention hearing

    and stay his removal to New York. The government submits this memorandum in opposition to

    that motion.

                                              ARGUMENT

    I.   The Court Should Deny the Request for Jencks Material as a Fishing Expedition

           A.      Additional Background

           At the beginning of the detention hearing, the defense asked the Court for Jencks materials

    following Agent Atwood’s testimony. (Tr. 5). The Assistant United States Attorney representing

    the government for the purpose of the out-of-district detention hearing noted that the request had

    been made only just before the hearing, but the AUSA believed the prosecution team in New York

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    would be able to provide the materials at some point after the hearing. 3 The hearing proceeded,

    and the Court told the defense that if it identified “something in there that you believe that it should

    have been considered, you have the opportunity to appeal my decision . . . [a]nd bring that to the

    District Court’s attention.” (Tr. 6). The Court later said, before cross examination began, that if

    a review of the materials later gave new information that “has a material bearing on the hearing,”

    the Defendant could “file a motion to re-open the hearing stating what that evidence is and if it is

    material.” (Tr. 16-17).

            In response, defense counsel, told the Court that, “I am back from New York and practice

    a lot in the Southern and Eastern Districts up there. And normally we will get in many cases 3500

    material beforehand or at least at the end of the direct examination of this case proffer.” (Tr. 17).

    As set forth below, this representation was inaccurate. Later in the hearing, at the conclusion of

    his argument, defense counsel expanded his request, saying,

                    Thank you very much for your time. I have one other request that I
                    forgot. If whatever reports that this FBI, in addition to the 3500
                    material, whatever report that she might have filled out we would
                    request as well.
    (Tr. 60).

            B.      The Defendant’s Request for Jencks Materials Does Not Provide a Basis to
                    Reopen the Hearing and Should be Denied

            The Defendant moves to reopen bail, in part, based on unspecified Jencks material. This

    fishing expedition should be denied and rejected as a basis to reopen the hearing. As an initial

    matter, defense counsel misrepresented to the Court that the normal practice in the Southern

    District of New York (“SDNY”) is to provide Jencks materials during detention proceedings: that

    is incorrect. In SDNY detention hearings, courts permit both the government and Defendants to




    3 The undersigned prosecutors, the team assigned to the case, were not present during the hearing.


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    proceed by proffer alone and do not require the government to produce a live witness, either for

    direct testimony or cross examination. Accordingly, in the normal course, there is no Jencks

    production. See United States v. Rivera-Banchs, No. 20-2873, 2021 WL 4484908, at *2 (2d Cir.

    Oct. 1, 2021), as amended (Oct. 4, 2021) (“The rules of evidence do not apply in a detention

    hearing and the government may proceed by proffer alone.”); United States v. Petrov, 604 F. App'x

    66, 67 (2d Cir. 2015); United States v. Horton, No. S1 16-CR-0212 (LAK), 2016 WL 6126669, at

    *7 (S.D.N.Y. Oct. 20, 2016) (“[a] detention hearing need not be an evidentiary hearing. . . . either

    party may proceed by proffer and the rules of evidence do not apply. This flows from the fact that

    the thrust of the Bail Reform Act is to encourage informal methods of proof. Congress did not

    want detention hearings to resemble mini-trials. Nor is a detention hearing to be used as a

    discovery tool for the defendant.”).

           In SDNY, the normal practice regarding production of Jencks is to require it only to be

    produced near the time of trial, in accordance with the Second Circuit’s holding that the “Jencks

    Act prohibits a District Court from ordering the pretrial disclosure of witness statements.” United

    States v. Coppa, 267 F.3d 132, 145 (2d Cir. 2001); see, e.g., United States v. Gillier, No. 11 Cr.

    409 (PAE), 2022 WL 179204, at *3 (S.D.N.Y. Jan. 19, 2022) (“The Government’s timetable for

    producing [Jencks] material [two weeks before trial] is common in this District.”); United States

    v. Rivera, No. 16 Cr. 175 (LGS), 2017 WL 1843302, at *2 (S.D.N.Y. May 8, 2017) (“The practice

    in this District is to provide both Giglio and Jencks Act material at the same time, which should

    be at least one day prior to the testimony of the witness.”); United States v. Wey, No. 15 Cr. 611

    (AJN), 2017 WL 237651, at *23 (S.D.N.Y. Jan. 18, 2017) (Jencks Act materials are “typically

    produced a week or two before the start of trial, depending on the complexity of the case”); Nigro

    v. United States, No. 09 Cr. 1239 (PKC), 2016 WL 3211968, at *2 (S.D.N.Y. June 9, 2016) (“As



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    is customary in this district, the government agreed to an earlier voluntary production [of Jencks

    materials] and, in this case, that production was much earlier than usual the Thursday before the

    start of a Monday trial.”).

           The government recognizes that although the case is charged in New York, the Defendant

    was arrested and presented in the Southern District of Florida. But even in this District, there is

    no mandate that courts require the production of Jencks materials in connection with detention

    hearings. See, e.g., Fed. R. Crim. P. 46(j) (noting that Rule 26.2 applies in a detention hearing

    unless the court “for good cause rules otherwise”). Such “good cause” is certainly present here

    where the Defendant would not be entitled to Jencks material had he been arrested in the district

    where the charges lie. Instead, because he happened to travel out of district the night before his

    arrest, the Defendant seeks what amounts to a windfall of early Jencks production that he would

    not be entitled to in SDNY—including FBI investigative reports detailing the allegations of

    numerous adult and minor victims not identified in the Indictment. 4 These reports, even in

    redacted form, contain information sufficient to identify the victims. In these circumstances, the

    government respectfully submits that the Court has good cause to reconsider the Defendant’s

    request for Jencks material.

           In a case where the Defendants have threatened victims for coming forward, the potential

    danger of such premature disclosures cannot be ignored and certainly outweighs the Defendant’s

    interest in obtaining the material for purposes of an out-of-district detention hearing which will

    likely be appealed to the District Court in a district with vastly different procedures. The authority

    the Defendant cites does not persuade otherwise.




    4 Defense counsel expressly requested these other reports during the hearing.        (Tr. 60).
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           In United States v. Comas, a case the Defendant relies on heavily, Judge Goodman of this

    District required the government to produce Jencks materials in connection with a detention

    hearing but was clear that the requirement is not absolute and should be evaluated “on a case-by-

    case basis.” United States v. Comas, No. 13 Cr. 20850, 2014 WL 129296, at *3 (S.D.F.L. Jan. 14,

    2014). Comas is also clear that the fact that a detention hearing is held does not by itself entitle a

    defendant to a broad production. Indeed, any production of Jencks materials should be limited, as

    the only valid reason for the production of the materials is to permit impeachment by prior

    inconsistent statement, not to turn a detention hearing into a discovery vehicle. Id.; see United

    States v. Gaviria, 828 F.2d 667, 669 (11th Cir. 1987); see also United States v. Williams, 259 F.

    App'x 281, 287 (11th Cir. 2007); United States v. Delgado, 56 F.3d 1357, 1364 (11th Cir. 1995)

    (“Jencks does not authorize fishing expeditions.”).

           Although the Defendant uses his request for Jencks as a pretext for reopening bail, it is

    clear from the record is that the Defendant does not expect to find a prior inconsistent statement

    of Agent Atwood’s justifying a new hearing, but rather seeks to use the proceeding to receive early

    production of materials which he, in the normal course, would not be entitled. See Rule 10(c) of

    the Individual Practices in Criminal Cases for U.S.D.J. Valerie E. Caproni (S.D.N.Y.),

    https://nysd.uscourts.gov/hon-valerie-e-caproni (encouraging but not requiring production of

    Jencks materials prior to trial). Defense counsel made this point explicitly, when trying to throw

    in as an aside a request not only for Agent Atwood’s direct prior statements in this case, but also

    any FBI reports, which counsel knows are reports of victims’ statements.

           These reports are surely not needed to ensure an opportunity to effectively cross-examine

    Agent Atwood. During the hearing, defense counsel cross examined Agent Atwood at length

    about a number of topics. With respect to the Defendant’s risk of flight, the only issue relevant to



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    the current motion, the Defendant vigorously cross-examined Agent Atwood on a number of

    topics, including the strength of the case given the limited number of statutory victims, that the

    Defendant had not engaged in any unusual travel after the investigation was reported publicly, that

    Agent Atwood could not cite any evidence that the Defendant was making plans to leave the

    country, and that the Defendant’s ties to Israel are not particularly rare.

           The scope and reasoning of the Court’s ruling also make clear that the reports of victims’

    statements, and any potential cross examination of Agent Atwood about them, are not germane to

    any motion to reconsider the Court’s detention decision. The basis for the Court’s detention

    finding was limited to the risk of flight presented by the Defendant. The only potential connection

    between that finding and the defendant’s requests for Jencks is, arguably strength of the evidence.

    See 18 U.S.C. § 3142(g)(2). Here, the Court’s order noted that the strength of the evidence came

    from the “electronic evidence, physical evidence, and documentary evidence, among other things,”

    that corroborated and supplemented anticipated trial testimony. 5 But the bulk of the Court’s

    reasoning related to the Defendant’s foreign contacts, foreign travel, ability to engage in no-notice

    travel, financial resources, and the statutory charges and penalties—all factors having little-to-

    nothing to do with Agent Atwood’s testimony at all, and certainly nothing to do with the records

    he’s asking for now.

           It is but chance, and a last-minute private flight to Miami, that resulted in the Defendant’s

    arrest in Florida, rather than New York. The Defendant has understandably sought to turn this into

    a windfall that would grant him early access to the reports he needs to identify witnesses against

    him—information that in the Southern District of New York he likely would not get until shortly



    5 With respect to that anticipated trial testimony, defense counsel cross-examined the case agent

    about the approximate number of women interviewed and details about the statutory victims’
    accounts. (Tr. 22 and 25).
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    before trial. The Court should not grant his request. As the Court told defense counsel during the

    hearing, any basis to reopen the hearing must have a material bearing on the issues presented.

    Because of the Court’s narrow ruling and the reasons given for that ruling, early access to victim

    statements is irrelevant to his motion. The Court should deny this application. 6

   II.     The Defendant’s Motion to Reopen the Hearing Fails

           A.      Legal Standard

           The law provides two distinct methods to revisit detention. The first is an appeal of a

    detention order to the district court. United States v. King, 849 F.2d 485, 490 (11th Cir. 1988)

    (“Pursuant to 18 U.S.C. § 3145, following a magistrate’s order that a detainee be held without

    bond pending trial, the detainee may move the district court to revoke or amend the magistrate's

    pretrial Detention Order.”). 7 The second is a request to reopen a detention hearing, which requires

    that “the Court find[] that ‘information exists that was not known to the movant at the time of the

    hearing and that has a material bearing’ on the issue of detention.” United States v. Gallo, No. 12-

    20630-CR, 2014 WL 1230717, at *3 (S.D. Fla. Mar. 25, 2014) (quoting 18 U.S.C. § 3142(f)(2)).

           “Courts have interpreted that [reopening] provision strictly, holding that reopening is

    unwarranted if the newly offered evidence was available at the time of the hearing.” United States

    v. Pon, No. 3:14-CR-75-J-39PDB, 2014 WL 3340584, at *3 (M.D. Fla. May 29, 2014) (citing



    6 If the Court does direct the government to produce Jencks material, any production should be

    limited to the proper purpose of allowing the Defendant to impeach the government’s witness. See
    United States v. Williams, 259 F. App'x 281, 287 (11th Cir. 2007) (“The purpose of the Jencks Act
    disclosure requirements is to enable the defense to impeach a government witness during cross
    examination.”). Therefore, any production should be limited to the issues relevant to cross
    examination, produced for a limited period of time, and subject to a protective order to protect the
    identification of victims and witnesses and prevent public dissemination of the materials.
    7 Pursuant to 18 U.S.C. § 3145(b), if a Defendant is ordered detained “by a magistrate judge, or by

    a person other than a judge of a court having original jurisdiction over the offense”, the Defendant
    may file a motion to amend or revoke the order with the judge having original jurisdiction over
    the offense. Here, any such appeal should be filed in SDNY.
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    United States v. Dillon, 938 F.2d 1412, 1415 (1st Cir. 1991) and United States v. Hare, 873 F.2d

    796, 799 (5th Cir.1989)). As the court explained in Pon:

                     As written, the reopening provision is, in effect, a codification of a
                     court’s inherent reconsideration authority tempered by the
                     understanding that, to promote finality, preserve judicial resources,
                     and discourage piecemeal presentations, a court should not
                     reconsider a decision based on information that could have been
                     presented the first time around. See Lederman v. United States, 539
                     F. Supp. 2d 1, 2 (D.D.C.2008) (“Due to considerations of finality,
                     predictability and preserving judicial resources, . . . a court should
                     be [loath] to revisit its own prior decision in the absence of
                     extraordinary circumstances such as where the initial decision was
                     clearly erroneous and would work a manifest injustice.”); cf. Mays
                     v. USPS, 122 F.3d 43, 46 (11th Cir. 1997) (holding, in Fed. R. Civ.
                     P. 59(e) context, that “where a party attempts to introduce
                     previously unsubmitted evidence on a motion to reconsider, the
                     court should not grant the motion absent some showing that the
                     evidence was not available during the pendency of the motion”).
                     Under the provision, reopening is unwarranted if the newly offered
                     evidence was available at the time of the hearing. See United States
                     v. Dillon, 938 F.2d 1412, 1415 (1st Cir. 1991); United States v.
                     Hare, 873 F.2d 796, 799 (5th Cir. 1989). And even then, reopening
                     is discretionary. United States v. Watson, 475 F. App’x 598, 599–
                     600 (6th Cir. 2012).

    Pon, 2014 WL 3340584 at *9.

              As argued below, the Court should deny the Motion because the Defendant has failed to

    meet his burden to show that “new evidence” exists warranting the relief sought. Section 3142(f)

    states:

                     The hearing may be reopened, before or after a determination by the
                     judicial officer, at any time before trial if the judicial officer finds
                     that information exists that was not known to the movant at the time
                     of the hearing and that has a material bearing on the issue whether
                     there are conditions of release that will reasonably assure the
                     appearance of such person as required and the safety of any other
                     person and the community.

    18 U.S.C. § 3142(f). On a motion to reconsider or reopen a detention hearing, the “[d]efendant is

    required to establish that (1) information exists that was not known to defendant at the time of the


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    initial detention hearing; and (2) that such information has a material bearing on the issue of

    whether there are conditions of release that will reasonably assure the appearance of such person

    as required and the safety of any other person and the community. United States v. Diaz Guillen,

    No. 18-CR-80160, 2022 WL 4119741, at *3 (S.D. Fla. Sept. 9, 2022) (Middlebrooks, J.) (denying

    a motion to reconsider or reopen detention hearing) (citing United States v. Haynes, No. 19-cr-

    80045, 2019 WL 5538300, at *1 (S.D. Fla. Oct. 28, 2019); United States v. Ramos, No. 14-80052-

    CR, 2014 WL 1515264, at *2 (S.D. Fla. Apr. 7, 2014).

           Courts in other districts and circuits have interpreted Section 3142(f)’s “not known to the

    movant at the time of the hearing” “language to mean not just actual knowledge, but also

    constructive knowledge, i.e., knowledge that one using reasonable care or diligence should have,

    and therefore that is attributed by law to a given person.” United States v. Chappell, No. 3:17-CR-

    361-B (2), 2017 WL 11517833, at *4 (N.D. Tex. Oct. 10, 2017). “Thus, a litigant cannot invoke

    3142(f) to reopen and offer statements about his character from relatives and friends; he is charged

    with constructively knowing of those statements. A defendant cannot forego an opportunity to

    confront a witness and elicit favorable testimony, and then later claim the testimony he or she

    failed to elicit would constitute new information.” United States v. Spring, No. CRIM.A. 14-

    10303, 2014 WL 6609156, at *2 (D. Mass. Nov. 20, 2014) (citations omitted).

           B.      Argument

           As discussed below, none of the arguments raised by the Defendant support reopening the

    detention hearing. Moreover, given that reopening the hearing is at the discretion of the Court,

    and that the defendant is entitled to have another hearing before the District Court in the Southern

    District of New York, the Court should decline to use its discretion in these unique circumstances.




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                   1.      The Requested Jencks Material Does Not Provide a Basis to Reopen
                           the Hearing

           As discussed above, the Defendant would not be entitled to the Jencks material he seeks in

    New York, and his request for that material should be denied. In any event, as he cannot point to

    any such specific material that would constitute new information justifying reopening the hearing,

    his application on this score should be denied as speculative and not ripe. See 18 U.S.C.

    § 3142(f)(2). First, for the reasons discussed supra, the Jencks material the Defendant seeks—

    including detailed FBI investigative reports of victims’ statements—does not materially relate to

    the factors on which the Court relied in finding that the Defendant posed a flight risk. On that

    basis, the motion must be denied. Second, any application to reopen bail premised on Jencks

    material could not be made until and if the Defendant identified specific information included in

    such material that he would have sought to cross-examine the witness about. Therefore, even to

    the extent that the Court orders the government to produce Jencks material, it should deny without

    prejudice the Defendant’s instant motion to reopen as not ripe. 8

                   2.      The Defendant Had Ample Opportunity To Address Concerns About
                           His Family’s Wealth

           The Defendant also requests that the Court reopen the hearing so that he might present

    additional witnesses or evidence regarding his “family’s full financial picture” and to “allay any

    concerns of the Court … regarding risk of flight.” (Dkt. 22 at 5). This is not a proper basis to

    reopen the detention hearing because, as the Defendant must concede, his family’s financial



    8 In a letter filed on December 19, 2024, the Defendant asks the Court to schedule the reopened

    hearing on Friday, December 20, 2024. (Dtk. 27 at 1). This request presumes that the Defendant’s
    motion will be granted, despite the fact that the government had not yet responded to the motion
    and the Court had not yet had an opportunity to rule. Such a request is simply premature. Even if
    the Court were to order the hearing reopened, the Defendant’s proposed schedule does not allow
    sufficient time for the Court to rule, for the Defendant’s presence to be arranged, and to allow the
    government time to respond to the particular issues and scope of the ruling.
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    situation was known to the Defendant at the time of the hearing. The Defendant could have cross

    examined Agent Atwood or offered evidence of his family’s resources at the hearing, but he chose

    not to do so. Defense counsel did argue to the Court that the Defendant’s pretrial release would

    be backed by his family’s substantial financial resources, including by representing to the Court

    that his family “offered a $115 million bond,” (Id. at 5) secured by the family’s property, including

    the Defendant’s home, his parents’ home, his brothers’ homes, and his office building. (Tr. 60-

    63). If the Defendant wanted to provide additional evidence of his family’s financial situation, he

    should have done so at the initial detention hearing. Pon, 2014 WL 3340584, at *3 (“a court should

    not reconsider a decision based on information that could have been presented the first time

    around.”).

           Perhaps in recognizing this fatal flaw, the Defendant argues that he “did not have a

    meaningful opportunity to respond to the Court’s statement in its detention ruling which

    recognized that, despite the proposed bond, “this family has, however, extensive resources” and

    noted that, while it is unclear at this stage how significant $115 million is for the Defendant’s

    family, “he clearly has the financial resources to flee if he chose to do so.” (Tr. 73.) The

    Defendant’s assertion still “misses the mark.” United States v. Brown, 21 Cr. 348 (SPF), 2022

    WL 309430 at *3 (M.D. Fla. Feb. 2, 2022) (denying a motion to reopen based on statements made

    in detention ruling). In United States v. Brown, a court in the Middle District of Florida was

    confronted with a nearly identical issue and determined that the time at which the defendant knew

    of the facts he wished to present is what mattered, not whether the defendant was aware of the

    Court’s interpretation of the evidence presented at the hearing. Id. There, a magistrate judge

    detained a defendant, in part, because of evidence related to a sign posted on the defendant’s door

    that the judge interpreted as being a sign of danger. Id. at 2. In his motion, the defendant asserted



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    that “the Court's interpretation [of the sign] was not known until the hearing was being conducted,

    and [the defendant’s] friends and colleagues did not receive[ ] a copy of [the sign], along with the

    Court’s stated interpretation of [the sign], until after the hearing.” Id. at *3. From this, the

    defendant asked to reopen the hearing “to call . . . witnesses to explain to the Court how they

    interpret [the sign] in light of their knowledge of [the defendant] and how the Court misinterpreted

    the language of [the sign].” Id. at *2. The Court flatly rejected this argument and ruled that

    because the defendant knew he had made the sign and knew that the government intended to offer

    it as evidence, he should have either called these friends or sought a continuance to arrange for

    their testimony. Id. at *2-3.

           The Defendant’s argument here fails for precisely the same reason. As the Court in Brown

    stated, “[w]hile [the defendant] may regret the decision to not call his friends to testify at that

    hearing, it does not mean the evidence was ‘not known’ to him.” Id. at *3. The Defendant certainly

    knew that his, and his family’s resources, would be relevant to a determination of whether he was

    a flight risk. Indeed, he put his family’s financial resources at issue by offering to use their

    resources to support his bail package. The Defendant had the opportunity to provide this

    information to the court at the time of the detention hearing—he asked for a three-day adjournment

    to prepare for it—and chose not to do so. Accordingly, he has failed to meet the statutory

    requirement for reopening his detention hearing under 18 U.S.C. § 3142(f) as it relates to his

    family’s financial picture.

           In his supplemental submission, the defendant now proposes additional conditions,

    including a bond cosigned by the Defendant’s parents “in any amount secured by the entirety of

    their assets” and to “retain a private security service . . . to provide a full timed armed security

    detail at the location of Mr. Alexander’s home detention.” (Dkt. 28 at 2). As discussed above,



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    proposing a new bail condition that the Defendant could have proposed at the time of the initial

    hearing is not an appropriate basis for reopening a hearing. Pon, 2014 WL 3340584, at *3 (“a

    court should not reconsider a decision based on information that could have been presented the

    first time around.”). As with the information regarding his family’s assets, the Defendant could

    have made this proposal at the initial hearing but he chose not to do so. See Brown 2022 WL

    309430 at *3. If the Defendant wishes to propose an augmented bail package, he should appeal to

    the District Court and the parties can address that issue before Judge Caproni. Moreover, had the

    Defendant proposed this condition at the initial hearing, and were he to do so on appeal, the

    government would nonetheless oppose bail on these conditions. The Second Circuit, where the

    Defendant’s case will be tried, generally disfavors granting bail to wealthy defendants where bail

    would not be granted to an indigent defendant. United States v. Boustani, 932 F.3d 79, 82 (2d Cir.

    2019) (“[T]he Bail Reform Act does not permit a two-tiered bail system in which defendants of

    lesser means are detained pending trial while wealthy defendants are released to self-funded

    private jails.”); see also United States v. Banki, 369 F. App’x 152, 153-54 (2d Cir. 2010) (this

    Court is “troubled” by the possibility of “allow[ing] wealthy defendants to buy their way out by

    constructing a private jail.”) (citation omitted). At any rate, the defendant’s private jail proposal

    “at best elaborately replicate[s] a detention facility without the confidence of security such a

    facility instills.” United States v. Orena, 986 F.2d 628, 632 (2d Cir. 1993) (citation omitted).

    Simply put, the Defendant should not be able to evade detention here because of his family’s

    assets.

                     3.     Clarifying The Record On Extradition Does Not Provide A Basis To
                            Reopen

              The Defendant’s request to reopen the Hearing to rebut the government’s representation

    on extradition from Israel similarly fails. As a threshold matter, the government’s factual proffer


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    accurately stated that “We have conferred with [DOJ’s Office of International Affairs], who

    indicated that despite an extradition treaty, we cannot ensure the Defendant’s extradition back to

    the US should he flee out to Israel.” 9 (Tr. 16). The government also addressed this point in its

    detention letter provided to the Court prior to the Hearing, stating that while the U.S. extradition

    treaty with Israel does provide for extradition of Israeli nationals, 10 “extradition from Israel is

    frequently a multi-year, drawn out process, at the end of which extradition to the United States is

    not guaranteed.” (Ltr. at 11). Consequently, the Defendant was well aware that this issue would

    be addressed at the Hearing and could have provided additional information on the extradition

    treaty to the Court at the Hearing. See Pon, 2014 WL 3340584, at *3.

           Further, the Defendant has not shown that this particular issue is in fact material to the

    question of detention. Indeed, the Defendant cannot show that this is a material issue—the Court

    did not reference the issue of extradition in either its oral or its written detention order. (See Tr.

    72-73; Dkt. 24); United States v. Gallo, No. 12-20630-CR, 2014 WL 1230717, at *4 (S.D. Fla.

    Mar. 25, 2014) (finding that “the information presented in the motion would not have a material

    bearing on, or change, the Court's conclusion that the Defendant should be held in pretrial

    detention.”).




    9 In his Supplemental Submission, the Defendant makes much of the government’s arguments on

    this point. (See Dkt. 28 at 1-2). The Defendant’s characterization takes the government’s
    statements out of context. During the argument the government stated that should the Defendant
    flee to Israel “they are not going to be able to extradite him back and that is not a sure thing. The
    fact that we are potentially not going to be able to extradite him surely is another cause for concern
    and demonstrates that he is a risk for flight.” (Tr. 51-52 (emphasis added).) This statement reflects
    that the Defendant’s extradition is not guaranteed should he flee to Israel.
    10 Defense counsel has represented that the Defendant is not an Israeli national.


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                                           CONCLUSION

           For the reasons stated above, the Court should deny the Defendant’s Motion to reopen the

    detention hearing and his request for Jencks material.

                                                       Respectfully submitted,

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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 24-MJ-04544-LMR

    UNITED STATES OF AMERICA,

           Plaintiff,

    v.

    TAL ALEXANDER,

           Defendant.
                                                  /

     ORDER DENYING DEFENDANT’S MOTION TO REOPEN DETENTION HEARING

           This cause is before the Court on Defendant Tal Alexander’s Motion to Reopen the

    Detention Hearing in this case, pursuant to 18 U.S.C. § 3142(f) and to stay removal of this case to

    the Southern District of New York. [ECF No. 22]. The Court has reviewed the Motion,

    Defendant’s Supplemental Brief [ECF No. 28], the Government’s Opposition [ECF. No. 31], the

    documents submitted in support of the parties’ filings, the pertinent portions of the record, and all

    relevant authorities. For the reasons addressed below, it is ORDERED that the Motion [ECF No.

    22] be DENIED because none of the reasons Defendant cites meet the requirements of 18 U.S.C.

    § 3142(f).

                                            BACKGROUND

           Defendant Tal Alexander has been charged in a superseding indictment by a federal grand

    jury in the Southern District of New York with sex trafficking conspiracy from at least 2010

    through at least 2021, in violation of 18 U.S.C. §§ 1591(e)(12), 1591(a)(1), and 1594(c) (Count

    One); sex trafficking of Victim-1 by force, fraud or coercion in 2011, in violation of 18 U.S.C. §§

    1591(a), (b)(1), and (2) (Count Two); and sex trafficking of Victim-2 in 2016 by force, fraud, or




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    coercion, in violation of 18 U.S.C. §§ 1591(a), (b)(1), and (2) (Count Three). 1 [See Superseding

    Indictment, United States v. Alexander, No. 24-cr-00676 (S.D.N.Y.), ECF No. 3]. 2

           The offenses carry a statutory mandatory minimum sentence of 15 years and a maximum

    of life imprisonment. Because of the nature of the charged offenses, there is a rebuttable statutory

    presumption that no condition or combination of conditions will reasonably assure the appearance

    of the Defendant as required and the safety of the community. 18 U.S.C. § 3142(e)(3)(D).

           On December 13, 2024, the Court held a hearing regarding the Defendant’s request for

    bond pending trial. After consideration of the Defendant’s arguments, the Government’s proffer

    and arguments, testimony from the FBI Special Agent assigned to the case, and the factors set

    forth in 18 U.S.C.§ 3142(g), the Court concluded that the Government had established by a

    preponderance of the evidence that no conditions or combination of conditions could reasonably

    assure the Defendant’s appearance, determining as a result that the Defendant was a flight risk,

    and that detention was warranted. The Defendant remains incarcerated.

           According to the superseding indictment, Defendant, along with his brothers Alon and

    Oren Alexander, “operated a long-running sex trafficking scheme, as part of which they raped and

    sexually assaulted women to whom they had provided material benefits” which included

    “domestic and international travel to vacation destinations, luxury accommodations at high-end

    hotels and vacation properties, and access to other luxury experiences and events.” [Crim. ECF

    No. 3 ¶ 4].




    1
      Alon and Oren Alexanders are Tal Alexander’s brothers and co-defendants. Each are charged
    with Counts One and Three.
    2
      All references to the Superseding Indictment, S.D.N.Y. Case No. 24-cr-00676, are denoted with
    “Crim.”


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           In the detention order, the Court explained that the facts, as proffered by the government,

    established that Alexander and his co-conspirators have been charged in a sex trafficking

    conspiracy spanning 11 years from 2010 to 2021. However, there is evidence to support that

    Alexander has been engaged in this kind of conduct for approximately 20 years. The Court further

    explained the pre-trial detention was warranted because of the strong weight of the evidence, the

    significant sentence Alexander would face if convicted, the nature and circumstances of the

    offense and the personal characteristics of the Defendant. In considering the weight of the

    evidence, the Court noted the Government anticipates testimony from numerous victims and

    witnesses, electronic evidence, physical evidence, and documentary evidence, among other things.

           In finding that Alexander is a flight risk, the Court noted that Defendant is a successful real

    estate agent in the luxury market and lives a lifestyle supported by extensive financial resources.

    The Court noted his international contacts, which included the fact that his parents are Israeli and

    Alexander frequently travels there. He also travels internationally to other countries by private jet

    and by yacht, frequently with little notice and scheduling in advance. Home confinement at his

    parents’ home, as he requested, would give him direct ocean access, and means to quickly flee.

           On December 16, 2024, the Defendant moved to reopen the detention hearing and stay

    removal of this case to the Southern District of New York pending a decision on pretrial detention.

    [ECF No. 22]. He seeks to reopen the hearing on three grounds. First, the Defendant argues that

    the Government’s failure to turn over required Jencks materials at the detention hearing

    immediately after cross examination of the FBI Special Agent is a violation of the Government’s

    obligations under 18 U.S.C. § 3500(b). [Id. at 4]. Defendant argues that he “plainly has the right

    to cross examine [the Special Agent] with any material in the government’s possession that relates

    to the subject matter of the testimony.” [Id. at 5]. Second, the Defendant seeks to reopen the hearing




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    because he “did not have a meaningful opportunity to address concerns raised sua sponte in the

    Court’s decision with respect to his family’s financial resources.” [Id. at 4]. Defendant seeks to

    present additional evidence by way of witnesses and financial statements, including an increased

    bail package and new conditions. These include a bond in any amount secured by the entirety of

    Defendant’s parents’ assets and the retention of a private security service to provide full-time

    armed security detail at Defendant’s home detention. [ECF Nos. 22 at 6–7; 28 at 2]. Third, he

    seeks to “correct the government’s representation that he is not extraditable from Israel, which is

    inaccurate.” [ECF No. 22 at 4].

                                          LEGAL STANDARD

           Under 18 U.S.C. § 3142(f), a detention hearing “may be reopened, before or after a

    determination by the judicial officer, at any time before trial if the judicial officer finds that

    information exists that was not known to the movant at the time of the hearing and that has a

    material bearing on the issue whether there are conditions of release that will reasonably assure

    the appearance of such person as required and the safety of any other person and the community.”

    18 U.S.C. § 3142(f).

           This statutory “provision is, in effect, a codification of a court’s inherent reconsideration

    authority tempered by the understanding that, to promote finality, preserve judicial resources, and

    discourage piecemeal presentations, a court should not reconsider a decision based on information

    that could have been presented the first time around.” United States v. Simmons, No. 8:24-CR-

    200-WFJ-UAM, 2024 WL 3183859, at *2 (M.D. Fla. June 26, 2024) (quoting United States v.

    Pon, 2014 WL 3340584, at *3, 9 (M.D. Fla. May 29, 2014).

           “Courts have interpreted this provision strictly, holding that hearings should not be

    reopened if the evidence was available at the time of the initial hearing” or is not material. United




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    States v. Ward, 63 F. Supp. 2d 1203, 1206–07 (C.D. Cal. 1999). Further, even if the defendant

    submits new information that is material, the statute’s “use of the word ‘may’ indicates discretion

    on the part of the district court. Thus, there is no requirement to reopen a detention hearing . . ..”

    United States v. Smith, 337 F.R.D. 366, 368 (N.D. Fla. 2020) (quoting United States v. Watson,

    475 F. App’x 598, 601 (6th Cir. 2012)).

                                              DISCUSSION

           None of the enumerated reasons Defendant asserts for reopening the detention hearing

    warrant satisfy the requirements of 18 U.S.C. § 3142(f).

           First, with respect to the lack of Jencks material, the Court finds that any Jencks materials

    are unlikely to supply new, material evidence relevant to the Court’s decision to detain the

    Defendant based upon risk of flight. As an initial matter, “‘[t]he Jencks Act applies to any witness

    statement in the United States’s possession that relates to the subject matter of the witness’s direct

    testimony.’” United States v. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006) (quoting United States

    v. Delgado, 56 F.3d 1357, 1364 (11th Cir.1995)); See 18 U.S.C. § 3500. “The general rule [for

    Jencks Act materials] is that a defendant is required to request disclosure following the witness’s

    direct testimony.” Schier, 438 F.3d at 1112. (internal quotation marks and citations omitted).

           At most, the Jencks materials may have some relevance as to the weight of the

    Government’s evidence. However, production of such materials at this time would be unlikely to

    move the needle in the Defendant’s favor. First, Defendant’s counsel had an opportunity, and did,

    cross-examine the FBI Special Agent on the length and scope of the investigation and the

    investigative steps taken to obtain electronic communications relevant to the Government’s

    allegations, among several other topics. Second, the Court relied on additional considerations

    beyond the weight of the evidence in determining that Defendant is a flight risk, including the




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    lengthy period of incarceration if convicted and the Defendant’s extensive financial resources.

    Third, the Government anticipates the testimony of multiple witnesses, electronic evidence,

    physical evidence, and documentary evidence, among other things, related to the allegations

    against the Defendant. [ECF No. 24 at 3].

           As Jencks materials relate to detention hearings, at least one judge in this district

    “entertain[s] the Government’s request to not provide Jencks material on a case-by-case basis”

    when “a defendant has already been indicted and there are numerous recorded conversations in

    which the defendant is making inculpatory statements. . ..” United States v. Comas, No. 13-20850-

    CR, 2014 WL 129296, at *3 (S.D. Fla. Jan. 14, 2014). Fed. R. Crim. P. 46(j) requires the

    production of witness statements at detention hearings “unless the court for good cause rules

    otherwise.” The Government asserts that good cause exists here to reject the Defendant’s attempt

    to seek Jencks. [ECF No. 31 at 9]. The Government is concerned that Defendant will use Jencks

    as a means to identify the victims who have come forward and threaten them, because the

    Defendants have threatened victims in the past. 3

           In any event, the Court need not rule on whether Jencks should have been produced to

    make its determination as to whether to reopen this detention proceeding. Here, the grand jury

    found probable cause to charge Defendant with the sex trafficking offenses and the indictment

    includes sufficient detail regarding the allegations that Defendant “operated a long-running sex

    trafficking scheme” and that the Defendants “jointly arrang[ed] domestic and international travel

    and accommodations, and jointly finance[d] the scheme.” [Crim. ECF No. 3 ¶ 2]. The superseding

    indictment further described that the Defendants used social media and dating applications to find




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     As explained by the Government in its Response, the sought-out reports, “even in redacted form,
    contain information sufficient to identify the victims.” [ECF No. 31 at 9].


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    victims and booked travel to various locations to engage in the offenses and described the violent

    and dangerous nature of the acts. [Id. at ¶ 5(d)].

            Defendant’s counsel cross-examined the FBI Special Agent regarding her testimony that

    the evidence, as it relates to the victims, includes photos and videos “that depict the Alexander

    brothers engaging in sexual activity with the victims” and communications between the Defendant

    and his brothers “discussing group sex, discussing providing and piling women with drugs in order

    to get them to have sex with them and for arranging for their travel from other states to meet them..

    . .” [ECF No. 30, Det. Hr’g. Tr. 44:12–21].

            In sum, because the evidence would not be material to the Court’s analysis of risk of flight,

    the request to reopen the detention hearing on this ground is denied.

            Next, Defendant seeks to reopen the hearing to present an augmented bail package. [ECF

    No. 28 at 3]. Any information Defendant could provide regarding his or his parents’ finances to

    support a claim of lack of financial incentive to flee would not be new evidence. [ECF No. 22 at

    6]. This also applies to Defendant’s new proposal to “retain a private security service . . . to provide

    a full timed armed security detail at the location of Mr. Alexanders’ home detention.” [ECF No.

    28 at 2]. Defendant could have—but chose not to—present this evidence during the detention

    hearing. Certainly, this information existed and was known by Defendant at the time of the hearing.

    See 18 U.S.C. § 3142(f). See Pon, 2014 WL 3340584, at *9 (“[A] court should not reconsider a

    decision based on information that could have been presented the first time around.”); Simmons,

    2024 WL 3183859, at *2 (finding that the defendant “proffer[ed] no information that was not

    known to him at the time of the detention hearing” and “[a]s a result, there [was] no basis to reopen

    the detention hearing. . ..”).




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           The Defendant also seeks to present additional evidence regarding the Government’s

    representations regarding extradition from Israel. [ECF Nos. 22 at 7; 28 at 1–2]. The Court,

    however, did not rely on the issue of extradition in ordering that the Defendant be detained. Instead,

    the Undersigned relied in part on the Defendant’s “international contacts, which include his parents

    who are Israeli” as well as Defendant’s frequent international travel to Israel and the Bahamas by

    private jet or yacht. [ECF No. 24 at 3].

                                               CONCLUSION

           Based on the foregoing, the Court orders that Defendant Tal Alexander’s Motion to

    Reopen the Detention Hearing based on 18 U.S.C. § 3142(f) and to stay removal of this case to

    the Southern District of New York [ECF No. 22] is DENIED. In addition, for the reasons stated

    in this Order, Defendant’s request for a hearing in connection with the Motion is also DENIED.

           SIGNED this 20th day of December, 2024.




                                                          LISETTE M. REID
                                                          UNITED STATES MAGISTRATE JUDGE


    cc:    All Counsel of Record




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